Banner |nvoices

Missing |nvoices

 

 

 

 

 

 

 

 

 

 

invoice # date amount

2035848 6110/2006 $ 1 ,092.04
1095741 6/1 1 12006 $ 3,488.45
1095743 6/1 1/2006 $ 1,776.99
1095744 6/1 1/2006 $ 2,193.96
1095749 6/1 1/2006 $ 3,488.45
1095759 6/11/2006 $ 1,160.17
1095762 611 1/2006 $ 1,698.24
1096009 6/1 1/2006 $ 1,809.42
2035915 6/1 1/2006 $ 1,407.49
1095874 6116/2006 $ 200.00

 

 

 

 

 

 

 

 

1217/2011

Villa Lago
Banner Drywal| deliveries

delivery tickets and locations

invoice # date amount
1097421-01 612312006 $ -4-7-144 :Fl- 3% .3"'5'
7422-01 612312006 $ 8,107.42
7595-01 612712006 $ 6,526.78
7634-01 612712006 $ 6,526.78
7637-01 612712006 $ 3,506.61
7639-01 612712006 $ 7,794.56
7663-01 612712006 $ 2,851.25
7665-01 612712006 $ 4,051.55
7708-01 612712006 $ 4,051.55
7769-01 612812006 $ 4,004.52
7795-01 612812006 $ 9,855.73
7861-01 612912006 $ 7,518.53
7919-01 612912006 $ 8,576.71
7940-01 613012006 $ 6,479.75
1098048-01 71512006 $ 8,026.64
1 098070-01 715/2006 $ 4,838.80
1098072-01 715/2006 $ 4,838.80
8158-01 71512006 $ 8,880.34
8159-01 715/2006 $ 8,880.34
8187-01 71512006 $ 8,880.34
8339-01 715/2006 $ 1,022.18
535\ -O\ -825-1-6+ 717/2006 $ 7,838.52
1098249-01 717/2006 $ 8,026.64
8319-01 717/2006 $ 7,838.52
8402-01 717/2006 $ 4,004.52
8579-01 711 112006 $ 7,979.61
8521-01 711 112006 $ 7,979.61
8425-01 711112006 $ 6,615.74
8422-01 711 112006 $ 17,773.21
8921-01 711812006 $ 7,866.13
9187-01 7121/2006 $ 7,866.13
9102-01 7121/2006 $ 7,866.13
9373-01 712612006 $ 7,772.07
9474-01 712612006 $ 7,562.48
9480-01 712612006 $ 7,609.50
9546-01 712612006 $ 7,045.69
9586-01 712612006 $ 8,435.61
9712-01 712712006 $ 8,073.68
9714-01 712712006 $ _8,369.-76~ S3Oila - ‘:l-Lp
9870-01 7131 12006 $ 8,167.74
9874-01 7131 12006 $ 6,086.12
9911-01 7131/2006 $ 4,445.17
9913-01 713 112006 $ 2,804.22
111291201 1 vi-banner drywall

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Vil|a Lago

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Banner Drywa|l deliveries

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1508 .'5=!~°\ . q%

1 099962-01 81312006 $ 8,082.63
9967-01 813/2006 $ 4,445.17
0206-01 813/2006 $ 7,286.42
0345-01 819/2006 $ 8,339.73
0448-01 819/2006 $ _4,-758=29-
0451-01 819/2006 $ 3,187.84
0496-01 819/2006 $ 7,276.42
0654-01 811 112006 $ 6,516.79
0740-01 811112006 $ 2,081.61
0744-01 811112006 $ 4,711.22
0926-01 811 512006 $ 6,839.86
0955-01 811512006 $ 556.19
0987-01 811512006 $ 6,792.83

1101091-01 811812006 $ 7,276.42
1096-01 811812006 $ 6,516.79
1100-01 811812006 $ 1,917.00
1154-01 811812006 $ 6,516.79

11%5- 01 -1495-0-1- 811812006 $ 1,433.40
1189-01 811812006 $ 4,041.55
1398-01 8121 12006 $ 5,635.47
1408-01 8121 12006 $ 7,068.87

2038539-01 812212006 $ 7,068.87

1101581-01 812312006 $ 6,625.15
1630-01 812312006 $ 1 ,457.94
1634-01 812312006 $ 4,140.72
1699-01 812512006 $ 7,052.53
1726-01 812512006 $ 4,922.87

“s_,pr 1819-01 j81=2512006 55 6,745.80
1853-01 812512006 35 3,244.87
1899-01 812812006 $ 6,469.75

1 102417-01 912812006 $ 5,787.84
2435-01 912812006 $ 9,203.42
3773-01 912812006 $ 5,263.68
3748-01 912812006 $ ._5,143.68
3818-01 912812006 $ 7,727.08

| 2039691-01 l | 1015/2006 | |$ 1,216.43|
2040620-01 1 118/2006 $ 8,254.59
0909-01 1 1122/2006 $ 1 ,1 14.19
$ ~497-,038.42
note missing part of ticket - incomplete
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1 11291201 1 v|-banner drywall

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Limu._NM §

Villa Lago
Banner Drywall deliveries

delivery tickets and locations -

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

invoice # data amount
1097421-01 812312006 $ 471 .74
7422-01 61231‘2006 $ 8,107.42
7595-01 6!2712006 $ 6,526.78
7634-01 612712006 $ 6.526.78
7637-01 612712006 $ 3.506.61
7639-01 612712006 $ 7,794-56
7863-01 612712008 $ 2,851 .25
7665-01 612712006 $ 4,051 .55
7708-01- 612712006 $ 4,051 .55
7769-01 612812006 $ 4.004.52
7795-01 612812006 $ 9,855.73
7861-01 612912006 $ 7,518.53
7919-01 612912006 $ 8,576.71
7940-01 613012006 $ 6,479.75
1098048-01 71512006 $ 8,026.84
1098070-01 71512006 $ 4,_838.80
1098072-01 71512006 $ 4,838.80
8158-01 71512006 $ 8,880.34
8159-01 71512006 $ 8,880.34
8187~01 71512006 $ 8,880.34
8339-01 71512006 $ 1,022.18
8251-01 71712006 $ 7,838.52
1098249-01 7171‘2006 $ 8,026.64
8319-91 7171‘200¢ $ 7,838.52
8402-01 71?12006 $ 4,004.52
8579-01 711112008 $ 7_.9'7|.61
8521-01 711112006 $ 7,979.61
8425-01 711112006 $ 6.615.74
8422-01 711112006 $ 17,773.21
8921-01 711812006 $ 7,866.13
9187-01 712112006 $ 7,866.13
9102-01 712112006 $ 7.866.13
9373-01 712612006 $ 7,772.07
9474-01 712612006 $ 7.562.48
9480-01 712612006 $ 7,809.50
9546-01 712_’612006 $ 7,045.69
9586-01 712612006 $ 8,435.61
9712-01 712712006 $ 8,073.68
9714-01 712712006 $ 8,369.76
9870-01 713112006 $ 81167.74
9874-01 713112006 § 8,066.12
9911-01 713112006 $ 4,445.17
9913-01 713112006 $ 2,804.22
21812011 v|-banner drywall

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Banner Drywa|l deliveries
1099962-01 81312006 $ 8,082.63
9967-01 81312006 $ 4,445.17
0206-01 81312006 $ 7,286.42
0345-01 819/2006 $ 8,339.73
0448-01 81912006 $ 4,758.29
0451-01 81912006 $ 3,187.84
0496-01 81912006 $ 7,278.42
0654»01 811112006 $ 6.516.79
0740-01 811112006 $ 2,081.61
0744»01 811112006 $ 4,711.22
0926-01 811512006 $ 6,839.86
0955-01 811512006 $ 556.19
0987-01 811512006 $ 6,792.83
1101091-01 811812006 $ 7,276.42
1096-01 811812006 $ 6,516.79
1100-01 811812006 $ 1,917.00
1154-01 811812006 $ 6,518.79
1195-01 811812006 $ 1.433.40
1189-01 811812006 $ 4,041.55
1398-01 812112006 $ 5.635.47
1408-01 812112006 $ 7.068.87
2038539~01 812212006 $ 7L068.87
1101581-01 812312006 $ 6,825.15
1630-01 812312006 $ 1,457.94
1634-01 812312006 $ 4,140.72
1699-01 812512008 $ 7,052.53
1726-01 812512006 $ 4.922.87
1819-01 812512006 $ 6,745.80
1853£1 812512006 $ 3,244.87
1899-01 812812006 $ 6,469.75
1102417-01 912812006 $ 5,787.84
2435-01 912812006 $ 9,203.42
3773~01 912812006 $ 5,263.68
3748-01 912812006 $ 5.743.68
3818-01 912812006 $ 7,727.08
L2039691-o1 | | 1015/2006 l l$ 1,216.431
2040620-01 111812008 $ 8,254.59
0909-01 1112212006 $ 1,114.19
$ 497,038.42
note missing part of ticket - incomplete
21812011 v|-banner drywall

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FR.E¢IS|ON DR\'WA.LL ING.

54853
1096076~01 villa Lago 612/06 6,481.75 6,481.75
1096547~'01 6/2/06 200.00 200.00
2036104-01 611/06 1,016.21 1,016.21
2036050-01 617/06 545.46 511.79
1096314-01 617/06 5,910.95 1,892.92
1096155-01 617/06 4.155.54 4,155.54
1096153-01 6/7/06 -- 3,458.45 3,485.45
1096149-01 611/06 1,693.24 1,698.24
1096147-01 617/06 2,310.34 2,310.34
2036200-01 618/06 1.027.08 1,027.08
8/31/06 54953 Banner Supply Co. - Pompano $93,651.07

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Aug 31, 2006

*********vOID
54954
VOID

Banner Supply Co. - Pompano

1660 S.W. 13th Court

Pompano Beach, FL 33069
MemO= Villa Lago thru 06-25-06
1096353-01 618/06 3,962.35 3.962.35
2036250'01 519/06 2,016.46 2,016.46
1096646-01 619/06 1,791.15 1,?91.15
1096644-01 619/05 2,465.51 2,465.51
1096558-01 619/06 1,539.34 1,539.34
1096650-01 619/06 3,658.99 3,658.98
1096551-01 619/06 6,228.32 6,228.32
1096567-01 619/06 200.00 200.00
2035843-01 6/10/06 1.092.04 1,&92.04
2035915-01 ` 6111/06 1,401.49 1,401.49
8/31/06 54954 Banner Supply Co. - Pompano VOID

RCR000000133

2036050-01 6/7/06 548.4€ 30.67

109631'|-01 E/T/OE 5,910.95 4,018.03
2036240'01 6/12/€|6 5,991.05 IO.DO 5¢951.05
2035513-01 6/20/06 5,530.95 .°LU.OO 5,520.95
1096935-01 6/20/05 2,9€0.48 21 009-02
1097424-01 5/23/05 659.67 659.67
1097423-01 6/23/06 502.25 502 .25
1097422-01 6/23/06 5,097.42 5,097.42
109'1421-01 6/23/06 7,729.35 7,729.35
1097405-01 6123106 1,339.34 1,339.34
3/1/06 ADJ Banner Supply Co. - Pompano 160.00 VOID
ADJ Aug l, 2006 *********VOID
VOID

Banner Supply Co. - Pompano
1660 S.W. 13th Court
Pompano Beach, FL 33069

Duplicate

Memo:

2036050~01 617/06 543.46 30.61
1096314-01 s/vros 5,910.95 4,018.03
2035240~01 6/12/06 5.991.05 10.00 5,931.05
2036513-01 s/zoios 5,530.96 10.00 5.520.95
1096939-01 6120106 2,950.43 2.009.02
1091424-01 6123/06 669.67 669.61
1097423-01 6/23/06 502.25 502.25
1091422-01 6123/06 8,091.42 3,097.42
1091421-01 6/23/06 7,729.35 1,?29.35
1097405-01 5/23/05 1,339.34 1,339-34
8/1/06 ADJ Banner Supply Co. - Pompano 160.00 VOID

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PREC|S|ON DRYWALL|NC. 5 5 22 3

1096371-01 519/cs 125.00 125.00
2035301-01 6126/06 403.52 403.52
2035392-01 s/za/oe 1,533.43 1,553.43
2035943-01 6/29/06 2,055.40 2,056.40
1097993-01 6130106 225.00 225.00
1091956-01 6/30/06 45.00 45.00
1091984-01 6130/06 " 62.00 62-00
1091142-01 6/30/06 2,290.80 951.46
1091393-01 6/30/06 4,03a.92 4.033.92
1091883~01 s/ao/os 1,192.81 1,792.31
9/2'1/06 55223 Banner Supply Co. - Pompano $106,2'71.62
. PA|MMUL'U-FUHPCSEC!EQ(WOM PTBU‘FD[MWB o
1097882~01 6/30/06 3,444.37 3,444.81
1097331'01 6/30/06 2,465.51 2,465.51
1093738'01 713/06 175.00 115.0o
2037035~01 7/5105 2.841.34 2,541.34
1098200-01 117/06 1.158.35 1,158.35
1098196-01 717/06 3,620.81 3,620.81
1098194-01 711/ca 1,s01.42 1,801.42
1095189-01 717/06 3,620.31 3.620.81
1093135'°1 111/06 2,212.04 2,212.04
203?193'01 7/11/06 2,129.31 2,129.31
9/2'1/06 55224 Banner Supply Co. '- Pompano VOID

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VOID

54955

Banner Supply Co. - Pompano

1660 S.W.

13th Court

Pompano Beach, FL 33069

Memo: Villa Lago thru 06-25-06

1096009-01
1095762-01
1095759-01
1095749-01
1095741-01
1095743-00
1095744-01
2036419~01
1096975-01

1096972-01

8/31/06

54955

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6/11/06
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6/11/06
6/11/06
6/11/06
6/15/06
6/15/06
6115/05

1,809.42
1,698.24
1,160.17
3,438.45
3,439.45
1,776.99
2.193.96
1,027.09
3,658.98

1,791.15

Banner Supply Co. - Pompano

Aug 31, 2006

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1,309.42
1,693.24
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3,46&.45
3.453.45
1,776.99
2,133.96
1,021.08
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VOID

RCR000000134

VOID

Banner Supply Co. - Pompano

1660 S.W.

13th Court

Pampano Beach, FL 33069

Memo: Villa Lago thru 06-25-06

1095970-01
1096568-01
1095874-01
1097118-01
1096938-01
1096939-01
1097156-01
109738?-01
1097555-01

1097550-01

8/31/06

54956

54956
6/15/06 21
6/15/06 4,
6/16/06
6/16/06
6/20/06
6/20/06 21
6/20/06 2,
6/22/06
6/23/06 41
6/23/06 2,

Banner Supply Co. - Pompano

465.57
249.61
200.00
425.00
691.60
960.48
943.01
392.34
182.83

281.11

Aug 31, 2006

*********VOID

2,465.57
4,249.61
200.00
425.00
691.60
951.46
2,943.01
392.34
4,182.83
2,281.11

VOID

RCR000000135

54957
VOID

Banner Supply Co. ~ Pompano

1660 S.W. 13th Court

Pompano Beach, FL 33069
Memo: Vi].la Lago thru 06-25-06
1097551'01 6/23/06 1.791.15
1097814-01 6/23/06 175.00
1097553-01 6/23/06 3,653.98
8/31/06 5495'7 Banner Supply Co. - Pompano

Aug 31, 2006

*********VOID

1,791.15
175.00
3,658.98

VOID

RCR000000136

1097370-01 6/23/06 1,380.24 1,380.24

109?595-01 6127/06 6,516.75 6,516.18
1091534-01 6/21/06 5,516.73 6,516.75
1097637-01 6/27/06 3¢496.61 ' 3,496.61
1097639~01 6/27/06 7,784.55 7.784.55
1097563~01 6/27/06 2¢851.25 10.00 2,841.25
1097664-01 6/27/06 1,467.54 10.00 1,457.94
1097709-01 6/27/06 1,373.88 10.00 1¢363.88
1097708-01 6/27/06 4,051.55 10.00 4,041.55
1097701-01 5121/06 198.12 10.00 lsa.lz
8/1/06 ADJl Banner Supply Co. - Pompano 160.00 VOID
ADJI Aug 1, 2006 *********VOID
VOID

Banner Supply Co. - Pompano
1660 S.W. 13th Court
Pompano Beach, FL 33069

Duplicate

MEmO:

1097310~01 6/23/06 1,350.24 1,380.24
1097595-01 s/z'r/os 6.516.78 s,sls.'is
1091634-01 s/z'r/os s,sls.~)s 6.516.78
1097637-01 612?/06 3,496.61 3,496.61
1097539-01 5;2-;/05 7,134_55 1,~.'a4.5s
1097663-01 s/z'r/os 2,351.25 10.00 2,841.25
109'1€64-01 6/27/06 1,46‘1.94 10.00 1.457.94
1091109-01 e/zv/os 1,3'13.33 10.00 1.363.33
1097'108-¢1 6127/06 4, 051.55 10.00 4,041.55
109710'1-01 5/27/06 198.12 10.00 133.12
afl/06 ADJl Banner Supply Co. - Pompano 160.00 VOID

RCR000000080

1097665-01 6/2‘1/06 4,051.55 10.00 4,041.55

1097771"01 6/28/06 2,'13'1.'16 10.00 2¢'72'1.'15
1097769~01 6/28/06 4,004.52 10.00 3,994.52
109'?919'-01 5/29/0€ 8,5'76.71 10.00 8,566.71
1097061-01 6/29/06 7,516.53 10.00 ?,508.53
1097"155'-01 6/29/06 9,855.73 10.00 91345.73
1097742-01 6/30/06 2,290.80 1,339.34
1097940'-'01 6/30/06 6,479.'75 10.00 5,469..75
109'?992‘-01 6/30/06 1,063.18 10.00 1,058.18
1097995~01 alan/06 2,126.37 10.00 2.116.31
8/1/06 ADJZ Banner Supply Co. ~ Pompano 160.00 VOID
ADJZ hug 1, 2006 *********VOID
VOID

Banner Supply Co. - Pompano
1660 S.W. 13th Court
Pompano Beach, FL 33069

Duplicate

Memo:

1091655'01 s/z?/os 4,051.55 10.00 4,041.55
1091111-01 slza/os 2,131.76 lo.oo 2,121.75
1091159-01 s/zs/os 4,004.52 zo.oo 3,994.52
1097919'01 size/05 8,516.11 lo.ou 8,566-71
1097861-01 slag/us 1,513.53 10.00 7.503.53
1091795-01 s/zs/us 9,355.13 10.00 9,345.73
1097142-01 5/30/05 2,290_30 1,339.34
1091940-01 s/sc/os 6,419.15 lu.oo 6.469.15
1091992~01 eraoros 1,oss.1s 10.00 1.058.18
1091996-01 5/30/05 2,126.37 10.00 2,116.37
8/1/06 ADJZ Banner Supply Co. - Pompano 160.00 VOID

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FRECISDN DRYWALL lNC.

2036539~01
2036996-01
2036993-01
2036989-01
2036983-01
2036982-01
2036999-01
2036979-01
2037014-01

2037013-01

10/13/06

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2037012-01
2037011-01
2037010-01
2037144-01
2037138-01
2037129-01
2031330-01
2037344-01
2037372-01

2037310-01

10/13/06

55536

55537

6/27/06 5,335.71
6/30/06 50.00
6/30/06 10.50
6/30/06 21.00
6/30/06 10.50
6/30/06 21.00
6/30/06 42.00
6/30/06 281.58
715/06 1,565.71
7/5/06 896.34

Banner Supply Co. - Pompano

7/5/06 654.11
7/5/05 1,758.69
7/5/06 884.34
7/7/06 1,767.25
7/1/06 872.01
7/7/06 702.68
7/18/06 640.39
1/18/06 1,448.08
7/18/06 115.63
7/21/06 25.00

Banner Supply Co. - Pompano

55536

5,335.71
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21.00
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654.11
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884.34
1,767.25
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702.68
640.39
1,448.08
118.63
25.00

VOID

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inv. #-

1098335~01
1098187-01
1093159-01
1095158-01
1096084-01
1096072-01
1098070-01
1098048-01
2037151-01
1098402-01

8/1/06

VOID

Banner Supply Co. - Pompano

ADJ

draw .

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115/06
715/06
715/06
715/us
115/06
7/5106
115/us
115/06
717/06
711/us

lnv.Amk.

1,022.16
8,880.34
8,880.34
E,BBO.34
2,636.69
4,838.60
4,838.80
8,026.64
5,991.05
4,004.52

Banner Supply Co. - Pompano

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8,870.34
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VOID

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1660 S.W. 13th Court

Pompano Beach,

Meuno:

1096339-01
1093187-01
1098159-01
1098158-01
1098084-01
1098072-01
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1098402-01

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FL 33069

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Aug 1, 2006 *********VOID
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8,880.34 10.00 8,810.3¢
2,688.69 10.00 2,678.69
4,838.80 10.00 4,828.60
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8,026.64 10.00 8,016.64
5,991.05 10.00 5,981.05
4,004.52 10.00 3,994.52
350.00 VOID

Banner Supply Co. - Pompano

RCR000000059

1098351-01
1098319~01
1098249-01
1098579-01
1098521-01
1096425-01
1098422~01
2037285-01
1095921-01

1099241-01¢»

8/1/06

VOID

Banner Supply Co. - Pompano
1660 S.w.
Pompano Beach,

Memo:

1098351*01
1098319-01
1095249-01
1093579-01
1096521-01
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811/06

ADJl

ADJl

13th Court

FL 33069

717/06

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ADJl

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Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

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9/27/06

2037189-01
1098901~01
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1099512~01
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Banner Supply Co. » Pompano

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Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

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940.10
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550.34
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VOID

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Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

1660 S.W.
Pompano Beach,

Memo:

1099187-01
1099102-01
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1059381-01
1099474-01
1099373~01
1099667-01

1099712~01

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ADJ2

13th Court
FL 33069

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Aug 1,

1,365.13
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Banner Supply Co. - Pompano

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2037844-01
1099375-01
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55794 Banner Supply Co. - Pompano
1131/06 7,648.18
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a/s/os 2,156.33
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55795 Banner Supply Co. » Pompano

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1099714-01 7/27/06 8,396.76
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1099626-01!' 1/28/06 4,028.03
1098629*01*{ 1/31/06 7,648.18
1099870~01 7/31/06 8,167.74
1099674-01 1/31/06 6,036.12
1099911-01 7131/06 4,445.17
1099913-01 1/31;06 2,804.22
54231 all/06 -293,369.50
54232 8/2/06 -293,369.50
8/1/06 ADJ3 Banner Supply Co. - Pompano
ADJB Aug 1,
VOID

Banner Supply Co. - Pompano

1660 S.W. 13th Court

Pompano Beach, FL 33069
Memo:
1099714-01 7/27/06 3139€.76
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1095628-01 7/31{05 7;648.19
1099870-01 7131/06 8,167.74
1099874-01 7/31/06 6'086.12
1099911-01 7/31/06 4,445.17
1099913-01 1131/06 2,504.22
54231 8/1/06 -293,369.50
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8/1/06 ADJ§ Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

1660 S.W. 13th Court
Pompano Beach, FL 33069

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Memo:
54231 Bfl/DE -293,369.50 -119,153.91
8/1/06 ADJ3 Banner Supply Co. - Pompanci 160.00 VOID

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54232 8/2/06 -2§3,369.50 -192,802.05

1100206-01 8/3/06 7,286.42 10.00 7,276.42
1100174-01 3/3/05 4,488.11 10.00 4,478.11
1099962-01 8/3/06 8,082.63 10.00 3,072.63
1099967-01 8/3/06 4,445.17 10.00 4,435.17
1099968-01 8/3/06 4,028.03 10.00 4¢015.03
1100345-01 n 8/9/06 3,339.73 8,339.73
1100443-01 819/06 4,758.25 4,758.25
1100451-01 8/9/06 3,187.84 3,187.84
1100496~01 8/9/06 7,276.42 7,276.42
916/06 ADJ Banner Supply Co. - Pompano 80.00 VOID
sep 6, 2006
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Banner Supply Co. - Pompano
1660 S.W. 13th Court

Pompano Beach, FL 33069 Duplicate

Memo:

54232 a/2/06 -293,369.50 -192.&02.05
1100205-01 913/06 1,236.42 10.00 1,276.42
1100174-01 afs/06 4,483.11 10.00 4.413.11
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1099957-01 ala/06 4,445.17 10.00 4.435.11
1099965-01 8/3/06 4,028.03 10.00 4.013.03
1100345-01 are/06 s,:aas.v: 3,339.13
1100443-01 ala/06 4,759.25 4,156.25
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Banner Supply Co. - Pompano

ADJl

Banner Supply Co. - Pompano

1660 S.W.

13th Court

Pompano Beach, FL 33069

Memo:

1100654-01
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Banner Supply Co. - Pompano

Banner Supply Co. - Pompano

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zoaasss-ol 3122/06 1,bss.a1
1101327-01 8/22/06 3,537.04
1104531-01 3123/06 6,625.15
1101630-01 3123/06 1,457.94
1101634-01 3123/06 4,140.12
916/06 ADJZ Banner Supply Co. - Pompano
ADJZ
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Banner Supply Co. - Pompano

1660 S.W. 13th Court

Pompano Beach, FL 33069
Memo:
1101096-01 8/18/06 5:516.19
1101100-01 B/la/UG 1,911.00
1101154-01 8/18/06 6,516.79
1101408-01 8121/06 7,068.87
1101393“01 8/21/06 5,635.47
2038539-01 8/22/06 7,068.87
1101327-01 8122/06 3,537.04
1104581-01 8/23/06 6,625.15
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916/06 ADJZ Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

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Banner Supply Co. - Pompano

1660 S.W.

13th Court

Pdmpano Beach, FL 33069

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Banner Supply Co. - Pompano

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1101399-01 8/28/06 6,469.'15

9/6/06 ADJ4 Banner Supply Co. - Pompano

ADJ4
VOID

Banner Supply Co. - Pompano
1660 S.W. 13th Court
Pompano Beach, FL 33069

Memo:
1101099-01 a/za/os 6,469.75
9/6/06 ADJ4 Banner Supply Co. - Pompano

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sep 6, 2006

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Duplicate

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54232 8/2/06 -293,369.50
1103773-01 9/28/06 5,921.52
1102435-01 9/20/06 5,203-42
1102417-01 9/20/06 5,362.11
10/1/06 ADJ Banner Supply Co. - Pompano
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Banner Supply Co. - Pompano

1660 S.W. 13th Court

Pompano Beach, FL 33069
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1102435-01 9!28/06 9,203.42
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10/1/06 ADJ Banner Supply Co. ~ Pompano

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-12,601.24
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1116/06 121.56
56962 Banner Supply Co. - Pompano
1116/06 5,100.80
1116/05 1,185.76
1116/06 586.64
1110/06 8,254.59
11/5/06 1,393.30
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1104803-0001 credit
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56963 Banner Supply Co. - Pompano

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9,990.67
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1103900'01 9/29/06 8,046.06 5,045_95
2039691-01 lola/06 1!216_43 1 216 43
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19'909 vs'aas sole/tt zo-vrssott

BL‘S'B`E‘T gL'ggt"[ 90/9/':1: 110-83§901.'1

na’oot's oe'oot's 9019111 to-Lzssott

_.»--»_-_-_-__-‘_-

)9'3’

sim'?§‘

RCROOOOUOOST

1000 s.w. mm mourn- Pourmo heaci-i. manion assn
f wl w 131-;:”-»:€1564) sum
.. - 'r0~ _ . -
wm s\iv gin m'. swann mel-1 iowa ` 11 '
.l¢::avhm‘»vsANDRRBn uvnuw£s_
mm msu 731-zane opm ssa 042-4041 - 1

      

1ss000
an_L erF :'
TO= marston harmon nrc 41 'ro: vuth mo §
601 w comss mrs srs 501 ;
n:r.mur rca n 33445 seamen mca sr.. §

 

    

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

srakrrnn ocr 1 2005 THst thL -. ` ' ..' _.F
ss 510 P/:uv FUEL suncnnncs , l .' - : 1
1 . l
1162 ossrlz sH §10.0000 gass_a:za §~
515'l rtnncons naywnnn 12' l _ 11
4 x 12 . - .:" -
25610 - 012212 s Psn.onoo§§ 041510 311 '
1/2" zaauLnR onrwnhn 12' . . 1 -;
4 x 12 l _ g ..;{
4272 012u12 s so.odoo§ 'j¢$zs si.=;
Sézv Mo:sTunz xssrsmhuw 121 § 5 =\
m4 z 12 f ' _‘-, 1; ~l. :' h
40 plans s 1 l020.0000 5 . _590140 =J
1” sHAFTL:NzR 9' (cozsnohnn) _ z '3 :_,.' g :
immmmmb)£ ' - -_ "“
3000 mc . 13,1000 pop£s.oaf
sornr compouno » 1 E_ _ z
coLnaoNn :1 .- in
§ § iii :- l 1'--
- l ' -.' =
1001 armco 1 § .S_ il _
i . 11
l ' ;
100'1» Sivdcr`nq 1116,'1¢1¢1.00
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Hanq (;seri.) sazsfi. 21 '
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f-l$l°'llll'hk&ll\¢.\ll.l
-l~HI-'l*l\lIIIlLTMLrlL l , .. 'r \- ..“ .-,¢‘
l FHE.‘¢.*'-Wi=' ` -.¢".-‘“"1
1 .’EE°J€'.WT_~; . 101…19°1
F')FI`§WK-' 1.' "1'--»','-‘~. ‘BTS§LM »M€;§:‘:~
1 mmsnr
1 j ‘ P<T}MMSW
§ . 551,003. 22

ZUUIZUDd ld??=le BDUZ LE “l'l i?Bv-Z?E*V§E X¥_-| unload Jouunq
RCR000000453_

1 560 B.W. 13th GGUHT¢ FU|IPANO BEAQH, FLBR|DA m
FHUNE m 131-23999 FAX l954l m
IEIlI'l' `l'U:
1660 SW 131\ B"l'. mAII° BEAGH. FL M

A¢`.‘€OUNTTNGAND REL£ASE MM'H'ES
Ph\!l'l¢€ {954} 781-2390 l F\x: |9541 542-4641

 

       

`* r!' :.'

   

wM"*-E*:_ .. ._
153°°° 1095514-01
BlLL smp
T°= mc:srou mm nrc ++ TO= v;cLLA men

601 N CDINGRESS IV'B STE 50

1 1 ,.,
raan sen FL 33445 |§) @§_S f h ® Bommn amax rn
_

 

      

     

 

 

 

 

 

   
 

  

 

   

¢-_1_. .;,, vi 1. ._l§ _~,. _. 1 . __ _
1 .W.MW 4@¢9#@@¢1 W 1 MMM _. ..144%%4,11
1095_314 -01 _, 05/26 oa 05/26105 12 10 o 05/26/06

1.-,:.l- -:,-*’."," \ 4 " -_ . ‘~ , *”`}
_§ . 5 Y hhva 41
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P%§nmzm“$
1 - M`B »;'.:
..E"'=, he¢:-...-!r.-‘r_v

STARTING OCT 1 2005 THERB WILL
BE$IO P/INV' FUELS URECHARG

1 1 * ms m 0.0001 0.00
m 1095301
a ms

a a * ns m 25.0000 200.00
sTocK:NG-mmm~mon
----NET :Nvozcs -----

1 1 * mm an 0.0001 0.00

S
ALSO REF 1095386,385,388

 

 

 

 

 

 

 

 

 

mnemnanou_-_+ iii 111-gs rs YQUR_ INW:CE *-nr _SL_llT_QTA!._ _ _ v l ..__l §

.-"\“TAKMLI
I- mT ml
-’- ITATlI minn

 

 

 

 

RCR000000137

wm s.w. mm l:oLm'ro !oIPAllo mm FLuNnA mm
FH¢||E flu-l 7l1-.2.388¢ F-»\X l!$‘l mm
REM|T To=
1m Ew 13th cT. !QM,ANQ BMUH. FL mi

AC¢UUN'.|".WG AMD’ REL£I|SEMMHES
thl: PEI-] 781-lui vle: |9644 042-041

 

        

i-.£%-l' ¢:
lssooo zossssa- -01
mLL sum
T°= pmac:s:ou nRYnALL rsc ++ T°= v:LLA nasa
sol N cousnsss nwa srs 501
DBLRAY BCH FL 33445 BOYNTON BBACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W#W ." E'W 1 WMF
2035848-01
. . 1 k J-'.» .».r;..\\. "
STAR.TING OC'I‘J. 2005 TI'I3F.3 WILL
BE $10 P/INV FU'EL SUR UR.EGIAR.G
83 83 * IMP LF 0.3500 232.40
leéxBPTSQU¥\REEDGE
24 24 * W410PT LF 0.3500 54.00
1X4X10 PTSQUBREEDGE
120 120 * 815 58'1' LF 255.0000 342.00
l 5 B" mcf
25 UGE
120 120 * SlSBS-J.O LF 298.0000 357.50
155£“" STUD 10"
UGE
[;; ST
mmu.\'nou_-_J *** 'J.'_I-I_IS IS YOUR IEN'VDICB_ *** .w?_“_"[%..._. _ . .E"<pls'po
;;g;m;:‘mu m - ' = NM.W;.`.*._;_..'*."-:, ,°1’¢1.£|0

*-IT\T!I mf“\\”l.

   

 

 

 

. f »L%n&rnm»aum::uvi
1 092. 04

RCR000000138

1000 E.W. 1301 WUHT| PGMFAN° BEA¢H¢ FLN|IDA 380¢9
PHUNE I$I+l 131-mi FAX ISW 042-1300
|\E\I'l` TO:
1000 SW 1331 CT, PMA||O IEAGH. FL 33180

AGDOUNUNG AND .REI.EASEMWHES
Fhonl: 1954) 701-2300 v le: l054l 942-4841

      

165000 1055'741- 01
Bth mc:s:l:ow hamm 1ch ++ SHlP vILLA LAGO
TO= 601 x comnass mm 625 501 T°= 51'11 noon
DELRAY sca rr. 33445 "c" mrs
2 mrs

BOYNTON BE'AGI' FL

 

 

 

       

 

 

 

 

    

 

 
 
  

 

0 g
5/25/\,06 _ 05/25_/06 09 0_0; 36 w 115/2106 f
v -;H@:¢MS*Y
T F1

 

 

 

 

 
    

 

   
   

 

 

 

 

 

 

 

 

 

 

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STAR'J.'ING oc'r 1 2005 '1'11:523 wILL
515 510 Pf:mr mm smu-maez
1 :l. * No'rns EA 0.0001 0.00
sTH noon
llcil mlr
2 mrs
24 24 * 10va LF 0.1300 21.63
1x2x71='.rsQuAn.sznGB
22 22 * 11sz LF 0.1300 22.56
1x2st'rst:zDGE
2 2 * mm mr 0.3500 5.60
1 x 4 x s P‘r SQUARE EDGE
2 2 * wsP'r LF 0.5000 0.00
1 x 6 x s P'r sam EDGE
80 80 * 122va LF 0.3300 154.74
2 z 2 x 1 PT
92 92 * WZZBPT LI' 0.3300 242.8£
2 x 2 x a P-r
22 22 * 112452'1' LF 0.6400 112.64
2 x 4 x a PT
6 6 * w24:l.01='1.' LF 0.6400 35.40
2 x 4 x 10 22
32 32 * w24sc 12 0.5700 145.92
2 x 4 x a coNSTRUcrzoN
190 190 * 615 s- Lr 296.0000 566.20
15 s" 1s'.l'.'tm 10'
SGAUGE
36 36 * 515 2 LF 285.0000 102.60
1 5 an men
25 ms
CI'»'|>EHFL»\||.A‘|'|Q||_Jl
'-I'rl'l'l\'»lmll
I- MMLE

mm
+ ITI'|'IIm'LYMI”L

 

 

 

 

 

 

 

RCR000000148

‘lm U.W. 13th cOURTIPWFANU IEACH, FLDH|DA llll
PH°NE 1954} 751-23080 FAX 1950] 942-4300
IEMT 1'0:
16“ 8’#13\|¢ ET, mi\'ld BH\OH. H. SWW

Ammmwwmnuomaawsmnumus
Phom: 156-11 161-2229 o F¢x: 1964| 942-4641

     

158000 1095741- 01

BIU- mcrs:on mm :Nc ++ sHlF v:LLA Lmo
T°= 601 N cnnsnsss 205 325 501 TO= sTH 51001
nnLnAY san 51 33445 "c" un:ms
2 uwrrs

 

  
   

 
    

nasa

\.:.“-c)

05/25/05`“

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05!31/06
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1095111-01

 

 

   
 
  
 

 

 

 

 

 

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A\ -l. -.

356. 0000 z 7 1069. 20

 

 

15 5“5
3 5 e' sTUD 5'
34 34 * 535 m Lr 365.0000 130.90
3 5 a" TRAcx
25 2
80 80 * SGS-S LF 644.0000 463 .68
6ll sTuD 9'
25 cause
8 8 * 562 Lr 521.0000 50.15
6" TRACK
25 GAuGE
14 14 * 56520 LF 715.0000 100.52

S" METAL `.BACKING-20 GAUGE

 

 

 

 

 

 

 

 

 

'=°°¢W\M»“"=~_-J *** TH:_s_ rs tom 1Nvo_:_c_5 *** FE'ETF".'“: . ,,3:25.§'15
. f' mms .;':-'-.1_11~'0°
*-"*Tl.m'r“lm_

E" -'| '|W':!;é;lii 1 ;;.

 

 

 

 

 

l_'-ED..'DTHER TAX _ '_ __ ' _“ __ __`
m "&¢ié 212;30
FAYmT 7 0 l 00
'€>52022122051?00:“
3.405.45

RCR000000147

1600 l5\V. 13¢h ¢OUIT¢ P°MFA|‘O BEA¢H, FLBR|DA Slll“
FHQNE ISMI 731-2389¢ FAX lBHl him
BEMT TO:

1ll0 SW 1351 C'»T. PDHPM|D IEAEH, FL mill

ACCOUNTTNG AND BELHSE WDWHES
Fhom: [954) 781-2899 l Fl\t: l954l 942-450

      

160000 1095743- --0001 01
mLL sle
‘|'O= mcmann mm 1Nc ++ TU= vILLA mo

601 N couGREss mrs 523 501 515 noon

mmr sur 1.=1. 33445 -B" umw

 

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5' »--.',' .‘5.!\~,¢ _ '3_:

       

 

 

 

115/31/.05

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sm1'1NG oc112005 man w11.1.
35 $10P/1Nv m sunc:mnsz
12 12 * wrsz 151 0.1300 10.52
1 x 2 x 2 91 sam 1053
6 6 * w21=-1' 15 0.1300 6.24
1 x 2 11 5 111 sums EDGE
3 3 * mm 1.1= 0.3500 a.40
1 x 4 x a P'r scm lance
1 1 * uaw LF 0.5000 4500
1 x 6 x a 121 sums EDGE
22 22 * w2211=1 Lr 0.3300 50.80
2 11 2 x 7 P'r
41 41 * wzzaPT LF 0.3300 105.24
2 x 2 x s 51
9 s * w24aP'1' 155 0.6400 46.05
2 x 4 z 0 P'r
3 3 * w24101='1 155 0.6400 15.20
2 x 4 x 10 PT
14 14 * nunc LF 0.5700 53.54
2 x 4 x a consnuc:r:on
85 as * 51565-10 LF 165.0000 321.25
1 sé§- s'.c'un 10'
25 UGE
40 40 * 5153'2 LF 255.0000 114.00
1 5/3" mack
25 GAUGE
150 150 * 535 s-s 151 356.0000 641.52
3 5 a" sum 9'
25 UGE
21 21 * 535 '1' 151 305.0000 50.05
3 5 an max
25 usa
coosun.)mnon--_+ m:cml" 55
;:mrnam:mi $?""_ ' ' ` ' l k ' ’m..--a_'¢o. -hi.l§u;;":t'.- 5‘-'.-
+_l"h'll\m|.'l'»\$»\l||-
_Hl a"il - r"E-; &;..;
FEDJO'H-lEITAX,
M_'réri.x
FA\'MEI'|T
51\--' '~.\- 55 vw -"|
comm

 

RCR000000150

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158000

BlLL
TO:

 

PRECISION` DR.YWALL INC ++

501 N mNGRESS .'A.V'E STE 501
DBLRAY BC'.H

FL 33445

 

 

1650 S.W. 1311\ GQUHTl PGMFAND BEADI'|. FLOHDA ml
PHBNE lBSl'l 181-23&!0 FAX 1354-l 942~4360
REMIT T°:
1660 B'W 13th GT, FQMPANO BEACH, FL 330§9

ACCDUN'ITNG AND REEASE INQMW'ES
Phon¢: (954l 731-2399 l F¢x: {9541 942-464!

 

1095743-0001-01

VILLA LAGO

STH FLOOR

"B" UNIT

BOYNTON BBACH FL

 

   
   

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05/2§;05

 

 

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7. ,,F,....M.- ‘__ q ...,,,- h
mr" ¢z§~'\.-~:‘\ E: .:-.‘ .- - .- ' .-, = ~
LF 544, 0000 115.92
€" STU.D 9'
25 GAUGE
3 3 * SST LF 627.0°00' 13.81
'E" TRACK
25 GAUGE
6 6 * LF 718.0000 43.05
G" METAL BACKING'Z° GAUGE
coummmoN-_+ ** TH_I_S .'L_ZS YOI_JR _IN'VUICE ** su'r_°""\l' ,,,16,:59_'15
' -¢TA?IT.\nml . "' ' .' d d ‘-`
baum garmon
+-I"I`l'l\m‘l‘“m
r`“ 1115. ss

 

 

 

 

 

RCR000000149

 

168000 n -
BILL
TO:

PRECISION DRYWALL INC ++

   

601 N CDN'GRESS AVR STR 501

DELRJ\'Y BCH FL 33445

$HlP
TO:

*MIU S.W. 13b mUHT l FOHP.IND IE\\G‘I'|, FLOR|DA 830“
H‘IONE 1954| 701-23¥¥¢ FAX fm 542-4390

EHITTC:

1IlU EW 1311 Ul'. PQMFANO BEABH¢ FL M
.ACCUUNWNG AND RELB|SE IADWHES

VILLALAGQ

5'1‘3 FLCOR.
"D" 'UN'IT

BO'YNTDN BELG-I FL

Pl'mrl¢: IHSM 751-2399 °FI!: 1554) 942-4841

 

1095744-'0001-01

 

 

 

 

 

 

 

 

  

 

 

   

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DEL 5 31 06

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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’.*,. '- dr ':" » _ , _ .- =~\
sTARTrNG ncr 1 2005 THEREG W:LL
an $10 P/:Nv Fu:Lm
10 10 * w27PT LF 0.1300 9.10
1 x 2 x 7 PT sounnz sues
10 10 * szT LF _0.1300 10.40
1 x 2 x a PT sQuARE EDGE
4 4 * w4PT LF o.35oo 11.20
1 x 4 z a PT sounnz sues
2 2 * wsPT LF 0.5000 s.oo
1 x 6 x s PT SQUARE sues
28 21 * szvPT LF 0.3300 51.66
2 x 2 x 7 PT
66 ss * wzzaPT LF 0.3300 114.24
2 x 2 x a PT
17 17 * w24apT LF 0.6400 s?.o¢
2 x 4 x a PT
4 4 * w241oPT LF 0.6400 25.60
2 x 4 x 10 PT
17 17 * wzsac LF 0.5700 77.52
2 x 4 x a coNsTaUcTroN
120 120 * slsas-lo LF 385.0000 462.00
1 ség" sTUn 10'
25 UGB-
43 43 * slssT Lr zas.ouoo 122.55
1 5/a* Tnacx
25 shoes
180 180 * sasss-s LF 396.0000 641.52
355 a" sTuD 9'
17 11 * LF aes.oooo 65.45
3 5 a” TRACK
n
\‘:GDE B¢FLANM'|°N_-_-§
'-ITMI!A|¢AH'|.I:AILF
l-m'|'hxlm\&
¢-lTATl\muxuqlL,

 

 

 

 

RCR000000152

1660 B.W. 13¢|| UDU'RT° PC\MI'ANC BEACH, FLOH|IJA mll
PHDNE lm 781-239|= FAX 1931 342-4300
¥IEMIT TG:
1680 SW 1301 ¢T. F°H,AND BEACH. FL wl

AC€DUNT?NGAM R.E'.EAS.E MLNN'ES
Pho|\l: [954) 781-2399 0 Fl!! fl“} 942~4541

\ mm SvPPLv co.

     

     

-'-< . 1 h
1ssooo 1095744- 0001- 01
BlLL sHlF
TO= marston prima mc ++ T°= v:l:LLA usc

601 11 comnas mrs srs 501 __ sm noon
DELRAY san FL 33445 (!) ‘~_;u ` -n" UNIT
|D_D norman men FL

 

 

 

 

 

 

 

 

 

1641|¢. 0.000

 

5 5 * §ng LF 621.0000 31.35
25 elmore

12 12 * sssch LP 713.0000 _ es.ls
s" mm aAcKrNG-zo GAUG:

 

 

 

 

 

 

 

 

 

 

mllXFl.M'A'noN_-_§' ** ms rs Yom IMICB ** SLIS_TE|T;\L "h'"_ __ %050.57
;:mnrumuu¢u m '\ m¢$lA_BR' zov'ml
+- mm 1 lilml.'r¢xnm..

maFGl-W;D=fm.. »ji>_-"-=' =`-‘‘=‘-_’l”‘”..*-'.'~.-t
EDJ°THB TAX

¥WGE.1IX£

FAYMEIT

 

 

 

 

2153. 95

RCR000000151

_'\ W»HF§.MLY co. in l

     

 

168000

B_l§\éL PEECISION DRYWALL nrc ++

601 N CDNGRESS AVE STE 501
DELRAY BCH FL 33445

 

1m B.W. 13¢\ CDUBT * FOMPANQ BEAU'|, FLUI\‘|DA M
FHDIE IBW 781-2399 FAX IQBI-l m"-No
BEMF|' TO:
1060 SW 13b ¢‘T, POMFAN° BEACH¢ H.. ml

AC¢°UMTNG AND RELEASE ING£WES
_ Phuna: l954} 781-2399 0 Fm!: {854| 942-4841
-T |_|'_. |]['. THE
-u 'n:

'11|||1:--

l_q' 1111

 
   

109574 5 01
SHlP
TC:

VILLA LAGO

GTH FLOOR

"C" UNITS

2 UNITS

BOYNTON BEAG'I FL

 

  

 

 

 

 

 

 

  
  
   

   

 

 

 

 

 

 

 

 

 

 

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05125/06 10= 02 0.4
t >":‘;'<"»l' ’
.5.,- -_\s ;*'._\:~. -':";!_;_;'_‘:'7.'-.“."7_-_ _
ETARTING QCT 1 2005 THER.B WILL
an 510 P/nw FUEL sURcl~mRGE
24 24 * WZTPT LF 0.1300 21.83
1121'7PTSQU`AREEDGE
22 22 * WZPT LF 0.1300 22.88
lxszPTSQUAR.EEDGE
2 2 * w4PT LF 0.3500 5.60
1 1 4 X 8 PT SQTRR.'B EDGE _
2 2 * W€FT Ll' D.SODU 3.00
1 I 6 X 8 P'l' SQUARE EDGE
80 80 * W227£l‘l' LF 0.3300 184.1'4
2 I 2 JL' 7 PT
92 32 * W22SPT LF 0.3300 242.58
2 I 2 1 8 PT
22 22 * W24BFI' LF 0.5400 112.64
2 2 4 I 8 PT
6 6 * ‘N2410PT LF 0.6400 38.40
2 X 4 X 10 PT
32 32 * W24BC LF 0.51'00 145.92
2 X 4 X 8 CDNSTRUCTION
190 190 * 315 LF 258.0000 556.20
5 B" 18TUD 10'
25 U'GE
35 36 * 8158'!.' LF 285.0000 102.6'0
1 Eé§" TRACK
25 UGB
300 300 * 53588-9 LF 396.0000 1059.20
3 Sé§" STUD 9'
25 UG'B
QDUEEIFLANAHON__+

*-lflTl'¥M-Iml.l
l~m'l'&lml.l
+-l\'lTl\mem

 

 

 

 

 

RCR000000146

1300 S.W. 1311 ¢OUR'N FOM'PAID IEAGH¢ H-ORFUA 3m
PHGNE I!S4l 781-2399¢ FAX fin-l mm
HEHIT TO:
Ill) SW 13th ¢T, POMIM|D IEAGH. FL 3m

AC¢'.‘|'.'UN'ITNG AND RHEASE.|'NGUWES
thl\a: lI“l 781-2399 |lF¢x: 1954-l m-&EJH

     

:r.-`#i\--“J`-.`\' "
lasooo 1095749-01
BlLL mc:sIoN mm mc ++ SH|P v:Lm Lmo
TO= 601 m comcnzss avs srs 501 T°= smu FLoon

DELRAY aca FL 33445 "c" uNITs

 

 

 

 

 

 

 

 

 

    

34 34 335 T LF 355.°00°
3 5 B" m
25 GRUGE

ao 80 * 555-9 LF 544.0000 463.53
G” STUD 9'
25 GAUGE

a 3 * SGT LF 627.0000 5°.16
6" m
25 GAUGE

14 14 * S€B.'ZU LF 715.0000 100.52
5" H.'ETAL AL"BACKING 20 GAUGE

 

 

 

 

 

 

 

 

 

 

    

 

 

 

¢mm,mg"__..._+ en ms rs Y?-gg_ mfg *** "'BT°TM' .. . ...3':2.§6,'.¥;5
;~lrmnx_run.m . ' M»M -"2&1$°'
+-Al'r TllmLT¢\KAFR.

EDJQTHEHTA)¢§_ __

ensuing . ,~ ~ .'€;,;';J isaac

FAYMENT 7 CLDQ

"‘:;F'.E'QT'AI;.*§\H§T"BUF

3,485.45

RCR000000145

1060 S.W. 13th GGUBT¢ F°MPANO BE&GH, H.DNDA 330¢|
FH°NE 19541 781-2389 0 FAX [9541 942-43$0
REMI'|' 1'0:
imHW 1311 CT. PCWIN° BEAUH. FL m

ACCOUNTTNS AND RE'..EASE nfli
Fhonl: f954} 781-2399 OFIX: 1954} 942-4641

 

       

‘-:Mw-";HQ¢ ~
150000 1055159- 01
BlLL sHlP
TO: mczszow DRYWM:.L rm: ++ T°= erLA mo

601 N coNGREss mm 515 501 s'rH FLooR
nsLRAY aca FL 33445 1 mr

BOYNTON BEACH FL

 

 

 

 

 

 

 

 

 

 

 

smT:N¢ oc'r 1 2005 1':05515 lm.L
03 $10 P/:Nv mz. sums

 

 

 

 

 

 

 

 

 

8 s '= mva mr 0.1300 1.23
1 x 2 x 7 5'1' scm EDGB
5 5 * supt LF 0.1300 5.20
1 x 2 x a 51' sums EDGE
3 3 v w41=1' 1.5 0.3500 0.40
1 x 4 x a 51- sormr.a: ms
1 1 * wsPT __ mr 0.5000 4.00
1 x s x a 1=1' sam moss
11 11 * w2211=-z' LF 0.3300 25.40
2 x 2 x 1 p'r
15 15 * w22sP-r 1.5 0.3300 50.15
2 x 2 z a PT
1 7 * wzssP-r LF 0.6400 35.54.
2 x 4 x s P'r
2 2 * w2410P1' LF 0.5400 12.50
2 x 4 x 10 P'J.'
7 'l' * wzsac LF 0.5700 31.52
2 x 4 x a coNsTRUcr:coN
50 90 * 5155 - 0 LF 290.0000 255.20
1 5/8' sum 101
25 GAUGE
25 25 * 515 'r LF 205.0000 11.25
:L sz§" max
25 ucs
100 100 * 535 s-s ns 355.0000 356.40
3 5 a" s'rn'n 5'
25 GA 5
GODERPLA||A“EN---_J

i-fl'l‘llTA¥lMllll-l
-m T mm
-l»-I‘|'&'l'i l ml TAI lm-

 

 

 

 

 

RCR000000144

1850 E.W. 13th EDUHT l PUMPAND BEACH. FL°BDA 830€9
PHONE 1954 781-23”° FAX lml 343-43¢0
REMIT TO?
‘IGI'.\ BW 13th ¢'T, P¢IIANO BEA¢H. FL m

AGGGUNUNG AND HE\I$EJNDWHES
Phann: 1554) 711-2392 o le: {354\ 942-4641

         

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165000 - 1095755-01
BmL sHm
T°= PREC:BIoN nnxmeL rue ++ TO= vILLA 1100

601 N cnncnzss 255 515 501 525 55002

nsLRAY BcH FL 33445 A 0NIT

 

 

   
    
 
   
 

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1..1.-'- 1- '-I-_. . ,- - .¢-- -'-
335. O°OU 46.20
15 15 * SGS"'§ LF 544.000° 36.94
6" STUD B'
25 GAUGE
2 2 * SGT LF 627.000° 12.54
E" TRACK.
25 GAUGE
a a * 56320 LF 713.°°00 57.44
6" METAL BACKING-zo GAUG-E
cooumumou_-_-+ in ms 15 mm Igvolcg in SUBT°TI_\_l¢_ _ 1¢°79_:_?7
- ”ln`rlxm ~' =: '
m`r“lmu
*I"‘ElmLT-xm
EYRQJ§G
l l \ \ °- 00
ii%tnxh§?mm-DUE
1,160.17

 

RCR000000143

 

 

`163000

BANNER SUPPLY 60

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1630 S.W. 131\‘| CWRT¢P°MPANU BEAG'L FLUH|DA ms
PHQI|E ll64l 131-ml FLX lim mm

Ill'l' TU:

1860 SW131|I ¢‘,"l'. PC”&||BIE.\\¢H,FLM
A(.‘COUNHNG AM) REI‘.£ASE INQUINES

}’hnnc: [954| 781-2389 ¢Fl¢: [954} 942-4641

 

1095752»01

 

mLL sHW
TO= Pch:s:oN DRYNALL INc ++ T°= v:LLA 1300
501 N cnnannss AvE st 501 GTH FLooa
nsLRAY sen FL 33445 5 UNIT
ao¥uToN BEAcH FL
zia§*'@%$§¥§@%%§f. §§F§§HE§*§%:§ .

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sTART:nc 001 1 2005 THERR w:LL
55 $10 F/INV FusLs
12 12 szPT LF 0.1300 10.52
1x 2 x 7 PT squmns goss
6 s wsz LF 0.1300 6.24
1 x 2 x a PT sQuAnE sosa
3 3 w4PT LF 0.3500 5.40
1 x 4 x 0 PT squnns 5005
1 1 wsPT or 0.5000 4.00
1 x 5 x a PT sQuARH sues
22 22 nzzva LF 0.3300 50.50
2 z 2 x 7 PT
41 41 wzzaPT LF 0.3300 - 100.24
2 x 2 x s PT
9 s w24apr ns 0.5400 46.00
2 x 4 x 0 21
3 3 w241021 LF 0.6400 19.20
2 x 1 x 10 PT
14 14 w24ec LF 0.5700 €3.54
2 x 4 x a cnnsTaUcTroN
35 85 slss Lr 250.0000 253.30
a" lswan 10'
255 usa
40 40 15 T LF 255.0000 114.00
1 5 0" Tnacx
25 cna
100 100 sss LF 396.0000 641.52
3 5 s- 9s'run 9'
25
cons gammon .-___._+ sun roTAL
--snn~rulmmlu ' " -
I-mfl!m
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RCR0000001 42

1!|0 S.W. 13th WURTeFGWANQ IEAGH, H.°H|'DA 3306!
FH¢|NE IBW 731-239!° FAX laid-3 mm
REIIT T°:
1069 SW 138| GT. P°MP»\NO mCH. H- wl

ACCDUNTTNG AMD HELEASEINDMNES
thn¢: ¢954} 181-2399 0 Fm¢: {954) 342-4841

B“_NNER suPPLY 00. '

      

  
 
 
  
  

 

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155°°° 1095162-01
mLL
TO= mczsron DRer. nrc ++

501 N CDNGRESS AVB STB 501
DELRAY BCH FL 33445

   

 

 
 

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305:0000

644.0000 115.92
621.0000 18.81
5 6 * SEBZD LF 718,0000 43.08

6” MBTAL BACKING-BO GBUGE

 

 

 

 

 

 

 

 

 

 

I -l.£lTAl'I‘l’-IIlm
l mT-\X AXML!
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1680 S.W. 13|1\ GDUKTlPOMFI.NQ IEIDH. PLORDA mi
FHO?E ISHI 781-mi FAX (IE$¥ 342-4380
mn T°:
1180 BW 13th E'l', FOWAN° BEAGH, H- m

ACGOUN'ITNG ANIJ RE..EASE .WQUIH£¥
Fhona: 19541 731-2399 0 Fl!: 1354} 942-4641

   

man supply co. ‘

     

168000 1096005 -01

slu. sHlP
TO= mc:s:on nnm:.r.. nrc ++ TO= mm mo

601 11 coNGsts sz: sms 501 5111 moon

amy sca 11 33445 soch am 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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sm'z'ING 0c11 2005 1111:113 1111.1l
BE $10 P/mv FUEL SUch-DRGE
1 1 * 110sz m o.oool o.oo
513 noon
BAST szm:
4a 4a w Bccc Bx 1')‘.6000 s44.ao
110sz com companion Usc:
4a 1111 PAL.
1 l * 11011:5 m o.ooo:l. o.oo
511-1 moon
mann
48 4a ~ acch ax 1'1.6000 344.30
cowan con comm sss
4a 1111 PAL.
19 0 \>Th'
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sugTQTAL l _ 11689.60

consuPuNATloN-_-£" *** T_H.T.S IB ‘YOUR. _IN\_FEJICE ***

* -l'l'A'|'i'l'All-Ilf\l\ll|-I
I~ ~mm gm
¢‘ ‘”ATI\WTA¥!M.

.' _= l'_` '§`_.~L'i,u"__'_°:°

    

FEDJDTHEH lT'.A}_¢ `
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PAYMENT

 

 

 

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BlLL
TD:

3 SUPFI.¥ 00

 

PRECISIQN DR'YKALL IINC ++
601 Dl' OSNGRESS AVE STE 501

DELRAY BCH FL 33445

 

  

1800 ¢.W. 13\|\ UCUHTI P°MPANG BEAGH. FL°H|DA m

 

sHW
TO= v:LLA LAGO

BOYNTON BEACH FL

203 5915 01

mm 18541 1!1~2389¢ FAX {l“i 942-4300
REMITTG:
16” 5W13th ¢`|'. FOMPAN° BEA|=H, FL ml
A¢'»`EQUM'.WG AND HELEASE INQMHIE$
Fhml: 1954-l 781-2389 °Fll: 1954| 942-4641

 

 

 

 

 

 

 

 

 

 

 

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s:ARTING ocT112oo§ THERE wILL
33 310 P/Inv FuELs MCHARG

 

 

 

 

 

 

 

 

 

100 100 SET LF 627.0000 527.00
6" TR.ACI
25 GAUGB
100 100 535 '.‘|!' , LF 385.0000 385.00
3 52;8`" TRACK
25 UGE
80 80 W228PT LF 0.3300 211.20
2 X 2 X. 8 PT
10 10 W4PT LF 0.3500 28.00
1 X 4 3'. 8 PT SQU'NRE EDGE
10 10 W2410C LF 0.6100 61.00
2 1 4 Z 10 CONSTRUC.'IION
ig ' ST`E
_
MII)E£J¢|"LAN!A'|'|QM'_“_‘_4

+-ITA`|'II|W|.|'AKIHL

*** THIS IS Y_OU2 INVOI_C'.E ***

 

 

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1360 S.\\|'. 13d CQURTO F°|PANQ lEABI'l. H.OH|DA ml
FH°NE [954\ TS1-23890FAX l954l 942»-4300
HEM¥T TB'.
1600 SW 1301 CT, FMANB IEA\=H, FL wl

AC€OUNTTNE AND RELEASE I'NDMH'ES
Fhllrl!-' 1'954I 751-2899¢&1¢: i$§|»l 942-4641

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168000 1096076-01

511 sHm
T°= Pnsc:sron 021wALL 150 ++ To: v:LLa 1200
501 m cnncnsss 152 510 501 00110:00 2
DELRAY sen rn 33115 610 FLoon

 

 

1095076-01
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sTARTIEG ocr 1 2005 22325 w:LL
55 s1op p/:Nv 2051 502051205

 

 

 

 

 

 

 

 

 

so so * w2PT LF 0.1300 02.40
1 x 2 x s pT 500125 2005
150 150 * w410p0 LF 0.3500 525.00
1 x 4 x 10 PT sounns 5005
32 32 * w610 Lr 0.5555 111.75
12 5 x 10 20
250 250 * w241021 15 0.6400 1600.00
2 x 4 x 10 PT
360 350 5 sss 2 Lr 305.0000 1305.00
a 5 a" Tnacx
25 a
420 420 5 51552 LF 205.0000 1151.00
180 100 * 15 621.0000 1128.60
consm.\rrun__+ H* 1315 15 gang ruggles ,\." lul'rnTAL 6, 076. 76
o l'rl'riTAzln-lml _' /-- `_ . _ mr ")

 

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RCR000000154

1000 s.w. 1201 cousin romano hamm mm same
ruqu com 101-2505 o F.\x low 042-430
hamm
1000 sw 1320 cr. romano men Fl. mo

AcC°UN'HNG AND R£LEAS.E MM'HES
Phul'll: 1854|' 781-2398 Ole: l954l 942'4641

 

 
                

x .r_-': ;w,_._'_.'-.', _ _, ‘ _!'-'x,'¢ L.- -_L:’=' -'.-
150000 1056541- 01
511 sum
TO= rascrszon DRYHALL 150 ++ T°= v:LLA LAso

601 N concusss 252 525 501

DELaAY 505 55 33445 502520N nance FL

 

 

 

 

 

 

 

 

 

 

STARTING OC'I.']. 2005 '.'|`.'I€ERE WILL
BE $10 P/IN'V FUEL SURCl-I'ARGE

1 1 * Nom s :A 0.0001 0.00
255 1095509,5505,5513,5502
a szs. .

3 ' . ;~ . 8 * Ds. 52 25.0000 200.00
' '-; . 'srdcxrms- 22252125- canon ..
- -.- . . .. _----NE2 znvp:cz_ -----

F)©EST\_:__ ®

 

 

 

 

 

 

 

 

 

connau=l.m~l"»on__'+ *** TH_IB 1£- YOUR INVDIC_E ***
'~lT'l'l'leXlHl-IIILE '
I-m'l'ulmll
+-l'l'l'l'ilmll.l'lx»`?”..

 

 

 

 

 

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l150000

TO:

   

1IN B.W. 13th CGURT 0 FOMFAN° IEAGH, FL°HIDA 330"
PHDP|E 1554) 751-2399 le I°$¢l 942-43”

IEMlT TO:

1lM SW 13b ¢T, F°MPANO BEABH, FL 330¢9
ACCGUNTTNG AND R£Z.£ASE .|'NUMWES

BRL PRECISION DRYRALL IHC ++ SWP VTLLA LAGO
601 N CDNGRESS AYE STE 501 To= WEST BLDG
DELRAY BCH FL 33445 NORTH SIDE

UNIT A

 
 

1096147- 01

BDYNTON BBACH FL

 

 

 

 

 

HIBM: 19541 781-2399 °FI!¢: mw 9424641

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52552255 002 1 2005 25555 5111
55 $10 PfINv FUEL sURc::~mRGE
1 1 * 50255 52 0.0001 0.00
2-A uN:Ts
152 51005
15 16 * w2752 15 0.1300 14.55
1 x 2 x 7 52 500055 EDGE
10 10 5 5202 15 0.1300 10.40
1 x 2 x 0 02 500555 5055
6 6 * 2452 15 0.3500 16.00
1 x 4 x 0 52 500205 5055
2 2 * 2552 12 0.5000 0.00
1 x 5 x 0 52 500525 5055
22 22 * 522252 15 0.3300 50.00
2x 2 x v 52
30 30 * wz 2052 12 0.3300 100.32
2 x 2 x 0 22
14 14 v 224052 15 0.5400 11.50
2 x 4 x 0 PT
4 4 w w241052 15 0.5400 25.60
2 x 4 x 10 52
14 10 * w2405 15 0.5200 53.04
2 x 4 x 0 coNSTRucTIoN
100 100 * 51505 - 15 290.0000 536.40
hsé§m ls'run 10'
50 so * 515 2 15 205.0000 142.50
1 5 0' TRAcK
25 055
CUDE EXMNATIMI __-} sun mill . ne

 

 

RCRUDUUUO‘l 51

1050 G.W. 1311 ¢CURT¢PO“FANQ BEAGH. FLIJF\IDA m
FHME 195$} 181-2399 ¢ FAX 1954! 542-lam
H.EMIT T0:
1¢60 IW ialil¢T. PQMIANQBEADH. FL m
AC€OUN'ITNG AND R£|'.EASE|WGLNHES
Hlon¢‘. I954) 781-2393 Ole: l554l 942-4841

     

158000 1096147- 01

BlLL 555<:15105 DRIWALL mc ++ sI-llP v1111 1150

TO= 501 N 00555555 155 525 501 T°= 5552 5155

551512 505 51 33445 50525 5105
0512 1

BO¥NTON BEACH FL

   
  

 

    
   
  

    
  
 

  
   

 

 

 

 

 

     
 

 

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"v¢ 1--..12.'_~!»' ";,¢;“‘?»WF”* 55 151-41
1095141- -01 06 01 05 06/01/06
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535 599 7 ' n 7 w ` 355. 0000
3 s a- 5205 s'
25 5

24 24 * sas 2 15 355.0000 52.40
3 5 5- marc

so 30 * sss-s 15 544.0000 173.55
5-' 5201 s'
25 55055

4 4 5 552 15 521.0000 25.05
5~' 25155
25 55055

16 15 * 55520 15 115.0000 114.55
5" mm menna-20 51555

 

 

 

 

 

 

 

 

 

 

50055251.¢:45110»¢_._} 554 ms 15 m morcg ¢*4 su!ToTAL 2¢159-_94
-rmunmun:uu -F---*'- T- "' “-Imx W: v "' Wi-. ' '
hmumnm waupun '- ‘ ` ‘
+-IT.IT'llmTAl-\'FL

 

 

 

 

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BA_NNER sUPFLy co.

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BRL pnscmszou naymeL :Nc ++

T°= 601 N coNGREss 223 srs 501
nELRAY sca FL 33445

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1000 S.W. 1311 ODURTI FOMFANG IEAGH. PLDRIDA m
PI'|ONE 1554| 751-2330¢ FAX ll§$| “2-4360
REII!T 'I'°:
13® I\¥ 1Hl ¢l', FBM,AN° BEA¢H, FL 3m

ADCOUNT.'NG AM'J REI.EASEMWHE$
Phon¢: 1350 781-1399 0 Fux: IIM\} 942-4-841

 

2055149-01

SHP
TO:

VILLA LAGO

WEST BLDG

NORTH SIDB

B UNIT

BOYNTON BEACH FL

 

  

 

  

 

 

 

   

 

 

 

 

 

    

 

 

 

 

   

 

 

 

 

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1095149- 01 05/01/06
sTARTING ocT 2005 THERE wILL
ss 510 PIINV FUEL sURcHARGE
1 1 * nurse ga 0.0001 0.00
1 -B" uNIT
152 rLoon
12 12 * wzvn Lr 0.1300 10.52
xz x 7 22 sQuARE sues
6 6 * w2PT Lr 0.1300 6.24
1 x 2 x s 22 sounzs amos
3 3 * w4FT LF 0.3500 8.40
1 x 4 x a 21 squnnz sues
1 1 * wsPT LF 0.5000 4.00
1 x s x s PT souanz nose
22 22 w szvpr LF 0.3300 so.Bo
2 x 2 x v PT
41 41 * wzzePT LF 0.3300 105.24
2 x 2 x s PT
9 s * wzsaPT LF 0.5400 46.05
2 x 4 x a PT
3 3 * w241nPT LF 0.6400 19.20
2 x 4 x 10 PT
14 14 * w24ac LF 0.5100 63.84
2 x 4 x a coNsTRucTIQN
as 35 * slsss-lo LF 290.0000 253.30
1 sé§“ swan 10'
25 ucs
40 40 * s1saT or zas.oooo 114.00
1 sia" Tnacx
5 GAnGE
conf D¢H.&NA'|‘|QN _-_*
'-mfil'|x
l‘m'raxm|.l
+-l'l'l‘l'I\mYAXAFH-

 

 

 

 

 

RCRUDUUOU159

1|¢|! S,W. 18th GBURTl F°MFAN° lEAD|'L FLD|IDA 33068
FHDNE 1954| 151-23"9 FAX 1950 342-4380
I\BIlT TO:
‘|m ill 13111 UT. mAND BEAGH. FL 33088

ACCUUNTTNG AMJ HR£GSEMWHIES
l’hnrlc: l954] 181-2359 0 FIXZ 1954-l 942-4541

 

        

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§ ........... w'w\" _ " rif :~’~-'E :.f ;_.,1;-“.:.5.».1
160000 1096149-01
BlLL marson cum mc ++ sHlP vn.m 1200
TD= 501 N couunzss 102 srs 501 T°= wEsT anne

DELRAY BcH FL 33445 NonTH srns
B U'NIT

BOYNTON BEACH FL

 

  

 

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fme ' nw " ~":r.
\-.i _-......-"-..... .,._.-; ”-'.:.-.W, -. ,...2":\'. -‘ '

1095149-01 ' 133 06/01/05
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396.0000
LF 385.0000 BD.BS
LF 644 . 0000 115.92
LF 627.0000 18.81
6 6 * SSBZD LF 718.0000 43.08
6" METAL BACKING-ZD GRUGE
Ej]i©i` TE .®
cone E:¢H.ANAT|oN_-+ *** THIS 15 m INVOI¢:E mm `813| 'l:O'l'A_L _
::a'r¢n'rq.;::mu m -_',";‘»"‘l‘~‘ -‘ ‘ '_ ‘ " "' ‘:"'é’;",: MS_¢'AM'.'; .
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T=:»’:’¢;‘:M§‘¢.J.B.L

 

 

 

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1660 B.\\'. 1361 GOURTlFCMPANG !EADH, H»°RDA m¢l
PHCNE llM-} 781438|¢ FAX lIEd-l 842-dale
REMI'I T°:
1800 BW 1351 ¢T, FCIH,AND IEACH, FL ml

AG'¢OUNTING AND R£LEASE' IMJMWES
Phonu: 1954} 781-2399 l Fll¢: (954| 342-4841

v B,.“F,.'}',F,{¥*WLY co. in

     

     

150000 ' '

BlLL PRECISIQN DRYWALL 1Nc ++ sHlP wm mo
TO= 501 N compass mrs 512 501 TO= mas'r anne
051.211 Bc:~: 111 3344.5 moran sua

 

  
  

   
 

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06/01/06 10; 5

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s'rAnT1NG 001 1 2005 mm w11.1.
ns $109/1110 FUEL sun norms
1 1 * No‘rss m 0.0001 0.00
2- "c' UNITS
151 1='1.0011
24 24 * 112va LF 0.1300 21.03
1 x 2 x 7 PT sums EDGE
22 22 * 11sz LF 0.1300 22.00
12122101=1501121115:1:05:
2 2 * mm LF 0.3500 5.60
1 x 4 x s PT SQUARE EDGE
2 2 * WsP'r LF 0.5000 s.00
1 x s x 0 21 sam EDGE
00 80 * 1122va 1.5' 0.3300 104.14
2 21 2 x 7 PT
92 52 * 112251=-1' Lr 0.3300 242.8&
2 x 2 x 8 PT
22 22 * w245P~r 1.1' 0.6400 112.64
2 x 4 x s P'r
6 5 * w21102'r 1.F 0.5400 35.40
2 x 4110 1='1
32 32 * misc LF 0.5700 145.92
2 x 1115 coNsTRUr.'HoN
190 190 * 51505-10 LF 290.0000 566.20
1 sales sum 10'
25 UGE
36 35 * 51551' LF 255.0000 102.60
1 5 a" max
25 s
cone ExH.ANA'rmN _-.J BUI TnTAL_ .
'-I'ra?lw¢m - . :- _.-
l-l'mm‘n\¥lm\z
¢-erTllm‘l'AK.I|I.

 

 

 

 

RCR000000161

   

1880 S.W. 131|\ ¢wRTI P°MFANB BE¢\GH. H.DI\|DA am
PHONE l954| "1-m9¢ FAX [954} 842-dun
HEMlT T°:
1000 BW 1391 $T, FOM,A||° BEAC‘H. H- mn

ACCDUNT?NG AND RE'.EASE IM'JUIR'ES
Phona: 1554] 731-2388 °Fm¢: 1954-1 942-4641

   

 

M.Wm

        
   

1096153- 01

 

B!LL mcIBIQN DRYm.L nrc ++ SH|P v:tLLA LAGo

TO= 601 N comss 202 515 501 T°= 11st BLDG

DELRAY BcH 21 33115 NURTH 5102
oumms

BOYNTON BEACI'I FL

 

     

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-_rz`.' MM
1096153'-' 01

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LWB:.»¢ » rl-JW-n
396.0000 1059.20
385.0000 130.90
644.0000 463.€8
5 627.0000 50.16
s”
25
55 TJ.B. 0000 100.52
6" FETAL BACKING-ZD GAUGE
|g 0 TE. ®
cmemmmun--__+ in ms IS ~!-QUR INVQICE gu sunraT.\-\L' w 3,266.15
ll-lm'l'r:nc.\ll\.\\:anl.l ~- .,. ' "
... l-m¥l!lmlll .
¢~lrm\mumcml.
,~.2¢&£§::”
H". ..9@°
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3 , 458 . 45

 

RCROOOOOO'| 60'

 

   

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168000

BlLL PR.ECISICN maan mc ++
TD= 601 N concnzss Avs sra 501
nzLxAY sen sr 33445

 

1080 S.W. 13th GOUF\T l POMPANO BEACH. F\,UHIBA SNBB
PHDNE lim 781~23900 FAX llEd'l mm
REM!'I` T°:
1060 S'W 13¢|\ UT. PCM,ANO IEADH. FL mls

AGCDUMTNG AND RELEASE IM'.IWHES
Phonl: l954) 781-2390 n le: 1954| 942-4541

 

iésslss-ol
sl-m=
TO:

vILLA LAGO

WEST BLDG

NDRTH SIDB
D-UNITS

BOYNTON EEACH FL

 

 

 

 

 

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WWM ;,:x,- .` a " WM\L“W -.-'- ~ 1 ;.,“ "1~"':
1095155 01 133 06/01/06 117 06/0“¢96 11 05/07/06
:,:_f¢‘»'.#._'“ -r" ' _'_'. _ qva g \ \
~":"‘»~I"-,- "`R'.¢<' .u»-- -.`.$\.."`"."..
OCT 1 2005 THBRB WILL
P/INV F'U'EL SEURCHARG
S EA 0.0001 0.00
UNITS
FLOOR
LF 0.1300 18.19
X 7 PT SQUARE EDGE
20 20 * LF 0.1300 20.50
l X 2 x 8 PT SQULRE EDGE
8 8 * W4 LF 0.3500 22.40
l X 4 X 0 PT SQUARE EDGE
4 4 * WEPT LF 0.5000 1€.00
1 x 6 X 8 PT SQURRB EDGE
55 55 * W227PT LF 0.3300 125.32
X 2 x 7 PT
132 132 * WZZBPT LF 0.3300 340.48
2 x 2 X 8 PT
34 34 * W24BPT LF 056400 174.08
2 X 4 I 8 PT
8 3 * W2410PT LF 0.€400 51.20
2 X 4 X 10 PT
34 34 * W24SC LF 0.5700 155.04
2 I 4 x 8 COHSTRUCTIDN
240 240 * 31585-10 LF 258.0000 715.20
1 5/8' STUD 10'
25 GAUG
56 55 * SlSBT LF 255.0000 245.10
1 5£8” TRACK
25 B
amnowuNMuN---J§ su““"*L
.--»'n.' '-\.:,\,\ =-
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FEDJUT!'|E.RT._AX if

 

 

 

 

 

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1000 B.W. 1301 GWF¢TSPCI|IFANC BEAH'|. FLDB|BA m
FH°NE 1054] 151-3!!90 FAX l554l m
BEMITT°E
1IM m TB‘II\ C'T. PMANU BEAU'|. H» 330"

AGCGUNT|NG AM'¢' REI..EASEINGWH£‘S
Phona: ¢954|' 731-2399 OFn: (9541 942-4641

 

1096155-01

 

 

 

 

 

 
  

     

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

BlLL PRECIS:QN ranme nrc ++ SH|P vILLA LAGO
TD= 601 N compass mm s'rz 501 TO= mss'r ama
nunn 3c1-1 FL 334-15 moran szm:
o-mu'rs
aomoN mm FL
~~~~ N°%F.!“W WL§§W '
1096 55- 01 ' ` `
w . . _ w
350 360‘ * d 35 s-"s ' 1.1'" "396. 0000 1203 04
355 a" swan 9'
34 34 * s 'r LF sas.oooo 130.90
3 sz§" TF.AC::
s nn
60 60 * sss-9 LF 644.0000 347.':6
6" s'run 9'
25 GAUGE
10 10 * ss'r LF 621.0000 62.'70
6' mcx
25 GAUG:
24 24 * § LF 710.0000 112.32
cooes)cPLANAmN--__+ w_s1_'o'_r.u. 3,892.53

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l-m T»\xml.i
O-l'l'A'l'lI m'l'lfm.

*** ms 1_¢_5 1003 :_rr_\r_c_>;c;z; ***

 

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4,155.54

 

 

 

RCR000000162

1000 S.W. 1001 GULIU' IFWFAND IEACH. FLQR]DA 38008
FHDNE 18041 101-2300° FAX I$S¢| m
HEI\\IIT TO=
1000 IW 1301 GT. FBM,AND IEACH, Fl. 33000

A€GDUNUNG AMD HELEASEINGWHES
Phnl\¢: lBEI-l 701-2300 l le: 1054-1 042~4041

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.;HYH¥§E¥§Y§§¥; ."

1096314-01

   

1 B,.A.",£§¥,Mw co.

        

160000

alu.

T°= PnEc:sIoN DRYWM.L INc ++ T°= wm mac
601 11 couc:mss mm 512 501 2011.1>1100 1

DELRA¥ BCH FL 33445

   

 

 

WS&EY&L§
05/05/06

  
 

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smu-1onch 2005 man w11.1.

mslo P/INv FuEL sURcHARGE
213 200 * 111ch 13.1000 3712.ac Qo`
Jonrr coupoum:
GoLnBoND
200 200 * nose 111 s.sooo 1160.00
mann so sn-smoom

 

 

 

 

 

 

 

 

 

 

commmu~_--+ *** m_r_s_ 1a 1002 10201¢:__2 ***

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+- Il'I‘\'I l mTIXA\'F|_

 

 

 

 

 

RCR000000155

1550 E.W. 1361 E°UHTI PG\|FAN° BEA=H. FLCH|DA ml
FHD||E llE-l~l 181-230ng 1954-l 94243¢0
REMIT TQ:
1m¥*13h€T,POWANUlEABH.H-M

ACCDUNT|'NG AM, RELEA$E I'ND\'.#NE.!
th¢: lIMl TBivzali nFm¢s mild 942-4841

 

 

   

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51 ___ ___ §
1“°°° 2035050-01
Bll-L sHlF
T°= 922015102 0211011.1. mc ++ To= wm mm
501 N concuss mm 212 501
lamar 502 11. 33445 5012102 amca FL

 

 

 

 

  
  

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STARTING OC.'l‘ 1 2005 THERE WILL
BE $10 P/INV FUEL SURCHARGE

150 150 * 515 5-101 253.0000 476.30
151020~ 0100 10'
002
2 2 * 02210 52 350.0000 zs.so\/

12"1REGULAR DRMLL J.D'

 

 

 

 

 

 

 

 

 

 

ammunon--_* *** 1210 15 _0002 11Wo_1_C2 ***

 

 

 

 

 

` mRCF{O[TUUUO}')'M}

1660 S.W. ‘|S\h GWHTI P°HPANQ BEA.GH. H.GH|DA 3306!
FHU||E low 181-2385¢ FAX 18541 uaw
RE|I|T TD:
1680 SW 13d ¢T. F°NPANO BEAGH. FLBSBO$

AMDUNHNG AND EELH$E !NUWH'ES
Fhono: 1954-1 781-2395 l le: {954} 942-4541

 

     
  

   

__ ._-.-_-: \ w --‘3'»" 7 l';i,¢lI-,i-_E$. -H..,._! _\¢. -`_;
163000 2036104- 01
s!u. sHtP
TO= PREc:sron nnYwALL fmc ++ TO: v:LLA Lago

601 11 comnas mrs s'rz 501
mann scs-z FL 334-15 nomon man FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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0_6/0_6/0_6 _
'STARTING cci i 2005 Tms wILL
as 510 F/INV FUEL sum
160 160 * 515 s-J.o LF 293.0000 476.30
1 s a" s'rcm 10'
50 50 * 615511'20 LF sas.oooo 460.00
15 a"H:LEGTRAc:c:oGA
MDEE!PLANATI°||---_+ *** mrs rs YOUR INVDICE *** 8UITOTAL n _-§'::?44. .SC
».lrn\'mcun.mu.s .'.' M£¢ IJI'|ME_-f., ' _ID~_B°'

 

I-m‘|'lll'fll AIH.IIAILE
'l-I'l`l\'l'l mf.\!lm.

 

. M.H inm`.

    
 

 

 

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mrs-fagg , 15‘.;”'&1.'£!1

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1,016.21

RCR000000164

 

16” S.W. 1311 mURT l POMIMND IEAGH, H.QH|DA ma
FHQNE IBM) 181-2399 FAX lis!-] umw
RE'HT TO:
1Il\'| SW 13th CT, FDMIAN|) !EACH, H. M

AFCCUNWNG AND HHEASE MK}U|HES
Fhunl: 1954-1 791-2399 llFl:ll: 1954) 942»4841

      
  

 

lGBODO 109€353 01

BlLL PRECISIQN DRYWAJ:.L INc ++ SHlF v::LLA LAGo

T°= 601 N consmss mrs sm 501 T°= BU:Ln:m 2
m:x.nmr ncaa FL 33445 curran or BUILDING

ann moon

BOYNTDN BEACH FL

 

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,- _._I.LW
d '\.-

06/06/05

 

 

 

 

 

 

 

 

 

 

 

grme oér 1 2005 "'mnim w:m..
ns $10 P/J:Nv mL suncHnRGs

360 360 * SS$BT LF 385.0000 1385.00
gs§ B" §RACK

420 420 * 515 LF 285.0000 1157.00
im 5/8" TRACK

180 180 * SET LF 627.0000 1128.60
6' TRACK
25 GADGE

 

 

 

 

 

 

 

 

 

 

    
 

 

conEmeman_J *¢-* TH:_-s 15 gregg nwp:cg an 3 7_~_:!-1 5°_

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o 0 _

 

 

3,962.85

 

RCRUDDUUO165

1300 B.W. 1361 L‘DUF\Tl FEMPAN° IEA@'|. FLURDA mll
FHUNE |IE¢|~I 781-23!9 0 FAX 1954| 842-im

   

BANNEB so

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m m“m|-LMEIIN$ \ quo sw mh c'r,am;:o mem FL assn
Accoummo ANo maximum

th¢: II`E'I»J 7!1-2399 0 le: WE$I 942~4841

h-_,

        

153°°° 2036200- -01
BHL sHm'
TO= pnsczs:ou nRYwnLL 1Nc ++ TO= v:LLA Lago
601 N cnncnsss Avn srs 501
so¥uToN eahca FL

DELRAY BCH FL 33445

   

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d‘swbqg;,
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DS/QQ/DS

 

  

 

  
 

 

 

 

 

 

 

 

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START:NG OCT 1 2005 THERB WILL
3m CHARGE

as 519 P/va ruzL
200 200 * slszs-lo LF zss.oooo sss.ou
1 s an sTun 10'
25 cases
so so * ssszu LF vla.oooo ass.oo
s" MBTAL aAcxINc-zo sands

 

 

 

 

 

 

 

 

 

cousacl=\.mrnou_---¥ *** 11118 I_S '!`DUR INVD_ICE ***

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l- wm T.l!m
i\~ ~ITI'\'E\mI,TMlm

   

 

 

 

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FAYMENT q _ op
§§H£UTLL!AHT"DUE
1.027.01

RCR000000166

   

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nzsaooo
au.l.

TO= Pnsc:szow DRYWALL INc ++
601 n com@nsss ANE sra 501

DBLRA¥ BCH FL 33 445

"le l|E. L'_l|H
f-_ ..' . __

 

1660 B.W. 18¢h I.'.*QURT¢ P°MFAN° BEAGH, FL°HIDA m
FHDNE [954) 181-2399| FAX lim mm
REM|T TO:
1600 IW 13th ¢T, FD|I'AND IEA¢H, FL m¢$

AC¢OUN?TNG AND RE.EASE INGUFHES
Phont: ¢954) 731-2389 d le: |864] 942-45+1

 

 

 

  

 

 

 
 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

PWSE¥ M§§§§£§S@¥§§$§ii§##§§§§§§';.
1096558- 01 os/oa/os
"‘;. 5. :' )_J_,:_',._,_.s.¢ . . .. .-
sTARTING 0cT12005 THERE wILL'
BE$lo P/IWFU'EL SUR mae
200 200 * ssszo LF 113.0000 1436.00
6" MBTAL BAcKING-zo GAUGE
cooEExFLmA'rloN-_-+ *M- THIS 1_'5 form INVQICE *~:* SUBTM'AL l .__1113_5_-__00
. ”*n“xm ,. ¢`¢.,,....\` ,\ _,. .. ,.`...»_. ..... _. Mm"j_§ '_3_-.~_., :.-..-,l-_,iB-'¢°
l no.mraxm.mm ' ' ' ,
+-mfilm.|.'|'ll.lm_ q _ h vi
n@¢nr§nmé=__f=ij 3.3-¢~
_FEDJOTI_'|ERT_AX _ n _|
SUH§YML »: 3§'&§3£3§
FAvi»émT Q,pp
»3§153#§ xHr{d&n
1,539.34

 

 

 

 

 

RCR000000173

1330 S.W. 13d GUURTI P¢JMPANO BEACH, FLGH|DA 330“
PHQNE lBS¢) 131-ml 9 FAX lIW 942-4000
REMI`I' TQ:
1¢” SW 13th CT, P°M'ANG BEACH. H. am

AGCOUNUNG AND REEASEMDUIH!H
Phonl: l954l 731-2399 l FIX: (954I l42-4641

     

168000 7 1095544-01

au.L sHlF
TO= szcrsrcm DRWALL. mc 44 TD= v:z.:.n LAGo
601 N concuss mm s'rs 501 IJNIT~A
man ncic Fc. 33445 wyman man ).='L

 

 

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' 10_95544- 0-1 7

 
   

 

 

 

 

 
 
  

 

 

  
 

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7 srm'r:m ocr 1 2005 mm szL
as 510 P/Iuv ms memo
16 15 * mva LF 0.1300 14.55
1 x 2 x 1 P'r sam ames
10 10 * orsz LF 0.1300 10.40
x 2 x s PT scm 2003
2 2 * wsP'r LF 0.5000 8.00
1x5x51»stme002
6 5 * w42'r mr 0.3500 1s.ao
1 x 4 x a P'r sam 5000 _
22 22 w vusz mr 0.3300 50.80
2 x 2 x 7 P'.r
38 3a * wzzwr LF 0.3300 100.32
2 x 2 x s P'r
14 14 * w24ap-r 1.1=' 0.6400 11.55
2 x 4 x s PT
4 4 * w241op'r LF 0.5400 25.50
2 x 4 x 10 132
14 14 * w24ac _ LF 0.5700 53.04
2 x 4 x a cous'rzuc'r:on
200 200 * 515 s- 10 mr 255.0000 596.00
a" s'run 10'
UGE
50 50 * 515 '.r 1.1= 205.0000 142.50
1 5 s" max
25 uGE
200 200 * sasss-s 1.1' 395.0000 712.50
3 s a" am 3'
25 15
¢ODEEXFLANA'|'|m|---_§
'-l'|‘ATlTAI-lml.£
l- mTIIDT-\¥ A¥mlll£
+-ITI»'|’!INIM.'|'A!*FH..

 

 

 

RCRODOOOO`!'IE

1660 B.W. 1361 GOURT¢ FC|MFAN° REACH, ml IIB
FHONE |954] 1I1-2m¢ FAX IBEH mm
ENIT TD:
16608’#13!}\ ¢'T. FMAHC BEACH. FL wu

AGCOUND`NG AND RE.£ASE MIDWNES
Fho\'ll¢ IGSM 781~23380F1Kr {954) 942-\4541

      

153°°° 1095544-01

511 sam
TO= PchzszoN DR¥wALL INc ++ T°= vILLA 1100

501 N coucnsss sz 523 501 uNIT-A

nsLnAY sca 21 33445 ncymmon aaacn FL

 

       

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385.0000
644.0000 173.85

627.0000 25.08

23 20 * sanzo LF 710.0000 201.04
al

 

 

 

 

 

 

 

 

 

 

¢QDEExPLA|IAhoN-_-_+ iii THI5 15 YOUR lmra *** _IJBT_G'_|'AL
'-l‘ra'nw¢mr.l " ' " MM-b|'lm

bler Mml¢l
:»~ITI'I'E l IBILTII lH\.

 

 

@m§p ue M';£M%-
Ll1=511.1'01':-15»=\'rJI\_mc _ w _` W_
SW“B***‘ i"£§%?§l?§§i
PA¥HENY 0.00
whmmmudurmmx
2,465.51

 

 

 

 

RCR000000174

 

1680 E.W. 1361 BBURT n FDMFANB EEAC‘H» FLOR|DA 330“
FHUF|E 19541 1l'1-leI° FAX Il54l mw

I\EMIT TQ:

1¢60 IW 13th UT. FQMIAN° BEA¢H¢ H'~. 330.9

ACGCUNTING AND REF.B¢SE MWNES
Fhona: I9541 181~2389 ¢Fm 1954] 842~4|41

 

 

 

 

 

  

 

 

 

 

 

 

 

  

 

 

 
  
 
 

 

 

 

 

 

 
   
  

 

 

 

T°= Pnsczsron DRYWALL 1Nc ++ TO vILLA 1100
601 N coNGRBss sz srs 501 uNIT-B
DELRAY BcH FL 33445 Bo¥uToN BEAcH FL
‘v\_-‘ ‘ *'*-. "':\_v--v,.'~'./.. .
1096546-01 06/0&/06
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E- ! 1- )v_-_ -s :-¢-
.` x
- \.`,.'.', -uv‘", .p` , --”). ..¢¢`~» ,.. -
sTARTINc ocT 1 2005 THERE erL
as 510 P/:uv FUEL sURcHARGE
12 12 w21PT LF 0.1300 10.92
1 x 2 x 1 PT sQUARB EDGE
6 s wsz LF 0.1300 6.24
1 x 2 x a PT sQUARB EDGE
3 3 w4PT LF 0.3500 8.40
1 x 4 x s PT sounnz moss
1 1 wsPT LF 0.5000 4.00
1 x s x a PT sQuARE EDGE
22 22 wz:vPT Lr 0.3300 50.80
2 x 2 x 7 PT
41 41 wzzapr LF 0.3300 103.24
2 x 2 x a PT
9 5 wzsaPT LF 0.6400 46.08
2 x 4 x a PT
3 3 w2410PT LF 0.6400 19.20
x 4 x 10 PT
14 14 w24sc LF 0.5700 63.84
2 x 4 x a coNsTnUcTIoN
95 ss 5150 Lr 295.0000 233.10
2515/8"“; STUD 10'
4° 40 515 T LF zas.oooo 114.00
1 5 B" TR.ACK
25 DGE
180 180 sasas-s LF 356.0000 641.52
3 Ség" STUD 9'
25 uGE
cooE!m.mmoN--__+ S_l-|§_T_¢JTAL

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o.mm n munz NH.

 

 

 

 

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P.RV'MEJT

  

 

RCR000000177

1880 S.W. 13th ¢°URTI FOMPANO BEI.GH. FLGFIIDA 330||
FHU|E ISMI 7814359| FAX [954| 942¢-4350
REMIT TU:
1600 BW ISHl CT. FDMPANO lEAGH. FL ms

ACEOUN'DNG AND RH.MSE INUWN'ES
Fh¢l'\¢: [954I 751-2398 IFI!\:.' (OEH 542-4541

     

     

sum
TO= PR:cIs:oN DRYWALL rsc ++ T°= vILLn LAGo
601 N coucnsss mm sra 501 cmr-s
nanA¥ sen FL 33445 Bo!uwon anncu FL

 

  
 
   

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1936545- -01
~..-.»-»- .-h¢ -» .-

  

  

 

 

 

 

 

 

 

¢. x lr, .., ',, ,
335.0000 50.85

20 20 * E§SEB 5 LF 644.0000 115.92
25 GAUGE

3 3 * SET LF 527.0000 18.81
G' TRACK
25 GAUGE

14 14 * SGB2O LF 718.0000 100,52

6" METAL BACKING-ZO GLUEE

 

 

 

 

 

 

 

 

 

 

 

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;:nos‘l'»\x::.nnl.i _:-.- #" "_v~~z * ‘ “-‘ . M_M‘W ~ _ .

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F_EoJoTHEn TAx '_ “ v __ _ `
_B'!Afn_i` "m¢;.' -;_;= . 193 ‘;`3;§_
PAWEN'\' g , go
§»»`.S'{ W.'mm

1,191.15

RCR000000176

1860 B.'N. 1311| mm IFQMPAN° IEABH¢ FLC|HID:\ wis
FHONE lim 781-2899° FAX law 94243¢0
IBlllT To:
1080 SW13\|\ ¢T. P°IIA||G lEAGH. H. m

ACDDUNITNBAND REL£ASEWGMHES
Phons: l954~) 781-2389 oF-x: 19641 842-4641

     

168000 1096650-01
anL sHm
T°= PREC:s:oN DRYWALL :Nc ++ T°= v:LLA 1110

601 1 consnzss 111 sTE 501 UN:T-c

DELRAY 3c1 FL 33445 BoYNToN BEACH FL

 

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-1 M»= ,¢Ww. \: M».\.`.
06/09/06

- g.»» .' -v- w-

 

 

 

 

 

 

 

 

-\-.H»._

sTARTING 0c1 1 2005 11111 1111
53 $109/11v FuELs McHARG

24 24 * uzvpr LF 0.1300 21.33
1 x 2 x 7 PT sQUARE assn
22 22 * szT LF 0.1300 22.ss
x 2 z s 91 squann sues
2 2 w 1491 LF 0.3500 s.so
1 x 4 x 0 PT BQEARE EDGE
2 2 * wsPT Lr 0.5000 s.oo
1 x s x 0 PT soumns EDGB
80 50 * wzszT LF 0.3300 104.14
2 x 2 x 1 91
92 92 * wzzaPT Lr 0.3300 242.00
2 z 2 x a PT
22 22 * 124apT LF 0.6400 112.64
2 x 4 x a PT
6 s * 1241021 Lr 0.6400 33.40
2 x 4 x 10 PT
32 32 * wz4sc LF 0.5100 145.92
2 x 4 x a ccnsrnucr:on
210 210 *s1sss-1LF 293.0000 625.80
1 s/s” sTuD 10'
25 QuGE
36 36 * 515 1 LF 255.0000 102.60
1 szg' TaAcx
s E
300 300 * 535 s-s Lr 396.0000 1069.20

3 5 B" STUD S'
25 E

 

 

 

 

 

 

 

 

 

GGDE BH.ANA'H°N _J

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RCR000000158

1660 B.W. 13\|l GGUB‘I" POIIH\NC IEACH, FL°BDA wis
PHDNE |'95¢| 78143|9°!‘“ 1950 IH~HIU
REMITT°S
1|NEW 1311 CT¢FWANO lilme

AC‘GGUNTME AN'D RELEASE MKJWNES
Fh°n¢: IBE'|-} 731-2399 l Fl!= 1954-1 842-4841

      

160000
BlLL san
TG= PRECISIQN DRYWALL nrc ++ TO= mm mac
601 N comsnsss mrs s'ra 501 um'r-c
asmar 301 FL 33445 names max rz.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

34 n 34 * s3ss1' ' w 11j 305.0000
3 5 a" TRAcx
25
00 00 * sss-s LF 644.0000 4sa.ss
6" s'rnn 9'
25 amos
3 8 * 561 ' 11 621.0000 50.16
s" max
25 GAUGE
20 20 ~ 56320 :.F 113.0000 201.04
s'l mm menna-20 ames
p©§`»':§®
=°WWA“°"--J *** 1113 15 1001 :_cuvorgs *“ ..°.'-.'ETP'{§'- .. 3.‘1?§'. 27
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RCRDUOOO(H 67

1600 S.W. 1”1 GGURTI mANG BEA¢‘H, FLDRIDA 380¢9
PHDI'|E {BNI 181-2389 FAX lllI-l 942-4390
REMIT T°x
1615 S'W 1311 G'T. P°|”ANU IEM‘»H, FL m

Aocoum:vs AMJ mass wawa
Phnn»: 10541 101-2309 o F.-¢= low 942-4041

   

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onL sum
T°= PREc:sIoN 0310111 100 ++ TO= vILLA nasa

601 N cnncn:ss 110 sra 501

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06/09/06

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

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STARTING Ocr 1 2005 mg WILL
EE $10 P/INV 'FUEL BUR
30 35 * WZ TPT LF 0.13°0 27.29
1 X 2 ll 7 PT SQUARE EDGE
30 30 * WZPT LF 0.1300 31~2°
1 X 2 x 8 P'l' SQUARE EDGE
12 12 * W4PT LF 0.3500 33.60
1 x § I 8 PT SQUARE mg
5 6 * W€PT LF °.5000 24.°°
1 x 6 X B PT gm EDGE
84 34 * WZZ'JP‘J.' LF 0.33OU 133.95
2 x 2 X 'l E'T
138 155 * W22 LF 0.3300 522»72
2 Xa 2 x 8 PT
51 51 * WZI BPT LF 0.6400 251.12
2 x 4 x B PT
12 12 * W2410PT LF 9.6400 76.50
2 x 1 x 10 PT
51 51 * Wz‘l 8c LF U.S'FUU 232.56
2 x 4 X 8 CQNSTRUCTION
360 360 * 515 S- 10 LF 298.°00° 1972-80
1 52§" STUD 10’ '
U'GE
129 129 * 815 T LF 285.0000 357.65
1 52:" TRACK
25
540 540 * 535 S'-'S LF 395.0°00 1924.55
3 5 B" ST'UD S’
25
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I-m'l'.\!.lm\l
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RGR0000001 10

1680 B.W. 1315\ CBURTE FOHI*A||O BEACH. FLQI|DA 530¢8
PHDNE |954| 181-laid F¢AX 1554| 943-4860
IEIIIT 'l‘¢l:
18|0 SW 131h Ul', PDMANQ lEA|'-I'l. FL ma

ACEOUNTTNI A.Ml HE!.EASE M'QUIHES
Fhun¢: \'1541 73|-23¢9* Fll¢.' 155-il 842-4841

»_ B.“F‘HHF,B*MLV co. 1

   

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158°°° 1056551- 01

 

snL sum
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001211 sca 11 33445 3010100 eahca FL

   

 

 
   
  

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LF 644.0000 521.64
LP 627.0000 94.05
36 36 * SGBZO LF 718.0000 258.45

6" M.'g‘l.'AL BACKING-ZC| GAUGE

 

 

 

 

 

 

 

 

 

commmou-_+ *** THIS IS !OUR INVDICE ***

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\l-m '|'Axm
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RCR000000159

  

man s.w. uch coun'r¢ romano BEA\=H. m ames
FHUNE ll“l 731-1309 l FAX 1954-ll MZAM
HEM|T Tl:l:
1500 sw mh m'. romano mem H. amos

AEC‘DUN'|TNG AND }E{£¢SEMU|'NH
Fl‘ml: lSEll»l 751»2399 ¢le: 1954 542-&641

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BlLL sl-uP
TO= mcIsIoN mm nrc ++ TO= v:L:A mac
601 m consnzss mm sTE 501
DELRAY scm 1'1. 33445 noch BEACH PL

 

  
 

  
 

-MW Mr§

 

 

 

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STARTING DCT 1 2005 THERE WILL
BE$lO P/INV FUEL SU'RCI'IARGE

NOTB
REF 1095762,759, 741, 743 ,

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1880 S.W. 13th GGURTO FOMFANU §EA|.}H. FLC|HIDA m3
FHQN! law 731-2398°£\¥ m 942-1380
REN|IT TO:
1880 BW "lBtil cT. FOWANO BEAGH. H. EWBB

ACCDUNTIWG AM`! N£¢SEMMES
Fh¢lhn: 1954| 781-2399 lisz 1354-1 842-4641

      

155000 1096371- 01
slu.
TO= mc:s:on mm mc ++ T°=
601 m cousn:ss mrs srs 501
13an am Fz. 33445

SI'||F

VILLA LAGO

BO‘YNTON BEACH FL

 
 
   
 
 
 

 

 
 
 
  
   
 
  

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STOCK.T.NG CHARGB_

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STARTING ocr 1 2005 m WILL

BE $10 P/IW FUELS URU'DLRGE

 

 

 

 

 

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R.'EF 1096076
5 PK.GS

EA 25.0000 125.00

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18” l.W. 1301 GDUHTI FOMFANU IEA¢H, FL°R]DA ml

\ BANNEB sup n mens com m-:.su o r-Ax low mm
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ACGOUNWNG AND HH'.E‘SE 17me
Fh°l'\i: 1954-l 781-2399 0 le: 1954} 942-4641

   

 

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- -` . c WM*H»
153000 2036250-01
BlLL sHlP
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su1 N comnas m s-m: 501
nunn aaa Fr. 334-15 soch amch FL

 

 
 

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203 6250 -01

 

 

 

 

   

 

 

 

 

 

 
 

annum ocr 1 2005 mm wz1.1.
as $10 P/:Nv FUEL manage

200 200 * 51588-1 LF 298.0000 596.00
l 5£§” STUD 10'
25 UGE
200 200 * S1LF 285.0000 570.00
15/8"GI TRACK
ZBGA
100 100 * S LF 718.0000 718.00

6320
6” M'ETAL BACKING-ZO GAUGE

`DOVT_EID

 

 

 

 

 

 

 

 

 

 

 

 

 

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+. l'ra\‘rlummu.r¢xm

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1m !.W. 1381 GG.|RT¢ FOM|'ANO wm Fl.OR|DA m
FHDN! ll$‘l 181-23“¢FAK {954| “2¢4350
HEMI'|’TG:

‘IIIU lW 1391 CT» F°WANO 'BEA¢H. FL ml

AC€OUNT!NE A.ND RE.EASEWQMHES
Fhonl: (9541 781‘239¢0&1:: {9§4! HZ-4541

      

151°°° 2036240-01

sch sum
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601 n consnsss mrs srs 501

lamar scs Fc. 33415 nom-ron amca Fc.

 

  

  
 

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sunrise ocr1 7 2005 ricans w:cLL
ss 510 P/mv sum sunn-mses

250 260 * SF 450.0000 5516.01

§&8mXP1FIR.ECODE 12'
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~ TQTAL m DUB
5¢591.05

RCROUOOBOOTT

 

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1lW S.W. 13\h DDURT l PU\I'ANQ BE|\EH, FL¢II|DA m
FHDNE lBEil»l 131-2399¢ FAX 19541 m
REM|T TC\:
1650 SW 1311 GT. PD'IIAND IE\GH, H. 3m

AC¢DUNT.|'NG AN'B m£ASE I'NQUIHES
thnl: IUSH 751-2399 OFAX: l954} 942-4841

 
     

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1095'9‘68- -01

 

 

    
  
 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

BRL sHm
TO= Pnsczsrom DRYNALL :Nc ++ TO= vTLLA Lnso
501 N coNGREss 112 512 501 uNITs-1&4
nsLnLy aca FL 33445 MDDEL o
mnwmmammx FL
ii v
1096960 01 06/14 4§0 s
_`511111§0 ocT 1 2005 THERE wiLL 7 '"
mslo P/Inv FUBL sUncHARGE
1 1 * mores . 21 0.0001 0.00
ann FLoon
20 20 * wz':PT LF 0.1300 13.1.9
1 x 2 x 7 PT sQuARE EDGE
20 20 * w2PT LF 0.1300 20.00
1 x 2 x 5 PT squnns 2002
8 B * w4PT LF 0.3500 22.40
1 x 4 x s PT sounnz 2002
4 4 * wsPT 12 0.5000 16.00
1 x s x 0 PT sounnz EDGE
56 55 * wzzvpm LF 0.3300 129.32
2 x 2 x 7 PT
132 132 * wzzsvm LF 0.3300 340.40
2 x 2 x a PT
34 34 * w24BPT 15 0.5400 114.00
2 x 4 x a PT
B s * w241apT Lr 0.6400 51.20
2 x 4 x 10 51 -
34 34 * w24ac Lr 0.5700 155.04
2 x 4 x a coNsTRUcTIoN
260 260 * 315 s-10 Lr 250.0000 114.00
1 52§' sTuo 10'
25 usa
86 ss * 15 T LF 285.0000 245.10
1 52§¢ Tnncx
25 usa
350 360 * sss s-s LF 355.0000 1203.04
5 sza- sTun 9'
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cons newman _-+ _-- . ,k...
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BILL
TO:

PR.ECISION DRYWALL INC ++
601 N' CONGRESS AVE STE 501
DBLRAY BC[-I FL 33445

 

1860 B.W. 132|| UQUHT l FWPAN° BEAQ-l. H.ORIDA SNCQ
F'HONE IEE‘|-l 751-2380th liu-l m
REM|T TO.'
1660 5W13¢h ET, PCIHA||O BEASH. H. ma

AGC°UNUNG ANB HEI.EASE WQU{FII'ES
Fham»: 1954} 781-2399 lFIx: [BEH 942-4641

 
   

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109€968- 01
`VILLA LAGO
'UNITE'-l&§
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06/14/06

 

   

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

   

 

 

 

 

 

sss. noon ' izo. so
60 LF 544.0000 341.16
10 LF 627.0000 62.10
TRACK
zsemma
28 28 * SGB20 LF 718.0000 201.04
G" M.'ETAL BACKING-ZO GAUGE
¢'='=¢¢Mm~-_* "* ms rs YQUR_ rmro_:_cr; *** ';';'.',‘1°"*'-. r _,, 3 ”° 85
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.. 9-°°
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RCR000000186

1600 S.W. laid GOUET¢ FGMFAI|Q lEAGL H.¢-'|RIJA IIBGI
FHUNE [9541 711-2359° FAX 1554} 942»-43¢0
HE\I|T T°:
15” BW13¢I!¢T. PDIIANO BEIBH.H. 330”

JIL'COUNTTNG AND RH.HSE WGLUWES
Fh¢nl: [!64} 781-23|! ll F\¢: 1954-l 942-454|

   

10959’70-01

 

sHW
TO= Pnscrsrow DRYNALL run ++ TO= v:LLA 1190
601 N consnsss 113 srs 501 nNITs 21125
DELRAY ace FL 33415 MnnsLs-A

BO‘Y`NTON BEACH FL

 

    
 

 

  
 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

1096970- 01 _ 05/14/06 05/15/06
. 1....¢_._ . ___W\_
STAR11NG ocT 1 2005 THERE w11L
ms1np/1Nv FUEL suncanass
1 1 * morms 11 0.0001 0.00
310 FLooR
16 16 * wszT LF 0.1300 14.56
1 x 2 x 7 PT sounzs soon
10 10 * szT Lr 0.1300 10.40
1 x 2 x 0 21 squnns sues
6 6 * mPT LF 0.3500 16.80
1 x 4 x s PT seaman ones
2 2 * WGPT Lr 0.5000 s.0o
1 x 5 x s PT squans sues
22 22 * w227PT LF 0.3300 50.80
2 x 2 x 7 PT
38 30 * wzzaPT LF 0.3300 100.32
2 x 2 x 5 PT
14 14 * w24aPT LF 0-5400 11.50
2 x 4 J[ 8 PT
4 4 * w2410PT - LF 0.5400 25.€0
2 x 4 x 10 21
14 14 * nz¢ac LF 0.5100 63.04
2 x 4 x s coNsTRucTIQN
200 200 * s1ses - 10 Lr 295.0000 595.00
hsén~ swan 10'
50 50 * 51 LF 255.0000 112.50
1 sz§" TRAcK
25 001
200 200 * 53 s_s LF 355.0000 112.80
3 szg" sTUD 9'
2 001
CUDEMT\°N‘-'_J
hirng
wm M\m\-E
+- lTI'l'\lmTAXA-"L

 

 

 

 

RCR000000185

1660 S.W. 13th GQURTI PUMPANO EAG|. FL°RIDA 330€|
PHO|{E IIW "143950 FAX IIEI] “24360
IEM|T TOi
16m EW ‘|Glh D'T. PUM,AN° IEAGH, FL 33069

AL`GCUNTTNE AND HE.£ASEMQMH|E&
Ph¢m¢: I954) 731-2399 ¢le: ¢954] 9424641

      

163°°° 1055570- 01

511 sHm

TO= seaczszom DRYWALL 1Nc ++ T°= v1LL1 Lago
601 N conunzss 111 srs 501 umzms 21120
ozLRAY sex FL 33445 monELs-A

BOYNTON BEACH FL

 

   

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105;0000

30 30 * SSS-S LF 644.0000 173.88
G" STUD 9’
25 GAUGE

4 4 * SGT LP' 627.0000 25.08
6" TRACK
25 GAUGB

28 28 * SEBZG LF 718.0000 201.04

5" METAL Bh.CKING-ZO GAUGE

 

 

 

 

 

 

 

 

 

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1000 B.W. 1391 ¢GURTI FMAN° IE.AGH. FLBR|DA md
FH°NE l’$‘-l 18143¢9¢ FAX. [954!_ 542-1380

 

PRECISION DR'¥WRLL INC ++
601 N CONGR.'ESS AVE STE 501

REMIT TD:

1560 BW 13th ET, POI'ANU IEI.DH, H.. mn

AGGGUNWNU AND mMMH
Phnl\a: l954l 781-2389 \Flz: 1!54] 942-4841

UNIT 3 mDEL-B

 

 

1096572-01

 

 

 

06/14/06
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sTART:mu ocT 1 2005 THERE wILL
as 510 P/Inv FUEL sURcHARGE
1 1 * mowzs EA 0.0001 o.oo
znn FLooR
12 12 1 wzva 15 0.1300 10.52
1 x 2 x 7 92 sQuAnE shea
6 5 * wzpr LF 0.1300 6.24
1 x 2 x s PT sQuARE EDGE
3 3 * mrs LF 0.3500 8.40
1 x 4 x a 52 sQuARE sues
1 1 * wsPT LF 0.5000 4.00
1 x s x a PT soumxz goss
22 22 * wzzvpr LF 0.3300 so.ao
2 x 2 x 7 52
41 41 * wzzsPT LF 0.3300 105.24
2 x 2 x 5 PT
9 9 * w24sPT Lr 0.6400 46.05
2 x 4 x 5 PT
3 3 * w24loPT LF 0.6400 19.2o
2 x 4 x 10 PT
14 14 * w24ac LF 0.5700 53.84
2 x 4 x s comsrnucrrom
55 95 - 515 5-10 LF 295.0000 253.10
1 5 s" sTUo 10'
25 usa
40 40 * 515 T LF 255.0000 114.00
1 5;A" TRAcx
25 nos
150 180 * 535 s-s Lr 395.0000 641.52
3 5 n swan 9'
25 usa
E°DEEXFLANAT|DN'_-+
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RCR000000183

16|0 S.W, 13th ¢DUI|TO FDMPANO BEA¢H. FL°R|DA 3m
PHONE law 731~239|| FAX l954l' m
REMIT To:
'|m SW 1301 G'T. FG\IIAND IEAUH, FL mel

ACCBUN??NG AND REL£ASE INGUIH'ES
thrl!= (9541 751-2399 GFII.' l954l 842-4641

      

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165000 10959')2- 01
BlLL sum
TO= szc:s:om nRYw.ALL mc ++ TD= wm nasa

501 w coNGREss mm srs 501 umw 3 mom.-a
mmr 525 51 311-145 soch mcs-1 FL

 

  
 
  

 
   

 

 

 

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F'~s:; ... ...¢» ». .\.» ~.""T> 5..' .-. '~.
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21 21 * S '1‘ LF 385. 0000 80.85
3 5/8" mCK
25 UG
20 20 * 565-9 LF 644.0006 115.$2
G" STUD S'
25 GAUGE
3 3 * BET LF 627.0000 18.81
6" TRACK.
25 GAUGE
14 14 * SGBZD LF 715.0000 100.52

 

 

 

 

 

 

 

 

 

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RCR000000182

‘lm B.W. 1301 ¢OURT l FUWANC IEIUH, FL°HDA mm
FHDNE lBS$l 7!1-2!!8¢¢ EAX lli¢l 942-lain
HEMIT T°:
1180 SW 1311 U'l'. POHFANO IEAGH. FL mn

ACCDU'MFNG AMD I'ELEAEEMPDU!H‘EB
Fhonl: 6954) 781-23!8 0le: I954} 942-4541

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160000 1055975- 01
snL sHm
T°= pasc:srou DRYNALL INc ++ T°= vILLA 1100

601 m comsnzss 125 515 501 umzrs-zazs

DELRAY scH FL 33445 MooEL c

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'51221100 cci 1 2005 THERE wILL
BE $10?/1Nv FUEL SURCHARGB
1 1 * NoTEs EA 0.0001 0.00
320 FLooR
24 24 * wszT LF 0.1300 21.53
1 x 2 x 1 PT squARE EDGE
22 22 * w2PT LF 0.1300 22.00
1 x 2 x a PT souARE EDGR
2 2 * w4PT LF 0.3500 5.50
1 x 4 x a PT sQuARB EDGE .
2 2 * wGPT LF 0.5000 s.oo
1 X 6 X B .PT EQUAR.E EDGE
80 00 * wzzvpr 12 0.3300 104.14
2 x 2 x 1 PT
92 92 * wzzsPT LF 0.3300 242.55
2 x 2 x a PT
22 22 * w24sPT LF 0.6400 112.54
2 x 4 x s 52
6 6 * w24102T . 22 0.6400 35.40
2 x 4 x 10 PT
32 32 * w24ac LF 0.5700 145.52
2 x 4 x a ansTRUcTION
210 210 * 51505-10 LF 258.0000 525.00
1 5 5* sTun 10'
25 2
36 35 * 51552 LF 205.0000 102.60
1 5/0" TnAcK
25 GAUGE
300 300 * 535 s-s LF 30€.0000 1065.20
3 52§~ sTuD 5'
25 csa
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l-m'f»\!m|.l
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RGR000000181

1660 S.W. 13d\ Gnl.lll'l'b FUMPANE BE!BH, FLCRIDA 333“
FHDNE lSEl»i 781-laid FAX [954| m-¢SID
BEM‘|T T°:
1600 SW 1301 CT. PMANC BEAEH, FL 3m

AGCOUM'!NG' AND RELEASE .|'NQMHES
Phon¢: 1954! 781-2398 0 le: {964} 942-4541

     

155°°° 1095915-01

BlLL _ sHlP

T0= mcrs:l:on mmm.r. nrc ++ T°= v:LLA usc
601 N coucmass mm 515 501 mrs-zs.zs
umw am FL 33445 nom c

 

    
  

  

   
 

 

 

 

 

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50 80 * LF 544 . DOOO 463 . SB
3 8 * LF 527.0000 50.1€
23 28 * SGBZD LF 118.0000 201.04

6“ METAL BACKING-ZO GAUGE

 

 

 

 

 

 

 

 

 

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1||0 S.W. 13th GDUHT ¢ PUMPANO BEAC|‘L FL°BIDI\ BBMI
FHONE 19544 731-2380¢ FM ISW m
HEMIT T°:
1860$\~ 13th |=T. PQM'ANG BEA¢H. FL 3306!

A£.'CUUNTWG )|MJ REL&|SE IBUMES
thno: [954-1 791-2399 °le: IBE*|-l 042-4641

\ W‘NEB Sumv co.

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sol m comGnEss nwa sra 501
DELRAY aca FL 33445 soymmom szAcH FL

 

 

 

 

 

 

 

 

 

smnRT:mG ocT 1 jobs ranks wILL
BE sla P/INv run sURCrmF.GE

 
 

200 200 * S].SST LF 235.0000 570.00
1 S/B" TRACK
25 GAUGE

100 100 * 5358'1' LF 385.0000 385.00
3 5/8" TR.ACK
25 GAUGE

 

 

 

 

 

 

 

 

 

  

 

 

 

 

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im S.W\ 13th DGURT¢ FOMPAND IEM:H. H.CINDA 33009
FHUNE lli'l»] 151-lull FAX IIEN 04243¢3
REMH' `l'°r
1860 S\I 13th GT, FDM,AND lEABH. FLSSDN

AGCCWWNG AND RELHSFMWNES
Fl\m'\\: 1854} 781-2399 ¢le: 1954] 842-4¢41

 

         

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PHDNE ll64l 'Il‘l-ISBBB FAX llll] mm
REMlT TO:
1686 8\’(1*|: UT. PDII,ANU IEAGH. FL 330”

ACCUUNTTNG AND IE’LEASE FNQ¢'.#HES
Phon¢: €9543 781-2395 B Fd': lls$l 842-4841

"\ EMA.N,£,E§‘MPLY co.

     

   

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TO= PR:c:sIoN DRYNALL :Nc ++ T°= vILLA Lago
601 N consnzss sz 515 501 saco-2
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STARTING D,CT l 2005-.THZERE WILL
BE $10 P/INV FU'EL SURCHARGE

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3R.D FLOOR.
IN THE CENTER
100 100 * W24 410PT LF 0.6400 640.00

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TO= PRECISION DMWALL mc ++

601 N CONGR.ESS AVE STE 501

DELRAY BCH FL 33445

 

 

 
 

 

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STARTING OC’T:l
BE $10 P/IN'V FU'ELS

NOTES
3 RD FLOOR

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JUINT CQMPOUN'D U.S.G.
5 GAL PAL USG

NOTES
4TH FLOOR

DJCUSG
JOINT COM?OUND U.S.G.
5 GA.L PAL UBG

BD§O
DURABOND 90 STA-SMDOTH

 

 
  
  

1800 B.W. 13d ¢UU'HT¢PDMFANG lEM'£H. I.OI\'DA 33069
FHENE 1054-l 781-1390 FAX m m

REHII TG:

1000 S‘W 13th ¢T» FWA|IU BEABH, FI. mn

AC`COUNITNE AND RELEAS£'.|WGM‘HES
Fhoml: 1954-l 701-2399 0 F¢a¢: {05$) 5424641

 

 

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FHONE 1950 701-23999 FAX m 542-dan
HEMIT TO:
1III SW 13th \'21'. miami IE¢*GH¢H. BI.'|“

ACCOUM'TNG AN'.D HELEASE!NQWHB
Phuna: ¢554} 781-2389 OFIX: 19541 042-4041

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TO= mcrsron mm nrc ++ T°= wm LAGo

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DELRAY sen FL 33445 san noon

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1000 sw 1301 0'r. romano mann am

ACGDUNUNG AMJ HELEASE MU!HES
Phnn-: I954) 781-2339 IFIK: l954} 942-4641

      

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ss $10 P/nrv FUEL EUP.cr-IARGE

 

 

 

 

 

 

 

 

 

 

 

 

1 1 * ms 1510 0.0001 0.00
BLDG 1!415 noon
60 so * n axPFlz sF 450.0000 1296.00
5 B.xP F:REconB 12'
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1 1 * morse m 0.0001 0.00
BLnG 1/511-1 moon
60 60 * n anna ss 450.0000 1296.00
5 0 xP rIREconE 12'
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1 :L * ms 150 0.0001 0.00
BLDG 2/4111 noon
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"£85§§ FIREc'ons 12'
1 1 * No'rss EA 0.0001 0.00
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5 a xP Fnu:cooz 12'
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TO= Pmscrs:on nnYwALL INC ++

sol n coNGnEss ANE srs 501

DELRAY sca rL 33445

 

1000 S.W. 13th GBUHTl POMFANO BEAEH. H-CH.|DA mn
PHONE 19541 181-2398¢ F.\\X 1954| m
IEMlT TG:
1880 BW 1311 ET, P°MIANG BEAUH, FL 3$”

ACGOUMTNG AND RELE*SE MUIHI'E'S
ic¢\a: {954] 781“23!! 0 Fnl: (554) 542-4541

 

 

 

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50 50 * B632 LF 713.°000 359.00
5" minn BACKIN'G~ZB GAUGE
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18” S.W. 1”| CGURT¢ PGMPANO BEAQH. FI.OH!DA mn
PHBHE lll$] 1!1-2!$||¢ FAX {ll¢| m
HEMI'I' T°:
10|0 BW 13||\ GT, P°M,ANU lElG'i, FL w“

ACQGUNTFNGAM R£LEASEINDWH'ES
Fhml: BE¢|»| 781-2399 d le: IBMl 942-4641

             

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TO= marmon mm mc ++ T°= v:LLA LAGo

601 N mmREss Avs srs 501 arm 1

umw sca FL 33445 s'rH moon

 

  
 
 
  
 

  
  
  
  
 

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PRECISION DRYWALL INC ++
601 N QONGRESS AVE STE 501
FL 33445

DBLRA'Y BC'H

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SHIP

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BUILDJ:m-: 1
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Pl'lONE ISU|| 181-2300° FAX IDII| mw

BIM[I' TD:

1580 EW 1301 U`l', FOII,AN° m¢|'|, FL m
ACGOUNT!NG AND RH.E¢\SE MWNES

Fhonl: 1954»| 711-2300 °Fll: ll54] 043-4841

 
   

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\TOIN'I' COHPOUND
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SOUTH END
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JOINT CDHPOUN'D
GOLDBCN'D
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BlLL
TO:

P`EECISION DRYWALL IN`C ++
601 N CONGRESS AVE STE 501
DRLR.N[ BCH

FL 33445

   

T°= vrr.J..ALAao
EAST BUILDING
N.E. cnnmzn

1|00 S.W. 1311 m'rl FOIPANQ IEAUH, FL°HlD-\\ 330¢|
FHUNE IM TIl‘l-IBBIS FAX IM m

BEH|TTO:

1ll0 BW 13\|\ ¢'¢T. FGM'N\N° IEAGH. H. ma

ACCOUNTIM AND RELEASE INDMWES
l'|mna: lBE4I 781-2399 l le: ¢I“I 842-4541

 

 

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BOYNTQN BEAG! FL

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

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PHONE (954] 1l1-23999 FAX lls¢l ill-1380
MMT T°:
16|08“‘ 1311 C'l'. FQI»IAN° IEAEH. FL m

AGCDUN¥WG AND BR.£!SE MM‘H‘ES
Phon¢: [554] 751-2399 OFI$: 1954-l 942-4541

   

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1097424-01

 

BnL PnscIsIoN DqunLL INC ++ SHW vELLA nasa
TO= 601 N cumGREss sys srs 501 T°= nasr BUILDING
nzLRAY sca FL 33445 N.z. connzn or BLDG
smzrumn

BOYNTON BEACH FL

 

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Mr»- -.)$u-A. '"v£\“’ .»..

 

 

 

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STARTING OCT 1 2005 m '|lILL
BE $10 P/INV ¥UE\’.¢ BU'R.CEAR.GE

  

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48 48 * DJC CN 13.1000 525.80
JOINT CUMPDUND
GDLDBQN'D

 

 

 

 

 

 

 

 

 

 

 

 

 

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1800 S.\Y. 18th GQURT¢ FOMPAND BEAGH. H.OHIDA 330”
FHGNE lis‘} 731-va FAX ISW 942-ladd
HEMTTD=

16” SW 131|:¢'|', FMANB BEAEH, Fl. wl

ACCUUN?TNG AND HELEASEINQWHES
Phunl'. 1954-l 781-23890 ch (¥54]' 8424641

   

\l B,,A,"'J}',E,§‘Mw co. _l

         

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TO= PREc:s:oN mm nrc ++ TD= v:LLA LAGo
sol N coNGRBss ms srs 501 2 A rsst
nmu scc-1 n. 33445 4 m moon

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ST.ARTING lOCT.' 1 2005 THE'RE WILL
BE $10 P/INV F'l'.`|'EL SU'RCHARGE
1 1 * NOTES EA 0.0001 0.00
4TI'I FLOOR.
16 15 * WZTFT LF 0.1300 14.56
1 x 2 X 7 PT SQUIRE EDGE
10 10 * WZPT LF D.13OD 10.40
1 X 2 I 8 PT gm EDGE
5 6 * W4FT LF 0.3500 16.50
1 X 4 X 5 PT SQURRE EDG`E
2 2 * WSF'I.' LF 0.5000 B.OU
l I 6 X 3 PT SQURRE EDGE
22 22 * WZZ'IPT LF 0.3300 SD.BO
2 x 2 X 7 PT
33 38 * WZZBPT LF 0.3300 100.32
2 X 2 X 8 PT
14 14 * WZIEPT LF 0.€400 71.58
2 x 4 x 3 PT
4 4 * W2410PT L¥ 0.6400 25.60
2 x ‘I» X 10 FT
14 14 * W248C LF 0.5700 63.84
2 x 4 X. B CONSTRUCTION
200 200 * 515 S-lQ LF 298.0000 595.00
1 sk” ST'U'.D 10'
25 UGE
50 50 * S LF 285.0000 142.50
1 5 B“' mcf
25 UGE
200 200 * 535 s-s LF 356.0000 712.80
3 52§" STU'D 9'
E
coo£mnmou_-} ‘"' T°TA" _ _ _ .,_, ,_ _
*-I’fl‘l'l'l'»xnmmll.l ` ‘ '- ' " N|S£,€HM >’:p"-_-”.~ _:.‘".".‘~,`:i'~_‘ f
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FED._lp‘_n-IEBTAX

 

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RCR000000196

1850 B.W. 1311 GQURT l P°MPA||O EI.GH. FL°R|DA 33009
PH°NE [8541 781-2398° FAX lml 942-430
REM|T TD:
1680 EW 13th GT. FOM?I||° BEA|=H. H. wu

ACCOUNUNG AND HELMSE IMIUIHES'
Phonl: 1954-l 181-2398 0 le: 19541 942-4641

"\ BANNEB suPPLv co

   
        

          

lssooo 1091550- 01
BlLL sHlP
TO= PRECISIQN nam:. :Nc ++ TO= wm mac

601 N coNGuss mm s'.r'z 5 2 A mr:'rs

maan sca FL 33445 4 TH FLooR

 

      

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1097550- -01

 

 

 

 

 

 

 

 

24 24 #' 's'sssi'"""“""' ' h n 7 LF `"335. noon d 92.45

3 5 B” TRACK
4 4 * 855-10 LF 644.0000 25.76
6" STUD 10'
25 GAUEB
23 28 * SSBZO LF 718.0000 201.04

6” METAL BACKING~ZU GAUGE

 

 

 

 

 

 

 

 

 

conEE:na.m.mon-___$‘ *** mrs 15 YOUR mrcg *** SUBTDTAL § 2{132.50

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T°= PnEc:sIoN nRYwALL INc ++ TO= v:LLA LAso
601 N anGREss sys 522 501 UNIT 5
nELRAY 502 FL 33445 425 21002

BEH|TTO:

1880 I.W. 18th coUHTO FQMPA||B BEACH¢ H..OH|DA m
PHQNE {9“\} 7¥1-239995\¥ m 542-laid
1lll S\N' 130|\ S‘l'. P°WANQ BEAEH, FL m

A€QUUNTIWG AMD m MWHES
Phunu: 1954-l 781-2399 0 FIx: 1950 942-4841

 

1097551- 01

BO'!NTON BELG-I FL

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

   
 

 

 

 

 

 

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sTARTING ocr 1 2005 THERE w:LL
35 $10 P/Iuv FUEL sm cHARsE
1 1 * NoTEs 52 0.0001 0.00
423 FLooR
12 12 * wzva LF 0.1300 10.92
1 x 2 x 1 22 sounn: sues
s 6 * szT LF 0.1300 s.24
1 x 2 x a PT sQuARE EDGB
3 3 4 w4pT LF 0.3500 0.40
1 x 4 x a PT sounxz sues
1 1 * wePT LF 0.5000 4.00
1 x s x a 22 seaman sues
22 22 * wzzvpm LF 0.2300 so.ao
2 x 2 x 7 22
41 41 * wzzspr ns 0.3300 102.24
2 x 2 x a PT
9 9 * w24aPT LF 0.5400 46.00
2 x 4 x 0 22
3 2 * w241022 Lr 0.5400 19.20
2 x 4 x 10 PT
14 14 * W24sc LF 0.5100 63.44
2 x 4 x a coNsTRucTIoN
95 95 * 5155 Lr 292.0000 232.10
sz:"m sTuD 10'
25
40 40 * 51552 LF 205.0000 114.00
1 5 al TRAcx
25 cause
100 150 * 535 s-g Lr 325.0000 541.52
3 s a" stun 9'
25
G°BEHXFLM"T|°"_-_J smT°TAL mg 4*,-: ,=-_ -vv 2.\¢- '.g.'h‘\;w'}
IESHSHERHLE M$&HWWM€¢M ' "¢ ~- ~“w
+-F\’l'lllm'l’¢\“m

 

 

 

 

RCR000000198

1630 S.W\ 13th GQURTO POMP.IN° BEAEH. H.oRl'DA 330$
H'lo||E [954} 151-2385 FIAX lli‘~l 542-43|0
mT TD:
1l80 BW 1Hl E\'. PU|IA||O BEAGH. FL 310¢!

AG¢:DUN'UNG AND RE.LEASE INDUIH'ES
Phonl: 1954-l 781-2399 ¢l Fl!: [954) 942-4541

     

\ hm£§‘$l!rm£lv co. _

     

§:*””°”“£HE&:
lssooo 1097551-01
mLL us
T°= PREc:sIoN DRYWALL :Nc ++ T°= v:LLA LAso
sol N coNGREss AM¥ st 501 uNIT 3
nELRAY Bcu FL 33445 4TH FLoon

BOYNTON BRACH FL

 

   
   

  
     
   

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3 5 a- TnAcx
E
20 20 * sss-9 LF 644.0000 115.92
s" sTun s'
25 cases
3 3 * ser LF 621.0000 1a.sl
sw TaAcx
25 cause
14 14 * ssszo Lr vla.oooo 100.52
s- szAL nncxING-zo shoes
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RCRUOOOOU`| 97

1600 S.W. 13th ¢OURT¢ PDMFA||° BEAGI. FLDB|'DA am
PHUNE I954l 781-im ll FAX llE¢| 942-w
REMIT TU€
1600 SW 1361 ¢"l'. P°MIA||U IEICI'I, FL m

ACCOUM¥NG AND HELE¢SF IWGI!IHES
Fhon¢: [954} 781-2389 0 le: (9541 “2-4541

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BlLL sHlP

TD= PRECISIoN mm J.'Nc ++ T°= v'cLLA mac
601 N comnxss mm 513 501 2-c mrs
nsLRAY ncr-1 FL 33445 413 noon

 

 

 

 
 
 
 
  

 

 

 

 

 

 

 
  

 

   

    

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sTARTING oc1'12005 THERE wILL
515 $10 P/mv FUEL su'RCL-IARGE
1 1 * rooms 13a 0.0001 0.00
411-1 noon
24 2,4 * 112va mr 0.1300 21.33
1 x 2 x 1 91 scm EDGE
22 22 * 11sz 112 0.1300 22.63
‘ 1_x 2 x a PT SQUARB am
2 2 * mm LF 0.3500 5.60
1 x 4 x 5 P':' scm mm
2 2 * wePT mr 0.5000 s.oo
1 _x 6 x a P'r sums EDGE
80 so * 152va 1.3 0.3300 134.74
- 2 x 2 x 1,1='1'
52 92 5 W226P1' LF o.asoo 242.36
2 x 2 x s 1='1
22 22 * wasn LF 0.6400 112.64
2 x 4 x a P'r
6 s * w24'.LoP1' LF 0.6400 35.40
2 x 4 x 10 er ~
32 32 * nunc r.F 0.5700 145.92
2 x 4 x s coNsTRUcTIDN
210 210 * 515 s- 10 LF 293.0000 625.30
a" STUD 10'
255 GAUG
36 36 * 515 1' 1.5 zas.oooo 102.50
1 szk" max
25 usa
300 300 * sssss-s LF 396.0000 1069.20
3 ség' S'l'un s'
25 m

 

 

 

 

 

 

 

 

 

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RCROOOOOO 201

1660 S.\N'. 1301 GOUHT¢ FOIKFANO BEICH. H.UH|'D¢\ m
H‘lONE IBH») 131~239!0 FAX 185-il mm
REHIT TD:
imm 1311| GT. PCMPANU BEAGH. H. 3m

Aocoum'm_ra Aun 55154.5'£ wau:n'r_-'s
Fh=m¢: row 791~239¢ o F¢x: law 942-4341

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anL sum
T°= smzczsrow nn¥wALL 100 ++ T°= vILLA 1100 (i;:*
601 N conunzss ANE 612 501 2-0 00115 /
n:LnAy ncH FL 31445 4TH FLD°R 2”35

BD¥NTON BEACH FL g}

 

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1091553- -01

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06/23/06

     

 

   

 

 

   

 

 

 

 

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BO 80 * S€S-B LF 644.0000 453.68
S“ STUD 9'
25 GAUGE

8 B * SGT LF 627.0000 50.16
6” TRACK
25 GAUGE

28 28 * SGBZU LF 718.0000 201.04
6” METAL BACKING-ZO GAUGE

 

 

 

 

 

 

 

 

 

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'RCRUODODOZUO

1360 S.W. 18th OOURTd PGMPANQ BEICH. FLOR|DA m
PHBNE IBH| 781-zale FAX lm] mo
REM|T T°:
1360 IW 1301 |'JT, FQHFANB mm FL mn

A\’.‘GGUNTTNB AM'.I RE.EASE .|MJWHES
Fhona: f954»l 781-2399 v an: ¢95&| 942-4641

        

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mLL saw
TO= rnzcrsron DRYWALL 120 ++ T°= vILLA LAGo

501 n concnsss 202 522 501 2-0 02120

021212 sca 21 33445 422 rnoon

 

       

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sTAnTING ocr 1 2005 THERE wILL
m$10 P/va FUEL suRcHARGE
1 1 * noTEs 22 0.0001_ 0.00
42H FLoon
20 20 * w2722 LF 0.1300 10.19
1 x 2 x 1 PT squmxz EDGE
20 20 * szT LF 0.1300 20.00
1 x 2 x a 22 sgunnn sues
8 a * w4PT LF 0.3500 22.40
1 x 4 x a 22 sQuARB EDG:
4 4 * wsPT LF 0.5000 15.00
1 x s x a 21 sQuARE EDGE
56 55 * w221PT LF 0.3300 129.32
2 x 2 x 1 pT
132 132 * wz:spT Lr 0.3300 340.40
2 x 2 x s 22
34 34 * w24022 LF 0.6400 114.00
2 x 4 x a 22
5 s * w241022 LF 0.6400 51.20
2 x 4 x 10 21
34 34 * w24ac LF 0.5100 155.04
2 x 4 x s consTnucT:oN '
260 260 * 315 s»10 LF 290.0000 114.00
1 5 01 sTUD 10'
25 shoes
85 ss * s LF 235.0000 245.10
1 s a" TRACK
2 2
160 360 * 335 s-s LF 395.0000 1203.04
3 sz§" sTon 9'
2
cone EXFLANAT!°N _---§
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-m'\'l-l.l' MMFLEII|.¢
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RCR000000194

1680 S.W. 13d\ GDUIH'I FNIPANC BEAGH, FLORIDA mls
FHWE 19541 731-23850 FAX ISB\" 942-43¢0
REM|T TO¢
‘lm lW 135| ET, FOMPANC| IEACH. Fl.m

A€£OUNUNG AND RELEASE MMWES'
Phr.\n¢: 19541 781-2889 0 le: [9544 MMM

 
 
  
 
  
 
  
   
 
   

 

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TO= mcls:oN DRYWM.L INc ++
sol N compass mrs srs 501
nunn sen FL 3344.5

 

 

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60 so * gas-s 9' LF 644.0000 341.'75
25 GAUG:
28 28 * ssszo :.F vla.oooo 201.»:)¢l
s- mem BAcKING-zo ames
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l l'm'!‘raxoluc:qu
I- 'm'rum
$~lTITE.mLTum
}‘ " 4,132. sa

 

RCR000000193

1350 S.W. 1a¢h CCUR`\°¢ FGMFAN° BEACH, mw ma
FHONE 1554-l 781-239|¢ FAX [lB||»I 542-mb
HEIIIT 101
1060 SW 13th U'l', PUIIANU BEAGH. FL mi

ACEDUN"ITNG AND R£L£¢\SE INQWNES
Ph€m¢: 1954-l 731-2399 ' le: 1554.| 942-464|

   

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TO; PRsc:cs:oN 10me nrc ++ TO= wm mac
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nsnm sen FL 33445 30ch ames sr:.

 

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m$10 P/Inv FUEL sunm man

1 1 * NoTEs 311 0.0001 0.00
REF 1035915,972,970,960
7 Psz

7 7 * DS 331 25.0°00 175.00
STOCKING--MATERIAL-IABOR

 

 

 

 

 

 

 

 

 

 

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RCR000000199

1560 S.W. 131-ii GOURTI PGMFANC BEAEH, H.DH|DA lion
PHQI|E {954| 781~285¢ FAX ISMI mm
H.Elll'l' TB:
1m BW 13b ¢T. FOMPANU lEl¢!H¢ H- an

ACEDUN'.|TNG AND HE\'.EISE !NUUIHES
Fhonc= lBE#] 781-235l °Fl!l! lBE|-l m'mi

  
  
  

 

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T°= PREcIs:oN nnYwALL INc ++
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sTAzT:nG cara 2005 THERE wILL'
55 $10 P/:Nv FuELs suncnanss

17 17 * EJL B.EODO 144.50
DURABOND 90 STA-SMO'H-I
.50 50 * SllZL LF 270.0000 135.00
1 1/2 X 1 1€2 ANGLEB 25 GA.
10' 90 DEG
3 3 * MTN BX 30.0000 SO.DU
TI.E WIR.E

25 LBS PER BOX

 

 

 

 

 

 

 

 

 

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1m I.W. 1301 ¢OUIT I' WANU m MMA 3m
FHB?£ l'.lllll ”14”9¥!1 m m

  
    

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TO= mc:s:ou mem mc ++ TO= wm mo
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, mm scs rr. seas warn mr sscrrcm kay

 

 

 
   

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. - ss $10 P/mv m moines
1 1 a mrs m 0.0001 0.00
513 r 1. 0 o 1
1 mu'z

 

 

 

 

 

 

 

 

 

 

 

 

70 70 * D 2212 SF 360.0000 1209.60
1 2" m DRmLL 12'
4 x 12
15 15 * D 2l|12 SF 460.0000 331.20
%22" lDISTUF.'l REBISTABT 12'
m 4 Z 12
1 1 * mr n 0.0001 0.00
I'H'I LO 0 l
2 C mrs
140 140 * D 2112 SF 350.0000 2419.20
izZ'H m m 12'
4 2 12
30 30 * D 21112 ¢!' 460.0000 662.40
122" IQIETURB RRSIST.MR‘ 12'
4 I 12
1 1 * ms EA 0-0001 0.00
1 mr B
i 70 70 * b 2R12 Sl' 360.0000 1209.50
: 1 2" R.EG'ULAR him 12'
li l I 12
' 13 13 * 0220112 sr 450.0000 201.04
1 2* IBISTURS RSSISTD'|T 12'
m 4 I 12
communmou_* *** ‘l.'_I-!IB IB Y°UR INWICE *** mma 5'1:'9'°4
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nsLnn¥ aaa FL 33445 sons # 2 )A\

 
  

 

 
  
 
 

   

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EIBRTI)‘|G
BE 310 P/II‘N' m mm
1 1 *' NDTES m 0.0001 0.00
4T1'l F ll 0 C| R
1 C UHIT
70 70 * D 2212 Sl' 360.0000 1209-50
1 2" fm mf- 12'
4 1 13
15 15 * D 2\!12 BF 460.0000 331.20
ll)zZ" FUIBTURE RBIBTJ\IIT 12'
m l 3 12
1 1 * mm n 0.0001 0.00
SRD I' L 0 0 l
2 WI TS C
110 140 * D 2112 Bl' 360.0000 2419.20
'12"11!€01¢!8 m 12'
30 30 * D 2H12 SP 450.0000 5€2.40
;Za" !QISTURI RESIM 12'
m 4 1 12
1 1 * m n 0.0001 0.00
1 mT B
70 10 * D}:.RJ.R SF 360.0000 1209-50
12" m mm 12'
13 13 * Dl!lll= SF 460.0000 20'|'.04
1 2" IDISTURI RHSISM 12"
L 4 X 12
mm,mq~__..__$‘ *** mfg 15 Ym lmra in l\.llT°Tl.L 6,119-04
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hmw-nmu ' 4 “
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ante 'rAx 397.74

 

 

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Bll..l.
TG:

  

PRECISIOH DRYNALL INC ++
601 ll DBNGRESS AVB BTR 501
DBLRAT BCH

 

l'l'-l 33445

BHIP

=VILLRLMQ

 

 

 

 

 

 

 

 

    

 

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PHUIEI¢“| 'Il‘l-m'ml“#lm
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1ml*1xl¢'r,mmmcll. H.Im

mm mm"
Phon¢: NBH TBt-RM¢FI\: 1950 MMMI

 
 
 
 
  
  

 

 

 

 

 

 

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33$1° F/INV mls SURm
1 1 ma n °.°°°1 0.00
sw z 11 0 o 2
1 C mT
10 70 :'}2112 sr 360 ¢oooo 12°’~ so
12" m mm 12'
ll 12
1 1 ms n 0.0001_ 0.00
ZND l 11 o 0 R
120 120 D}zl.lz sp 360 .oooo 2073 . 60
1 2' m mm 12"
4 x 12
ewammm---’ *** THIS IS YOUII. INVDICE *** nmu 3'“3'2°
--lrmm»m.l _ - - mWME _1°.°0
llmmm\l ' , .
ord*nlmmlmn
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move lll£l 101-unum link nunn

      

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m """"`"“'"""""""`"""`“`
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BlLL SHlF
T°= mc:srou mm 1010 ++ T°= wm 1100
601 10 moss Ava: 511 501 none # 2
5 nom sca rn 33005 norman mci rL

 

 

     

 

 

 

   
   
  
   

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an 510 rim mm summons

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AL`COUNTFNG AND HELHSE WQWR|ES
Fhonu: 1554] 781~2389 d le: (954} 942-4641

SUPPLY 60

 
 
     

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45 45 * D 21412 SF 450.°°°0 593¢6°
1 2” HUISTURB R.ESISTANT 12'
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9 s * nssts ss 945.0000 272.16
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1 1 ~ ms m 0.0001 0.00
2 A mm:s
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15 16 * 02 . sr 460.0000 353.20
1 2" newman mma-m 12'
mm 4 x 12
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10 70 * n 2112 sr 250.0000 1209.60
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mlTTTGl
1000 SW 1311 UT. NWAI|D lEAGI-l. FL ml

AGGOUM'!NG AMD FIELEASE MUIHE$
Fhonu: 19541 751-2389 0 le: [954| 842-4841

 
 

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n mm 4 x 12

1 1 * 110-ms 01 0.0001 0.00
1 mr o

13 13 1121012 sr 460.0000 207.04
1/2" 100'.115'1'011132 RBSISTANT 12'
nnmr.:. 4 101

1 1 * uo'r::s!_ 311 0.0001 0.00
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1 2" MOISTURB RESISTANT 12'
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1650 BW 13th UT. FOWA|I° BEACH. FL ma

ACCDUNTI'NG AND BELE¢SEMMHB
P‘\'l¢hl: 1954-l 711-2399 l le: 1354-l 942-4641

     

lsaooo . zoasssz- 01
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START ING OCT 1 2005 THERE WILL
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6" METAL BACKING-m) G.'A.UGE

125 125 * SZA LF 405.0000 506.25
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1 2" m nam 12'
4112
me-J **~ ms :s_ m mw:pcn *** '""°"'- "»°’°-“
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man sen n. 33445 norman mcs n ‘-€‘5

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

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1 1 ' * mm n 0.0001 °.00
norman
"c' mfg
12 12 * D fill SF 350.0000 207.36
1 2" m m 12'
. x 12
1 1 * ms m 0.0001 0.00
m ml »
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3 UNITB
210 210 * o 2112 sr 360.0°0° 3528.51
1 2' mm m 1='
ix 12
45 15 * Dzlllz ar 450.°°°'° 991 . 60
1 2” lIDISTUIE RIBIBWT 12'
m 4 1 12
1 1 * IUTES m 0.0001 0.00
ls'.l.' mg
"c. mims
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186 185 *' D}ZR].Z SF 350.0°00 3214.09
1 2" m nm 12’
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1600 B.W. 1311\ G°LHT¢ F°MPANU IEAEH, H.DRIDA 330¢8
PHC||IE 1950 181-23990 FAX 1950 m
H'Elll'l' T°i
1680 SW 13th ET. FUMIA|’|G BEAEH, FL m

AMDUNHNE AM'J RE££ASEM\WHE¥
Fhons: 1954-l 181-233 l an: IISH “24841

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153000 2035948-
BmL sum
T°= pascrsrou nnrwALL cmc ++ T°= v:LLA nasa
501 m concssss sys sms 501 ?27
DELRA! scs rs 33445 session ssAcH FL ,M\Y

325

 

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WMBFEEVE€WEQAQ.
05/29/05
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smmsmrns ocrx 2005 THsss w:LL
ss 510 P/:Nv FusL suscHAsss

240 240 * 515 r LF 255.0000 604.00
1 5 00 Tsncr
25 UGE
240 240 * sasar LF 305.0000 924.00
3 5/5' TRACK
25 GAUGE
50 50 * sss Ls 521.0000 313.50
s" TRAcs
25 cases

 

 

 

 

 

 

 

 

 

um€v¢uw*“°" *** TH:s rs soon :Nvo:cs *** “"'“WWL..

'- -¢ril'l'rggm§ ..»-v .::_ .`.»., .] .» ,,. 1 7 W.` .¢ ._.`.
wm Wml.! .

*'l'|'ll'!\mhl»\”\.

    

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nva Lq
'¢§snssh‘im$'nss
2,056.40

 

 

RCROOUOOOSOT

 

1350 I.W. 13dl cmr FCMPAND BEABH, H.GRIDA m
FI'|OI|E 1954} 781-2399° FAX 1354»\ 14243”

\ ““.""E"Svl'vwcv gm
‘ ~ . 18608"13\|\¢"|'.?0|"1\!|93£»\¢|'|.33$#9
A¢GDUNNNG AND HELEASE INDUINES

   

Ph¢m: {954] 731-2399 0 FI!: llBl| 942-utu

     

1097742- Dl

 

155000
leL san
TO= mclaren mm nrc ++ T°= wm Lmo
501 N coNGssss Avs s'rs 501 _ surmzm 2
asmar Bcu FL 33445 ;'D`;\@ T mass mm
U BOYNToN sum FL

   
  

 

 

 

 

 

 
  
 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

   

 

 

 

 

»§‘.‘MM¢&MHSS..§ 1%§ic .~`
05./27/05 13-, 01_= 00
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* ."'\- 'J'}.Fn f:-_ _-m\§¢l -
YWWW, .,,,,.h_., , .
annum ocr12005 mass wILL
ss 510 P/:Nv FUEL suac:mp.cs
11 1 * NOTES sa 0.0001
151 noon al
95 96 * nac cN 13.1000 125'1.50|(
Jo:NT coMPomm
50me
104 104 * BDSD ' sa 8.5000 054.00 '
munson 90 s'rA-smooT:-r .-

=°°=mm<="-_+ *** ms rs Yotm :m'zo:cs *** _€‘-FJ?T*'¢, m _ 3 141- 5°
;-¢r.\ri‘muml Ll mg _£$.l‘¢;.\. ;1 M@- MM ...'_-._-_-.~ i:: figured
o-lTM'l\m|.T-AXIHL

' m§m . ' ‘;°».'.`:'-::§ _1
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RCR000000311

EACH. H..CIRIDA mn
954} mm

!A¢H.FLH°II

:°.INGU|WES
lSA'-| 942-4541

 

 

   

 

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1300 S.\'l. 13b SBLIETl FO|¢|PANC| IEIQ'|. H.°RlDA 33068
FHC||E (554| 7|1-238|9 FAX lew 042-iud
REM|T TQ:
1660 SW 13th CT. FD|HAN¢! BEABH, FL 3m

AC€GUNT?NG AND HEL£ASEMUWHES
Fhone: CBEAH 781-2399 0 Fl!! {954) 942-4941

BAN
“"'"EHELEE££EEB;EEE

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1097001-01
sum
:Is:oN DRYWALL :Nc ++ T°= vILLA 1150
m coNGnESS 312 522 501 "A" uNrTs
111 BcH FL 33445 2 ox:Ts

BOYNTDN BEACJ'! FL

 

  
 
  

 
 

06 30/06 ;

 
   

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06/23/05 07- 52. 54__7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 713- 33 sranr cmc-ocr 1 2005 manns wILL
n$10 P/INv ruaLm mcannsz
* .0 1 0.00
2 uNITs
1a 1 wzva LF 0.1300 14.55
173-33 1 x 2 x 7 PT soumnz 2002
10 * wsz Lr 0.1100 10.40
25 ca 1 x 2 x 5 PT sounnz 2002
6 1 w¢PT 12 0.3500 16.00
1 x 4 x s PT 500222 2002
231-34 2 w user LF 0.5000 0.00
1 x 5 x a PT sounna 2002
22 * w221PT LF 0.3300 50.00
2 x 2 x 1 PT
38 * wzzepT Lv 0.2300 100.32
2 x 2 x 0 PT
14 * w24epr LF 0.5400 71.53
2 x 4 x s PT
4 * w241012 LF 0.6400 25.60
2 x 4 x 10 PT
14 * w2 420 LF 0.5100 53.04
2 x 1 x a couswnucTroN
200 * 511502- 10 dr 250.0000 595.00
1 5 sTun 10l
25 éanc:
50 * 515 2 Lr 255.0000 142.50
1 5 s" TRACK
25 2
.. . . 2'.?05'10 :uuiam.AuATroN_-_+
<.'-- . _-'10.90 1112-mma
m'l' lml
_' - -TlTlIlmL'l'I-KA|'H.
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mmpzanw'nu:
2.155.51

 

 

 

 

 

RCR000000319

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WW~"
:Lssooo
BlLL 5|.{":
T°= mcrsrou mman rNc ++ TO=

601 H CONGRESS AVE STE 501

DELRAY aca FL 33445 D\@@T D

 

1m I.W. 18th D°URT 0 WMO IEACH. FL°RIDA SNII
PHDNE IM TI‘l-ZS“¢ FAX ¢II¢II ill-dam
mlT 'I'Q:
1050 B'W' ‘|.Qll\ UT. mAND mall Fl.mll

ACCQUNTI'NG AMD RREASE FNQU!H'ES
Phunl: l!“l 181-2398 ble: 1950 942-454|

 

1057881-01

VILLA LAGO

"A" UNITS

2 UNITB

BOYNTON BEACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 
 
   

 

 

 

 

 

 

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PMW> .a,..€ .'
1097531- 01
. -' - M‘§'f#*
2
200 206 * S!SBS S-S L?- 396.00°0
35£'“1¢;3 ETUD 9'
25
24 24 * 5352‘1' LF 335.0000 92.40
3 5 B" TRRCK
25 E
30 39 * SGS-S LF 644.0000 173.88
6" STUD 3'
25 GAUGE
4 4 *' SET LF 627.00°0 25.°5
6" TRACK
25 GAU'GE
23 23 * SSBZO LF 718.0000 201.04
6" mm BACKING"ZG GAUGE
CoDEElUILANA'|'|uN-_-_} iii ms IB YoU'R INV°ICB iii BU¥;F.§TRL' 2 305. 70
uraniumle :- ~"'" " "‘-" "*‘ .. M._QJM '~.‘IU'.. 05
l-m»na'nxmml\.s ' '- ' ‘ '
+.mmlmwtml.

 

 

 

 

 

RCR000000318

1850 B.W. 1351 CQURT\I FC|IIFANU BEAGH. H.URIDA 33088
FHONE [854| 1314$!¢FAX [954| 04243“
HEMI'T TO:
1660 SW 13\‘|\ CT, PGMFANO BEABH, H. 330¢8

AB‘CDUNTWG AND RE'.EASEINGMNES
Phonl: l854} 751~2399 lFl:¢: 1554} 942-4641

   

am
m.,.£§§.§.l,l'l;rw co.

       
 
 

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168000 1097832-01

     

BlLL Pnsc:sIoN DRYNALL INc ++ SH|P v:rLLA LAGO
T°= 601 N oocmzss Ava srs 501 T°= 41'H moon
amy san n. 33445 " c - owns

 

  

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1097852-01

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

smTING oéf`l 2005 mm w::.:.
32510 P/INV wm sunamms
1 1 * 1101-ssn 0.0001 0.00
"c" mrs
2 mrs
24 24 * w271='r Lr 0.1300 21.53
122XYPTSQUARBEDGE
22 22 * sz'r mm 0.1300 22.sa
1 x 2 x s P'r sums mass
2 2 * w¢P'r mr 0.3500 s.so
1 x 4 x s P'r some m
2 2 * wsP'r LF 0.5000 a.oo
1 x s x s P'r sams EDGE
80 ao * 1122va mr 0.3350 154.74
2 x 2 x 7 PT
92 92 * wzzapr Lr 0.3300 242.58
2 x 2 x a 21
22 22 * wz¢sPT LF o.s¢ao 112.54
2 x 4 x s FT
6 6 * w241021' Lr 0.6400 35.4.0
2 x 4 x 10 P'J.'
32 32 * w245c LF u.s'.'oo 145.92
2 x 4 x a mus'rnucr:on
210 210 * 515;:-11.! 292.0000 szs.ao
B" sm 10'
2552
36 as * s15 1' LF zas.oooo 102.60
1 5 s" men
25 1152
cmmsuumuww---_} §uaq"*L_m

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+-lll\ll mfg hm-

 

 

 

 

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J.EBOOO

BlLL PRECISIQN DRYwALL nrc ++

TO:

am
W.JH,MLV co.

 

601 N CONGR.EBS AV'E STE 501

DELR]LY BCH

FL 33445

1660 S.W. 13d GOUH'I' l MMPANO BEACH. FLOR|DA mn

FH°NE 1541 711-ime F#X 1954-l 314-880
BEIM'I' TG:
1660 BW 13\h GT. PC||PANO BEM:H, FL 3m

ACCDUN'|TNGAM H’ELB¢SE‘MMHES
Phon»: |954) 781-23990Fn:: ibid-l 542-4541

 

1097882-01

 

 

 

 

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12 ' anss. 0000 1059. 20

LF 335.0000 130.90
LI.l 644.0000 463.68
LF '627.0000 50.16

 

 

 

 

cooEExPr.Auman_-§ *** THIS IlS YOUR INVOICE ***

‘ l‘|'A'l'ET-N( mg
I'-'|`Wo wm
+~ITA\'E l m'l’ll IM.

 

 

 

 

 

t `. 3,444.81

RCR000000316

    

' 155000

1600 S.W. 13th MURT¢POMP»\NO IEAGH. H.UB||}.R m

FHONE ls€¢} 101-mib FIX 10541 mm

IEHH' TO:

1060 m 13|\ CT, PMANQ IEAGH, F\. mls

ACCDUNFTNG AND HEL£ASE .INDUINEB
th¢: I954l 751-3389 Ole: lBE&| 942-4841

BlLL mcrs:on nnmu..r. 1110 ++ SHlP v;rm.A LAGo
T°= 501 N coucazss 222 512 501 TO: ~B" uNIT
021212 sen 21 33445 412 FLooR

10NIT

 

1097833-01

BOY'NTON BEACJI FL

 

 

     
  

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am mims ocr 1 2005 12322 w:LL
BE $10 P/INv FUEL suncnnnss
1 1 * NoTEs EA 0.0001 0.00
'B” uNIT
1 umtT
12 12 * szT Lr 0.1300 12.43
1 x 2'x a PT sonnns EDGE
6 s * WzPT LF 0.1300 5.24
1 x 2 x a 21 squnns EDGE
3 3 * w4PT LF 0.3500 5.40
1 x 4 x s PT squARE EDGE
1 1 * wGPT LF 0.5000 4.00
1 x s x a PT sQuARE EDGE
22 22 * wzzvpm LF 0.3300 50.50
2 x 2 x 7 PT
41 41 w wzzspT LF 0.3300 108.24
2 x 2 x s PT
9 9 * wz4spT LF 0.5400 46.05
2 x 4 x s PT
3 3 * w241021 15 0.6400 15.20
2 x 4 z 10 PT
14 14 * W24sc LF 0.5700 63.34
2 x 4 x a comsTnucTIom
95 95 * s1sss s-1 LF 298.0000 203.10
Hégm STUD 10'
40 40 * 515 T ns 205.0000 114.00
1 sza~ TRACK
25 s
cone munson -_+ wl TO‘|'AL
¢- hlr¢\TlTAxAFFLlA”l\:...-l mw
+ lunamuwum. _ __ _ .,..`.
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maxim ; "

 

   

      
 

 

RCR000000315

1600 S,W. 13th EDURT¢FOMFAND BEACH, H.OHDA 337“
PHQNE llH-l 'll"l-ZSBQ li FAX 1954} mm
HEIIT TU:
‘lmSW 1301 C'T. I'°MPAN° BEICH. H. ISUII

ACOGUMTNG AND HELEASE MLM¢¥ES
Phona: I954l 781-2393 OFlt: IDS&.\ m~#-B#‘l

g .E,,.“HF§§U.LPLY co. § \

     

    

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168000 1097883- 01

    

B“i PRBCISION DRXWALL INc ++ SHW meLA LAGo
T°= 601 N 00222255 222 512 501 To: .B" 0211
DELRAY BcH 21 33445 412 rLooa

 
  
  

 

  

 

 

        
 

  

 

 

 

  

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55555-9 '4 -' )' n ` 555.0000
5 5/5" 5100 5' .

25 02052

21 21 * 53551 LF 555.0000 50.55
5 5/5- 122€2
25 02002

20 20 * sss- 25 544.0000 115.52

3 3 * S€T LF 627.0000 13.81

TRACK
25 GAUGE
14 '14 * SEB?.O LF 718.0000 100.52
6" IVETAL BACIING-ZO CDUGE

 

 

 

 

 

 

 

 

 

   

mmaum¢wnmu---$ *** 1215 15 1002 12vorc2 #** ¢"H“HAL 1»§74;9°
""“““*”“““ . jua;cmu&s'j
l- m`“!ml.l
-a.l'rnrx\lm-ALTA:AH|.
EU.IOTHI TAX _`

522 ::2.;=.::5'
PAYMENT

 

 

 

 

RCR000000314

 

 

1000 S.W. 1311 GOUHT¢FOMPANO BEA¢'H. FLQNDA 330¢9
FHONE (9541 131-2339 FAX [954} m
REIIT `l'o.'
1"0 SW 13th c'l'¢ PUM|AN° BEAGH. FL wl

ACGO\’JWTIWG ANB H£LBSEMMHES
Ph¢hll 1554-l 151-2399 °le! ll54] 042-4641

 
   

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1057893-01

llLL PP.ECISION mame nrc ++ SH!P vJ:LLA LA.Go
TD= 601 N comes mrs m 501 TO= am noon
nsan Bc:-: Fz. 33445 -n" unr'rs

2 uNITs

BOYN’J.'ON B‘EACH FL

 

  

 
 

 

   

 

 

 

 

 
  

 
 

       
 

      

 

 

 

 

 

  
     
 
 
   
  

 

 

 

 

      

 

 

 

 

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6./§§9./.
M -. .\ ~)~‘i- BME:~S'._' :”\.-\'»;.-.-;`,#- -.';.
3 AR m oCT 1 2D05
BE 510 P/INV FUET.¢ SUF.CHAR
l 1 * ms EA 0.0001 0.00
'D" UNITS
2 UNITS
20 20 * WTTPT LF 0.1300 13.19
1 x 2 z 7 PT SQU:ARE EDGE
20 20 * WZ?T LF °.13°0 2°.80
lxz'XEPTSQm\RE'EDGE
B 8 * W4PT LF 0.3500 22.40
l x 4 X a PT SQUAR.E EDGE
4 4 * WSPT LF 0.5000 15.00
l X. 6 X 8 FT SQU'AR.E EDGE
56 56 * WZZTPT LF 0.3300 125»32
2 x 2 x 7 PT
132 132 * WZZBPT LF °.3300 348.48
2 x 2 X B PT
34 34 * wz‘BFT LF 0.64°° 174.08
2 x 4 x 8 PT
8 a * milOPT LF 0.6400 51¢20
2 x 4 x 10 PT
34 34 * WZIBC LF 0.570[} 155.04
2 x 4 x B C°NSTRUCTION
250 360 * 515 S*lo LF 295.0000 774.30
1 5 B" STUD 10'
25 E
86 86 * 315? LF 235.0000 245.10
l 5 B" TRACK
25
conlnmmm_}
'-nlnr“.ml.l
I-mT-`xlmll
4-'1'.\“*“`|.1'“»\“

 

 

 

 

RCR000000313

1|!0 S.W. 13d-s MURT o mPANQ BEAGH, H.bBlDA 33069
FHGNE 1954-l 781-2399 0 FAX 1950 942-dam
EMHTm
men sw mm cr. mann mm FL ama

AC€OUNTINE AND m MDUI'N'ES
F'hnnl: 1954-1 781-2398 ¢ Ful: 1954-l 942-liu

        

\ 1-'..'\'-:’5""\"-¢ r-

lseooo 1091393-01
an& pnaczs:om nnzwALL mmc ++ SmP v:LLA Lago
T°= 601 m concnsss nwa sra sol T°= 4TH FLoon
nzLRAY sca FL 33445 . "n" uNITs
2 mars

BOYNTON BEACH FL

 

 

   
 

  

 

  
   

 

 

 

 

 

 

    

    

     

 

 

 

 

 

 

 

 

 

 

 

 

1057893 01
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360 * 53585- 5 LF 396.0000 1233.04
ESéA' STU'D 9'
25 UGE
34 34 * SSSST LF 385.0000 13U.BO
3 Sé?`” TR.ACK
25 UGE
50 50 * SGS- 91 LF 644.0900 350.97
6"" $TUD 9'1"'
25
10 10 * §§T LF 627.0'000 62.70
ZSGA
cm:quA‘rloN__+ mm THIS rs YQUR lmra *** l_tll_'l‘b"r|\i. 3, 783 02
::l\'mm¢::r.nm *‘- = MWH$ ‘-'. ._~' -.- ";_':ld»oo
+»IT»\TE\”HLT“*"L
Fmvrm: -",=-'* .-'~`~': -:
FEDJCTHERTRX
~. - -1v."_,-' ;‘. ,»..¢ .;
s!§_$£§'l.'»\}¢ ..: -' .,-,_ 1. 3'_§{5 . 311
FAYMB|T' 0.00
`w‘."-.TGT$IIM` .Wl”
4,038.92

 

RCR000000312

 

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mm {’U‘l 731-5”.‘|5\¥ lll‘l m

 

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umw mh summonses nunn
. ___.._..-._... ._. . ...”.‘. mummmnn. _ _
m "`°"" "'“' """" "“'"““`
168000 1091940-01
BlLL

 
 
    

T°= mc:s:on mm nrc ++
s01 w comss mm an 501
amy sen FL 33445 L:

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Emm 0('.'!.1 2005 m lrLL
Bl 310 P/m ms films
1 1 * BA U.°°ol avco
1313 ml
'B" UIITE
. 2 mlITE
140 110 ' D}:Rl: BF 359.90'°0 2415.20
2" m nm 12'
26 25 * n 21112 SF '450.0°00 51{.08
1:2" mlsm RESISTANT 12'
4 I 12
1 ' 1 * mms on 0.0001 o.uo
"€" UIIITB
10 70 * DlZR.lZ SF 360 . noon 12 09. 60
1/2"1§$\111“ m 12'
15 15 * U ml Sl' 460.°00° 331.20
|],.Zg" IDIBTURB RBBISTANT 12'
m 4 x 12
1 1 * ms IA 0.0001 0.00
am mn '
"C" Ul`l'.T.T
1 m
70 70 * D}ZRI.Z B\.' 350.0000 1209-60
1 2' m DRY|¢ALL 12'
4 x 12
15 15 * DZZHJJ EI‘ 460.0000 '331.20
1 2' HDISTURB IBSISTJ“IT 12"
1 z 12
ounwm",._._+ in gpa-rsr 15 m mla *** MTGI'A|. €,U'H.BB
--mm'm¢un.¢an ». f- ` , IIS¢. m 10 . 09
l-mnamm --l _ .
»-¢rmammm
FEBH'I'TUTAL
FEDJM`\'AX
sTME‘rAx 3!4.87
PAWY
Tom m DUB
6,479.1'5

 

RCR000000559

1060 l.\¥. 1801 COURT 0 POWANO BEJ\H'I, H.QRIDA m
PH°NE law 131-msi FAX mm mm
REMH' T°:
1000 S'N 1301 ¢‘»"l', mind BEAB‘H, H. 3306|

AC¢WNTMU AND RE'.EISE INC|U|'HES
thnu: 1954] 781-2309 SFI:¢: [954] 942-mi

B"_"”EH SvPPLYco. '

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153°°° 1097954-01
alu. sHlP
TO= mc:s:cou nnm:.:. nrc ++ TG: wm nga

601 N DONGR.ESS AVE STB 5

01 _ ,
nunn sur FL 33445 PJ©STE_ ® soch mca F:.

_,::~“\ u-\r_- ~\-_ ....*
,,,"-»'l'. gwiq$sim.m“ ._, : "`§.. ,

1097984- 01

 

 

    
 
  

 

 

 

 

 

 

 

 

   

»-u». .J\.\’ "u- "'\'».-

s'rAR.T:l:NG ocT 1 2005 THER.E w:cLL
as 510 P/:Nv FUEL sun mass

1 1 * NOTEB EA 0.0001 0.00
REF 105€933
248 COMPDUND

248 248 * DS EA 0.2500 62.00
STDCK.ING- MATBRIAL- LABGR

 

 

 

 

 

 

 

 

 

coo¢mwamoN-_--+ *** THIS IS YOUR INVOICE ***

'~ lTlTlTlX-lml£ “W*-'_. 'x
. '1. J\.'

 

 

 

 

 

 

RCR000000310

1660 S.W. 13th COUHT 0 P°\IPANQ E£\\CH. FL°H|DA 3m
FHDNE lis$l 151-1389' FAX li“! mm
HEHIT T°:
1600 SW 13d CT. FC|H'AN° BEAGH. FL BSGS

AC¢DUNTING ANB RE.EASEMMES
Fhons= IB“] 781-2395 ¢Fn: lBE¢l 942-4641

'\ EW*F.E‘.F§.M‘.X§B;

   
           

15aooo 1091555- 01
anL us
TO= PRsc:s:oN DzYnALL ch ++ T°= v:LLA Lago
501 m ancREss 595 sra 501
mann scc-1 n 3344.5 seamen men rL
P) 'JT'E
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»\.h':A\M

os_/ao,"c_)_s _oq. 531 29

 

 

 

 

WOG/JU.A/D6

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x :J.

  
 

 

     
 

 

STARTING OC.`.L' 1 2005 THERE WILL
BE $10 P/INV FUELS SURCHA.RGE

1 1 * NDTE EA 0.0001 0 00
P.EF 1057405
96 COMPCTJND

96 96 * EA 0.2500 24.00
STOCKING- -MAT§RIAL- -LA.BOR

1 1 * NOTBE EA 0.0001 D.DB
R.EF 1057423
36 COM'POUND

36 36 * DS EA 0.2500 9.00

sToanG-mmm-LABQR
----NET :Nvo:cs-~---

1 1 * NOTES EA 0.0001 0.00
REF 103742-!
48 CCMPOUND

48 48 * DS Eh. 0.2500 12.00

s'roczcms~mmm-Lmon
----Nn'r males -----

 

 

 

 

 

 

 

 

 

msmmanau___+ nw mrs 15 gm INWI¢EM ***- .N=B=‘FEIEL_`M _4_5|:°_0
'-l'rl-'rl'mxmuu . mugm » _:.
¢-mmomxmu ._ . 1
»-rrmnmwcm

w " ' minn `

   

FE)J__O[HH TAX

    

 

 

 

RCROUUOOUSDB

1500 l.\'l. 18th CGUHT¢ FGHPAND IEA\'¢‘H. H.°HDA 330“
Fl'IGNE 1554-l 1!1-23!¢' FAX low m
BEIMT TD:
1050 SW 13d ¢'l', mullin BEABH. FL m

ACGDUMTNG AM'J RH.EASEMU¢MES
thl'l¢‘. lBSl»l 781-2399 IFIX: 1354] 042-4841

 

     

1#°°°‘3""'§ .` . ..
lsaooo 109'1952-01
BlLL mczsrow DRYWALL 1ch ++ SH|P wm mo
T°= 601 N comnas Avs s'n: 501 TO= numan 1

oBLRAY sca FL 33445 cmm:n sncncm

15T FLOOR
BO‘YN'.'|.'DN BEAC!'| FL

 

 

 
 
 

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133 os/_ao_/us_ 111 " usnb/cs 01-25=54

 
    

 

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suzanne car 1 2005 133113 winn
ma $10 P/:nw mz. mcmann

l l * NOTES Eh. 0.0001 0.00
lsT FLDOR.
3 UNITS

45 45 * SF 460.0000 953-50

D}ZHJ.Z
1 2" MOISTUI\‘.E R.BSISTLNT 12'
DRYWALL 4 X 12

 

 

 

 

 

 

 

 

 

 

 

 

 

cone ummon ____* wm mg rs YQUR mfg n-* GUB TB'|'AL _ 993 - 50
*»mrl mem .. === MIB¢. mE 10 ~ 90
boom nac/umw .

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vsww.~._i
EDJQ'THEB TLX
mm TN‘_‘ 64 . 58
FAYMB|T q _ go
mm AMT nos
1, 065 . 18

RCROOUOOUOTS

‘ll” S,W. 13b DOLI¥TP PGHFAN° IEAQ'L FL°H|DA ml
FHD"E law 131-mla le law W
REMH' TD:
1850 BW 13¢\ CT, PMAND BEAC|'L FL ml

Ac€OUM'INI ANB HELEASEMWHES
Phon¢: 1954] 781-2359¢ le: |',9644 I42-4641

-\ LBImA-"H¥n£nsi§llm;nq¥mc£, fm _

w_.\.

             

‘- -w"v\ - :".-§

168000 1097993- -01

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alLL sHlP
TO= PREC:sIoN lmme mc ++ TO= wm 1190

601 N CDNGRESS AV`E S'I.'E 501

DELRAY act-c FL 33445 p@§TE ® solomon BEACH FL
_

 

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1 o S'._l:OCKIN'G CHJ\.'RGE

 

 

 

 

STARTING OCT 1 2005 TI'£E.'R.E WILL
BE$lO E/INV FUEL SURCEA.RGE

1 1 * NOTBS EA. 0.0001 0.00
R.RF 1096938
1 PKG

1 1 1 ns n zs.oooo 25.00
s'rocx::NG-mTERIAL-LABOR
----NET :mvo:cz -----

1 1 * NDT'ES EA 0.0001 0.00
REF 1097555,7551,'7550
B PKGS

s a * ns an zs.oooo 200.00
sTocerG-mTERIAL-Lnsoa
----NET mvo:ca -----

 

 

 

 

 

 

 

 

 

amgmmou-_+ ~** TH1s zs_ Yorm qurcz ***

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l mm TH Im\£
¢-l'll'fl l m|.‘|'ll All|_

 

 

 

 

 

RCRUOOOOUSOB

1860 B.W. 1311 OOUHT¢ PCMFIN° BEAEH, FLGRDA ”I!
F‘HUNE l9'l41 Tl1-28|.¢FAX lim mm
REHI'I' 'I’D:
1010 IW 1311 GT. PMANG BEAEH, FL$.‘D"

ACE'OUNTI'NG' AA|D RE!.£ASE MUNES
Fhone: |!EI-I 151-2399¢Fu¢: 1950 942-4641

.\ 5 ' `
\. M“F&§"Mw cn.

     

 

   

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z,a¢",<ml.~.z-.-lv\'¢'--~ '.-.».).' '»' - -- `
153000 1091995- 01
mLL sum
TO= onzcrs:ou DRYHALL 100 ++ T°= v:LLA LAGo
601 0 consnsss 100 313 501 00110100 1

DELRAY BCH FL 33445 la j STE® CBNTE'R SECTION
BQYNTDH BEACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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05/30/06
sran110@ 001 1 2005 THERE w1LL
ss $10 0/100 FUEL sURcHARsE
1 1 * unrzs an 0.0001 0.00
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3 nuzrs
45 45 * n 2012 sr 450.0000 ssa.so
izz"z unrsrnza nssrsmANT 12'
ma x12
1 1 * 00125 31 0.0001 0.00
nn
cENTEn sscr:on
45 45 * n 2012 sr 460.0000 993.60
122' 00151003 nss:sTANT 12l
n YwALL 4 x 12
woewr-A~mo~---J` *** TH_rs rs tom 1000_01_§:1\: *** ‘”'T°"*'~ 1'9‘"'2°
»- -rrmwcm-mm.: _ MBC.'¢HAHGE 10 . 00
f- lanIl-mu
‘- lr*"\m'rl¥m
Fn_Els`l-nro‘ra.r. '
FE'DJUTHEH TAX
sTATETAX . 125. 17
FAW 7 0.00
rowan AMT nos
2,125.37

 

RCROUOUOUU'iB

1060 B.\N‘. 1381 GWRT 0 PoNlPANO BEAG'|, H.OH|DA 830¢9
minus {sua 1014.199¢ l¢Ax low 342-asso
REM|T To:
1000 sw wm ¢1'. l'uurmu BEAUH. FL noel

ACWUNTFNG AM.'I RELEA$E m
Phorl¢: 19541 731-2389 ll Fax.* lBW 842-4641

     

l- -..' .'\¥L‘! m"»: -..'1.""\! """-

lGBDDF 2035979-01

anL

T°= Pmsc:srou DRYWALL 100 ++
601 0 comcnzss 100 510 501
0111011 sci-1 FL 33445 I§)

 
  
 
  
   
   

 

   

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203€979- 01

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SmTING OCT 2005 THERE WILL
BE $10 P/INV FU'ELS URCHLRGE
43 43 * TSANDA BA 2.5000 120.00
BAN`D SP°NGE D[ml'.¢ ANGLE
FINE/MED
so 50 * 5111'.1? 270.0000 135.0°
1/2 x 1 112 ANGLEB 25 01
10 90 DEGR.E
cune:xmmon__} *** TH.IS IS YCIUR §L'NV'O_I- *** _5"'5,"`_°7¢!: l 255 00
;lmnm:::.mu ll , _ "" `.--, M§¢.W{ ;f;;{ls ‘0°
iflnlm'rl‘m
m§r¢rz;=mtn. " *_¢-__.
FED|'DTHE_RTHX"
sm”‘wh¢<'
PAYMENT

  

 

 

 

RCRUUOOUOZSS '

1680 S.W. 13¢h ¢DURT ll PUMPANO BEAGH, FL¢H|DA mel
FHO|{E 1951-l 151-2$90 FAX IIB$| 942-430
H£M‘IT TO:
1380 SW 1301 ¢"l'. F°M,ANO mut H- ml

ACGGUN'ITNG AM`) HE.LEASE!MDWHEB
Fhm¢: 1954! 731-2399 0 le: 1954-l 942-4541

\,` Bm“_",§,§§‘§§£urcv co. f

     

          

' "E"" "” 5 -'-. -,.:-..,¢.'-¢:-'..,..'_--.-' 1-.'--....»".¢-'
16800|." 2036982-01
BlLL SHlP
To= PRBCISIDN DR'!'WALL INC.' ++ TO: FLAGLER LANDING
601 N CONGRESS JWE STE 501
DELRA‘Y' BCH FL 33445 WPB FL

 

 
 
   
   
 
 

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smnm:= oc'r 1 5005 mann erL
assn P/:Nv m samuels

1 1 * NOTES EA 0.0001 0.00
REP 2035485
84 CO!»!PDUND

84 84 * DS EA 0.2500 21.00
STDCKING~ -MATERIAL- -I.\ABOR
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okl -~ rc\_:. \_ r _"',,_. __' -` _-'_.‘ .' 1¢::..

FEDJ°THETAX

   
    

 

 

RCRDUUOOOZST

1¢00 B.W. 1361 CUUH‘I'I PQWA||G fiBH, FLQ|\|DA ma
FHD||`E II54| 731-2399| FAX lam 942-1360
HE|&T T\'.l:
1500 SW 181-h CT. FQMFANC| BEI|:H, H.m¢l

AG&`OUNH'NE AJ\U HELB¢SEMMHFS
Phnnl: l954l 781-2399 0 le: 1354-1 842-4841

\ B,.“_N,§,F§l§mw co. 7

     

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il1||-:.- .. _l` in _.... x
lssoor 2036933-01
ouL us
Y°= Pnsc:s:oN DRYwALL :mc ++ T°= FLaGLG LANnInG
601 N cDNGREss AN: srs 501
nznaAY acH FL 33445 wpa FL

 

 
  
 
 

   

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2036983- 01

   
 
 

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BE$lU E'/INV FUEL SUEG'IARGE

1 l * NOTES m 0.0001 0.00
REFZDBSSJ.'?
42 COMPOUN'D
42 42 * DS EA 0.2500 J.O.SD

sTocK:uc- mATERIAL- nason
----NETI znvurcz -----

 

 

 

 

 

 

 

 

 

 

 

commmo~_§ *** mrs 1_:s mm _:_Nvo:¢'_.'z ***
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I-m'l'l¥mll
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RCRUOODOOZBB

1860 S.W. 13th COUR‘T l FOMPANG IEACH, HMIDA 33°“
PH°N.E [BE€~I 181-ml FAX IlE4l mw
I.EMlT TB:
1ICO SW 1311\ C'l'» FOII,AHQ IEA¢H. Fl. msi

A€MUNT?NG AND HHEA$E MMHFS
P\'lll\\: 1954] 781-2398 GFI!: ISE4l 942-4841

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..».M`..h. .ru?§§m§§§$¥§§§»h
lssooF 2036939-01

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mLL sHm

TO= Pnzcxs:on DRYWALL INc ++ TD= FLAGLER LANnING
sol N coNchss nms srs 501
nanAY sca FL 33445 mrs FL

 

 
 

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' _"H.Mm- .., -....-.... .-

   
 

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sTART:NG ocT i 2005"THEREG w:LL
mslo P/rnv room sunm

1 1 * NOTES EA 0.0001 D.OD
R.EF 2035-490
42 COHPOUND

42 42 * ns BA o.2soo 10.50
sTocxING-MATER:AL-Lnnoa
----NET szoIcE-----

1 l * NOTES BA 0.0001 0.00
R.EF 2036535
42 COMPOUND
42 42 * DS EA 0.2500 10.50

STOCKING- MATERIAL- LABDR
.. _ _ _Ngq_-I NVQICE _____

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D°U!EXP|NA'|'|ON_'-+ ***' THIS 1 YUUR IN"VOICE *`**
uranium "` ' `

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RCR000000285

1000 E.W. 13|\ EEQUF\TI P¢IIPA||Q BEAU-l. FLC|HDA wu
PH°NE IBW 181-239|° FAX 195'" mm
REM|T TO:
1686 !W 1”\ ¢'l'. FCIII,ANO BEAUH. I. all

AC¢DUNT!NG AND REI'.EASE MUM'H$
FhanI: {954| 791-2399 |Fllx: 1954) 342-4541

 

 
      
 

   

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lsaoor 2035993-01
BnL us
T°= PRBCISIQN DRYHALL :nc ++ T°= rLAGLEn LAND:NG
601 N coucnsss Avs srs 501
nELnA! sca rn 33445 wpa FL

 

  
   
  

2036993-01

 
 

 

 

 

 

 

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sTARTfNG ocT 1 2005 THERE w:LL
ss 510 P/INV mn sURcm\\RGE

1 1 * mores an 0.0001 0.00
REF 2036538
42 coMPoUND
42 42 * ns nn o.zsoo 10.50
srocx:NG-MATERIAL-Lnsoa
----NET :Nvo:cs -----

|§)* STE` ®

 

 

 

 

 

 

 

 

 

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RCR000000284

   

1860 B.W. 1&|\ ¢OBI\T¢ PCWANG B£ADH. FLGI.|DA wu
FIIB|E m 781-2329le l954l 942-1300
REMrr 10:
1600 BW 1361 ¢7|'. FQIIANU lEAQH, FL 3m

ACECUNUNG AND DELEASE MMWES
P|'M\M: 1554-l 781-23!¥ lan¢: {954\ 542-4641

    

    
 

' nn
gm §§§urm co.

  

     

lessor 203659'6- -01
BlLL sam
TO= mcrsrom DMWALL 1ch ++ TO= FLAGLER mmc

sol N comnas sz srs 501

mmr sen FL 33445 m Fr.

 

    

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sam $10 P/:Nv mims name
1 1 * mms EA 0.0001 0.00
any 2036691
2 rtch
z 2 v ga 25.0000 so.oo

ns
sTocx:NG-mTERIAL-LABQR
--- -m :Nvo:cE---- -

 

 

 

 

 

 

 

 

 

 

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nunn-unle _ . ‘. `
I-mTI-T“m ' '
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IIIU B.W. 1311 GOUR‘T 0 FOMPANO IEACH. FLUR|DA mll
PHGNE 1954} 7|1-2399 l FAX IBM~l 9424360
REMIT TO:
1680 SW 131|\ ¢'T. PGWANO BEACH. FL 3m

A€CBUNTING AMD HELEASEFNCWHES
lem: li 541 781-2389 0 F¢x: IBE¢|-l 942-4841

  

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16800F 203€9.99-'01
BlLL SHIF
T°: PP.ECISION DR.YWALL INC ++ r°: FLAGLER LANDING

601 N CONGR.ESS AV'B STB 501

DELRAY BCEI FL 33445 FL

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v 1¢ ~ » -\ lim-n i§!:/§
sTnRTING ocr 1 2005 THERE erL
ss 510 P/Iuv FUEL suncunnsz
1 1 * NoTEs EA 0.0001 0.00
231 2036656
420mwmmn
42 42 * ns EA 0.2500 10.50
mmcmmuqomznnurnmmn
----NET ruvorcs -----
1 1 * worms 31 0.0001 0.00
239 2036655
420mmmmn
42 42 w ns xA 0.2500 10.50
mmmamhmmmmnm-mmma
----NET rnvorcz -----
1 1 * mores an 0.0001 0.00
- REF 2036537
420mwmmn
42 42 * ns EA 0.2500 10.50
sTm::mhmmnmnuFLMwn
----NET INvoch -----
1 1 * NDTES 21 0.0001 0.00
REF 2036510
42cmmmmm
42 42 * ns on 0.2500 10.50
mmaumhnmmnnm-:mumn
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--mmrnlmu "' ‘ ` ANNZ_M_ ':‘.:"`_°- '
hm‘m¢.\m.l:ul.l ' ..4
t-IYA'EI.II.ILTMAPH»
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mwmu$"°q¢ gjz_
PAYMENT °_q[)
;§$mnmudubmn.
4100

 

RCROOOOOOZBS

1660 B.W. 13d1 GOURT l FOWANG l!AG|'|. FLDHDA ml
FH¢|N'E ¢l“] TI‘IM¢FAX 1’54! 94243¢0
IEHT T0:
1880 IW 1$| C'l'. FMAN° IEAGH, FL mill

AGCUUNTING AND RELEASE MUFM
Phcl'll.' 1954} 781-2399 0 Flo¢: 1550 m~d»lM

\ E#§H§H§ngco."`

      

           

1'-.*:,€§9£_13‘_.¥ `_ .' .,J;.- -§m::._w:§*-.“mv:.l:`£#
1ssooo 1095'133- 01
BlLL sHlP
TO= Penc:szoN DemLL rec ++ TO= vILLA mac

501 N consenss eve s-rs 501
nsmr scs rs 33445 soch men FL

 

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summers ocr 1 2005 hines w:l:LL
/ sons suecsneas

ns$1o P J:Nv

1 1 * mines ns 0.0001 .o.oo
enz' 1057393
2 PKGS

2 2 * ns ne 25.0000 so.oo
sTocmG-im'rsem-Lnnoe
----NBT INvo:cs -----

1 1 * No'r.'ss nn 0.0001 0.00
ens 1091851
2 PKGS

2 2 * DS EA 25.0000 50.00
sTQCKING-mmeIAL-Lsson
----NET INvoIc:s -----

1 l * NDTES EA 0.0001 0.00
ess 1057882
2 Psz

2 2 * ns 25.0000 so.oo
sTocmG- -lsteIAL- nance
----NET IINvD cs -----

1 1 * No‘rEs nn o.oool 0.00
ess 1097333
1 nm

1 1 * EA 25.0000 25.00

STOCKING-MATERIAL- LABOR
NETINVCICE

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PRBCISIDN DRWLLL nw ++
601 H CONG`BESS AVB STB 501

DRLRA¥ BCH FL 33445

 

 

 

 

    

Accaumnm mms _"'
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snonnrun oct 1 2005 rosenn "
ss 510 n/:nv russ suecunesnm
1 1 moses nn 0.0001 0.00
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~n'umus
nounw
140 140 n}2e12 sr 360.0000 2419.20
12' assumes os!nsLL 12'
ss 26 002 :ui: sr 460.0000 574.00
%£a' versions sns:snsnr 12'
moms¢ x12
1 1 ss 0.0001 0.00
subsume
-s- ourns
ammxs
140 140 012:12 sr 360.0000 2419.:0
1/2"12 nnsuLAe harness 12'
25 26 n sr 450.0000 514.05
122-12 nozsruen ens:smnnn 12'
4x12
1 1 ss 0.0001 0.00
amsrumn
'qh?uh;
10 70 n}zn sr 300.0000 1209.60
12¢emmmm1mmmmh12'
15 15 0 2n12 sr 460.0000 331.20
322- unzsruen ess:snssw 12'
!mmL4.x12
[F` ` D
wm¢”“¢w“mN---’ *** runs _15 zone Invo:cz *¢* '”'“"*L 7'537‘3‘
-- ammunition , 5 ' . mm 1°-°°
-mf‘l film
¢-I|'l‘lilmfwl”l..
smunan
FinJolHE\Tlx
er'ETAx 439.28
PAYHT
ro'r` w m non
8,026.6§

 

 

 

RCR000000560

18.0 I.W. 1ldl D¢|LMT¢ win IEAEI., nm mll
m lll‘} ni-ll.¢FM IM mm
mm
IMBW IM¢T,FCIIMII -MH.H.IIII

 

 

AMAWM"" _"“"
Fh°\‘l¢: P“ITM-INBGFI¥: m 952-460

 

 

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mu. am
T°= mc:s:ou alamo nrc ++ TO= vn.:.n nasa
601 m comma mm srs 501 soo-rn comm
nm.nmr sca rr. aaus human am 21
7 7 10000'_:_0- 01 _ 133_
l "S'§'L.?J'- "§'»£.!-"" "“"-§.G»:'?l` *::7-"’;-0:1\`. T;v`ik:.;`.?}_' :.;£A. ." '

  

sm 2100 occ 1 2005 mention
as $10 wm m sm

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BOUT!I mm
-ITI'I m

*B" UI'IITB

2 UHITS

140 140 * 1312312 BF 36&.0000 2119.20
1/§"1§EGULAR DR'!\IALL 12'

4
26 26 * Dzzm SF 460.0000 574.08
1 2" mIET§R§zR-EBISIM 12" -

1 1 * m n 0.0001 0.00
4'1'£ l'LDOl
Icl mt
10 70 * n 2112 S!' 360.0000 1209.60

12"mblml2'
4!12

15 15 * 13sz BI;' 460.0000 331.20
1 2' H)IET§REZREBIEM 12'

 

 

 

 

 

 

 

 

 

 

 

 

 

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l uranium mm 1°.°0
l-nmmlmr mm ..
.. nmsmrn»n.
Fl§lallr'rofn -
FED.IU'|'HRTM
STATETA# 294.'|'2
rA\mnrr °_
min MII' m
4,838.80

RCR000000551

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mm m moon norm 042-mo
comm
umw umcr. marmomw.nam

 

Fl\¢l'll: 1950 781-fm OFI¢: m “MM‘|

   

168000 10980'|2-01

T°= marston mmm.:. nrc ++ = wm mac ® .
501 ar moss ms 515 501
mr ocs rc. 33445 emma nmu-1 51

 

    

 

 

 

 

 

 

 

 

 

 

 

 

summon 1 2005 TmEln::`.r.'
58$10 F/nrv m summer
1 ' 1 * mm n 0.0001 0.00
'5~ mrs
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2" mm mmum.:. 12'
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n 4 x 12
1 1 *. ms - 52 0.0001 o.oo
'c" mms '
1 mr
10 'rn * o25.12 55 sso.oooo 1209.50
12"1155¢11.21 mumm. 12'
. 15 15 * o 2111255 450.0000 331.20
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-.-mmmu ~ mgm ' 10.90
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l inm\mm”"-
: FHFWT.HM
manolan _
swann 254.'12
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101-n nfl ms
4,535.80

 

RCR000000562

 

15” B.W. 13b EQUITE PDII'ANC IEA°H, mm m
mm lls‘lil 731-ml FAX IIB*I m
IEMIT TQ.'
1680 SW' 13th GT, FDMPANU BEAU'L FL m

ACCUUN'HNG AND HH.EASEWGMNEJ
Fhl|¢ll: 1354-l 151-333'||=¢¢: mm 542'4-641

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1530°0 1055084- 01

 

slu. sHlP
`l'°= qu:c:s:on nnm:. nrc ++ TO= vrr.m mo

501 s coNGRsss mrs 513 501

man acs-1 FL 33445 50ch men 1=1.

 

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07/05LQS
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ao:m' comm

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1 1 * NOTES
SRD FLOOR

96 96 * D\TC CN 13.1000 1257.60

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,I'IDNEM 1'I1-ll“0lem mm
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slu. sl-IP
TO= wastes numz. mc ++ = wm Lmo
601 n mass Avs s'cs 501
oamr sen rz. sans names men n.

 

 

 

 

smrms abc 1 2005 ms wn.r.
an 010 mv/ manson

1 1 * m 31 0.0001 0.00
"A' IIIIITB
2 IUI'I.'B

110 110 * II 2112 SF 360.0000 1500.!0
E§'um mm “'

.1s 16 ~ _sr 460. 0000 ass .20

2H12
§22" lmle R`I'.SISTANT 12'
m 4 1 12

1 1 * m El 0.0001 0.00
' ”B' IJNITB
2 UNITS
140 140 * D 2112 $F 360.0000 2419.20
§ §'JE.RG\JLI\R DIMLL 12‘

26 26 * BF 450. 0000 574 . 08

D 2Il12

%ZZ" IBIBTURE FHSISTLHT 12'
m 4 X 12

1 l * n 0.0001 0.90

NQ'.L'IS
"C"' Ull'I'.l'S
2 mls

140 140 * D}§Bl& 12' Sl' 360.0000 2419.20

30 30 * D 21¢12 SF 460.0000 662.40
122" ml§'!§l§=mlsm 12'

10 `)

 

 

 

 

 

 

 

 

 

 

 

 

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TD:

PRBCIBIW DRIIALL INC +-I-
661 N mss AVE STB 501
DRLRAY m

FL 33445

 

 

 

 

SHIP

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Hlo||ll IIW 151-\2”9¢"!: {Il¢l) mill

 

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1 1 * nurse on 0.0001 0.00
s.s. sscrrau
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1 1 * nurse nn 0.0001 0.00
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ms
110 110 v 212 ar 360.0000 1900.00
1 2~12:00122 nn!amLL 12'
10 16 * n 21102l 32 460.0000 353.20
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war
2 uuzws
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1 2~ unannan omxumnn 12'
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£2' mfsm RBS.l-.B'.l.'.m 12"
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140 140 - n 2212 sr aso.ooou 2419.20
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f ~ "r_
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01'|\1[.|"“1“”\-
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FEU-I°TNE\TM
21'.\1,'_:12:¢ 542.33
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1950 I.W. ‘IIh m'l' I mild IEIGII. m IN.I
m l'“| 181-lint FAK m m

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imm ‘I$h G".|'. mm IMU'I¢FLII~
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1993187-'01
lHIP
‘r°: FREEIBION DR!WLLL INC -|-+ 101 wm mo
601 ll moss A'VZ B'I'E 501 $°WHII\ST BBCTI°'
mt m n 33145 mg mm FL

 

    

 

 

 

 

 

 

 

 

 

 

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Sm11m QC'I- 1 2905 m "11\12 n
83 510 P/IW mm m
1 1 * ln'l‘.' 35 T exam il 0.0001 0.00
§§E UNTI.'S
2 UIII!B
110 110 " 1312212 31 360.0000 1900.80
F 1/3* m mm 12' .
. 4 l 12
f 16 1a * nm ar 460.0000 351.20
' 1 2" mISTURE RESIBTMT 12'
nz!inLL 4 x 12 _
1 1 *' ms m 0.0001 0.00
"B' UHITS
2 mTS
110 140 * DzZRII.Z BF 350.0°00 2419.20
2' m 12'
1 x 12
26 26 * § alan mrs 12' BF ¢$0.0000 51‘.08
ozm;.r. §’1°¢”1'2 ”“"
1 1 * ms ll 0.0001 U.UU
"C" WITS
2 mTS
140 140 * D 2212 S! 360.0000 2419.20
12" m DR¥II\I.\L 12'
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- uranium - 7 m m 10. Q°
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umw 541.38

 

 

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T°= merslon mm INc ++ = vn.m mo
601 n comnas mrs s'rz 501 arms # 1
nunn sca FL 33445 scm nsc norton

 

Wsm1'1110 001 1 2005 mens nn.L
ss $10 F!ruv mm sunan

1 1 * IA 0.0001 0.00
m B _
55 55 * D 112 S¥' 3€0.0000 950.40
4 §'IEIG¥JLAR md 12'

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' lm\w¢m f."'j"" ` ' -- ' "' - mm 10.°°
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measurme
FEDJUTHEI TIX
ETA`IE TA|l 51_75
` room
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RCROUOOOOSBS

1860 I.W. 1301 CBUHTu PDMPAN° BEAG'|. FLDEIDI. win
H'IG|E |954| 181-mv 911le 542-430
R.E¢l|'l’ TD:
1890 BW 13b ¢'T, PQWANO lEABI-I. FL 3m

AchUN'HNG AMD HELEA£EMMR|'ES
Fhono: 1954-l 701-2300 o F¢x; law 942-4541

        

- § -- §§WMWW 1§.--‘§-
161001' 2031010-01
au.L sH:P
T°= 1=11:<:151011 mm 1110 ++ T°= mm 111011:0
601 1 compass mrs 511 501
amy 501 1'1. 13445 wpa FL

 

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51111'1'1111 oc1' 1 1005 mann 1100
50 $10 P/mv m mcmann

1 1 w §ms 1 111 0.0001 0.00

70 10 1 s155s;1g41°'4_ LF 211.0000 155.95
25 é§ T°”

30 30 * 515 san ex 1111 259.0000 17.10
25 005

1 1 * morssa 51 0.0001 _0.00

10 70 w 0102§;104 mfg 1.1' 211.0000 195.55
5

30 30 * 01§13'§° ex Lr 259.0000 77.70
25 &UG§“

1 1 * YES‘R nn 0.0001 0.00
70 70 * 51520;10410,4” LF 211.0000 195.55
30 30 1 01§0§” CK LF 259.0000 71.70

25 01005 `
D)©'B'.`F
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RCR000000294

16” l.W. 131\\ UOUHTI PDMFAND ¥EAEH. FLWDA m$
FH°"E IM 181-238| 0 FAX liu-l MHSW
BEMIT TU:
16605'" 13¢!\ B'I'. I'DI"ANQ lEAN‘l, FL 33018

ACEUUMTNG aim EL€ASE fmme
thna: 1954-l 751-239| l le: mill 942-464'|

0 am
\ m_,l{‘,§.§k%m co. n

     

 
  

      

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: _ _-_r ' . _.'MWJH-
150005 2037011- 01
BmL smF
TO= Pnsc:srou DRXNALL INc ++ TO= FLAGLER LANDING
501 N coucnzss nwa 515 501
nnLRAY scH FL 33445 wpa rL

 

  
 

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2037011_-01

 

 

 

 

 

  

 

 

 

STARTING ocT 1 2005 THBRE wILL
BE 510 P/:Nv FUEL sm cannon

1 1 * NoTzs nn 0.0001 0.00
BLDG 2t32}
140 140 ~ s1sas-104 LF 211.0000 391.92
1 ség" sTuD 10'4"
25
60 so * 51501 ns 255.0000 155.40
1 s/a- rnacx
25 shoes
1 1 * unT:s 51 0.0001 0.00
BLnG scxz)
140 140 * 515 5-104 LF 271.0000 391.91
1 52§~ sTun 10'4"
50 60 * 515 T Lr 259.0000 155.40
1 5 an TRA:K
25 5
1 1 * mores an 0.0001 0.00
anna 6(!2)
140 140 * 51505-104 LF 211.0000 391.92
1 sé§- sTun 10'4~
25
60 60 * 515 T dr 259.0000 155.40
1 52“- TRAcx
25 ucs

 

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i- "INI”LTM&PFL

 

 

 

 

 

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RCR000000293

1860 B.W. 13d-l BCURT 0 PGMFAND I'E,IH'E. FLD|IIDA 33069
FHD‘||! l!“»\ 131-13|80£!.¥ {9541 mm
RE|IIT TB:
10” SW 13!|\ GT» PGMFAND IEAEH. FL BIIW

A{.'CGUNNW AM JE£EIJEMWEJ
Fd¢lm: IIEM 781-238§ oF\'l: 1550 942-4641

      

160001= 2037012-01
BlLL chF
T°= szc:scou 01110~011.1:. nrc ++ T°= arm LAN:::NG

501 11 ooNGnsss ms s'rs 501 BLDG s

nm.nmr 505 FL 33445 wpa FL

 

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2037012-01
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\. . 551.-_--4£¢-4
ST.`BR TING DC.'T l 2005 THER.E 'N'ILL
BE $10 P/IN'V' FUEL SU'.RQ'IARGE

20 20 * DSBD 58 SF 945.0000 604.30
S/B"BDENS-SHIELD 8’

 
 

L@ B‘f~“l:©

 

 

 

 

 

 

 

 

 

 

cougmm~-_§ *** _1'1-:15 _15 Yorm INvoJ:¢ ***
--rrn~r:nxun.lmLE `
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¢-'rl".mLT“lm.

 

 

 

 

 

RCR000000292

 

 

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1m I.W. 1361 CMT¢ FGHFAND BE.ICH. FL°HEDA 330£8
FHUIE 1554| 781¢2399¢FAX (954| 9424360

REJIIT TU:

1680 BW 13111 CT, FOMFA|IB IEAGH, H. mo
AGCQUNUNG AND REI'.EASE!NQIJ]HES

Fho|h: 1954-1 781-2399 a |'-'Ix.' 1954} 942-4641

 

2037013-01

 

 

 

 

150005
511 us
TO= enscrsron DRYNALL INc ++ TO= FLAGLER LANDING
601 N 00555555 AwE 555 501 sane 4
DELRAY aca FL 13445 GYM
wpa FL

      

 

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2037013- 01

 

 

 

 

 

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SmTING ocr 1 2005 m NILL
BE $10 P/INV FUEL SUR.EIARGE
100 100 * 515 S-lo4 LF 271-0000 279-94
1 5 " STU'.D 10'4"
25
50 50 * 515 T LF 259-coco 129»5°
1 5 a" mg
25 UGE
40 40 * 535 T LF 349.00°0 139.60
3 5 B" mcf
25 GE .
50 60 * 535 S- LF 360.°000 237»60
3 5;§"115'1'0'.0 11
25 UGE
10 10 * wz&ac LF 0.5700 45.5°
x4 z B CONSTRUCTION
D Q"STE=' D
L_____J
cooEExn.mmoN-__+ *** THIS I_S YOUR Il¥~`|'VC}IC£E`W *** W°T°T"‘L. 53._2._' 21
‘- ."IT‘TI`IW ,
I- m rum-li
0-"‘TilmLY-\¥l,”_

 

 

 

 

RCR000000291

1060 I.W. 131|\ CDUI.T¢ FUMPAN° IEM:H» 'L°RIDA mll
FHDNE {95‘} "1-239.¢ FAX IIHI 342-4360
|IEIIT TB:
1690 SW 13!Il GT, minn BEACH. FL mn

Accoum~e .4~2 nsc.-.-'Ass` immss
mm.; mm 151-2309 o m mm 942-mn

  

 

 

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16800F 2037014-01

mLL us
TD= 515015101 nRIHALL rnc ++ T°= FLAGLER LANDING
501 m coNGREss 152 515 501 amos 5
DELRAY BCH FL 33445 uNIT J/1sT FLooR
'IIPB FL

 

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sTARTING ocr 1 2005 THBRE wILL
mslo P/:mv rusLs MCHARG

10 10 * 5358520-12 LF 505 . ODDD 72 . 50
3 Ség" STUD 20G-12
20 UGE

 

 

 

 

 

 

 

 

 

so so * sss?s_l1 LF 360.0000 231.60
3 5 an sTUn 11
25 5
20 20 * 535 T 15 349.0000 ss.su
3 5 a" Tnacx
B
100 100 1 515 T LF 259.0000 259.00
1 5 s" TRACK
25
210 210 # 51505-104 LF 271.0000 ss?.aa
séA" swan 10 4"
25
s s * 561 15 570.0000 34.20
s" TRACK
25 canon
20 20 * sss-12 LP 505.0000 140.40
s" sTun 12'
25 shoes
13 13 * w24sc Lr 0.5700 59.2s
2 x 4 x a coNsTRucTION
\DJ©'lT;\ )
L___.J [)
conee¢n.m.\'no~_-_§ ¢r¢* THIS 15 gm lmra mm _5‘-_'_51`°“" 3`,1‘6..9.'76~

 

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l-m~rumnm .`~.'.,€ 1 ..§_-¢w ,

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1610 B.W. 1391 GCURT¢ PMANO BEAGH. H-DR|'DA 33069
FHQN'E lIl¢l~I 7l1-Z!I9 l FAX [954] mm
REMIT T°:
18” SW 13\h cT. mANO lElq'l. FL BBUIQ

A¢ZCOUN'.|'FNG AMJ RELEASE ¢|WDU!WES
the: 15543 781-2399¢|=¢:¢: 1954-l 942-454‘|

 

  

      

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153°°° n 2037035-01

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TO= mcrs:on nunn we ++ TD: wm mac
sol 11 senseless mrs srs 501
my ac:»z 1=1. 33445 seamen man FL @
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IN;=<.'" ‘:
INGOCT 1 2005 THE`R.E WIIL
BE $10 P/INV FUEL SURMGE

400 400 * 815 820-10 LF 49€.0000 198&.00
BG§TUD 206 lD'

 

250 250 * 1151 LF zvo.oooo s':s.oo_
129Mxéc1/2ANGLES:56A

10’

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ammunth nw ms 15 m lmra mm SUITBTAL 2 55_3. 00
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RCR000000321

1000 S.W. 18\h GOURT¢FQHFAND IEAGH, FLCR|DA m
F!'lUNE llw 751-\23"¢¥“ 1354-l 842-lam
REHIT TO:
1IIU SW 13|\ GT, P°M,.RN° BEAGH, FL mn

ACWUNTINGAW RE£ASEJWDM'R£ES
Fh¢:ll¢: l054\ 781-2399 lle: (9544 942-4841

\ EH*F‘M.§£,’LPE§.%

   

   

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BlLL sum

TO= 222015:010 02m1.1. nrc ++ TO= v.'rLLA 1250
501 11 00202255 mm 512 501 5011.1:>1110 2
mann sca 21. 33445 sm 21.002

 

      
 
 

 

 

 

 

 

 

 

 

 
   
  

   

 

 

 

 

 

 

 

 

 

 

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2 1
--'-r-: -`-_*..-4',...-. F.
51222120 ocr 1 2005 25225 2111
25 510 2/1Nv 2051 502032202
1 1 * morse 52 0.0001 0.00
"A" umrrs
2 DN:TS _
15 15 * 02121 02 0.1300 14.55
1 x 2 x v 21 500222 2005
10 10 * 0221 12 0.1300 10.40
x 2 x 5 21 500225 5002
6 5 * w421 22 0.3500 15.00
1 x 4 x 0 22 500222 5205
2 2 * w521 12 0.5000 0.00
1 x 5 x s 21 sounns 5005
22 22 * w22121 12 0.3300 50.00
2 x 2 x 1 21
30 30 * w22020 12 0.3300 100.52
2 x 2 x 0 21
14 14 * w24021 12 0.5400 11.50
2 x 4 x a 22
4 4 * w211021 02 0.0400 25.00
2 x 4 x 10 21
14 14 * w24ec 02 0.5100 53.04
2 x 4 x s cousTRucT:oN
200 200 * 51525-10 22 290.0000 595.00
1 5 0' 5200 10'
25 02005
50 50 ' 515 1 22 255.0000 142.50
1 5 - 12202
¢00€ EXFLANA“UN _-’

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I-mTMAM-IAILI
¢-l'l`AT\ImTM-\FL

 

 

 

 

RCR000000331

1800 S.W. 13I\ ¢DURT l NMFAN¢ BEACH. FL°RIDA ml
PHQNE law 781-2302 FAI ISS‘l-) 042-960
HE\MT To: _
1860 BW 130|1 UT. FMAI|O BEAGH. FL ms

AcCOUNWNG AM HELEASE mullinqu
Fhone: 1954| 781-2389 o Fl:¢: {954| 842-4841

     

     

165°°° 1050100- -01

511 sum

TD= 2REczsIoN nntwnLL 120 ++ TD= v:LLA Lago
501 N 00252255 202 525 501 50110120 2
052222 202 20 33445 522 21002

   

 

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200 200 * 532 s-s ' 77 12 356.0000 112.00
24 24 * sasz: 12 305.0000 52.40
30 30 * sss~l L2 544.0000 193.20

4 4 * SGT LF 627.0000 25.08

 

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cohen<PLANATmN-_-+ *** TI-IIS IS

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U'R. INVOICE ***

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RCR000000332

1590 B.W. 1301 mh ?OMPANQ IEACH. FLQBIDA 330¢9
H'lDN.E |954} 311-mo FAX IBM] 342-430
REMIT TC:
1660 .BW 131h UT.- FQWANO IEABH. FL mi

AGEUUNT]'NG ANB HELEASE \WQU|'HES
Fh°l'll: l854| 791-2399 0 le! ll€‘} 942-4641

= BANN 1

     

     

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165°°° 1055105-01

BlLL 2215<::1:510!¢ nn!m:. mc ++ SHlP erLA mo
T°= 501 11 comnas 212 512 501 TC= 5011.01115 2
asmar ncr-z 21 33445 110211: 510:

STH FLOOR "C" TJ'N'ITS
'BQYNTON BE‘ACH FL

 

 

  
  

   

 

 

 

   
 

   

 

 

 

 

 

 

 

 

 

 

 

 

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25 510 2/1110 2021 sonat-122
1 1 * 20125 22 0.0001 0.00
'c" 0111:10
515 21002
24 24 * 112121 02 0.1300 21.03
1 x 2 x 1 21 sums 2005
22 22 * w221 02 0.1300 22.00
1 x 2 x s 21 sam 2202
2 2 * 1421 02 0.3500 5.60
l x 4 x 8 PT gm EDG-E
2 2 * w521 1.2 0.5000 2.00'
1 x 5 x 0 21 sam 5052:
00 00 * 122121 1.2 0.3300 104.14
2 x 2 x 1 21
92 92 * w22021 1.2 0.3300 242.05
2 x 2 x 0 21
22 22 * w24221 Lr 0.5400 112.64
2 x 4 x s 21
6 5 * w241021 1.2 0.5400 35.40
2 x 4 x 10 PT
32 32 * w24sc 1.2 0.5100 145.52
2 x 4 x a 0015120011010
210 210 * 515 5-11.2 250.0000 '525.00
s" Gs'rrm 10'
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36 35 * 51551 1.2 205.0000 102.50
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C-I'l'l'llrm`\°““l-

 

   

 

RCR000000330

1660 S.\'|‘. 1311 SOURTO FUMPANG BEACH. H.DRDA mn
FHCNE |'¥54} 781-laid FAX [9§4| 942-430
REMIT TC|:
1ll0 IW 130 CT, FUM,A.N° BE.ICH. FL M

ACCGUNHNG AND ELBQSE INGM'HH'
Phonl: 1954) TB1-13!l¢le‘. (954] mdl-641

 

     

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BlLL 222015101 021121.1. 1Nc ++ SH|P vILLA mac
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STH FLOOR "C" UN‘ITS
BDTNTON BEACH FL

  
  
  

 

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3 525-vE 5100 9'
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34 34 * 23551 02 305.0000 130.90
3 5 0* 12202
25 02022

50 00 * sss-10 ns 544.0000 515.20
5' 5100 10'
25 02002

a 0 5 251 02 521.0000 50.15

5- 12202
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20 20 * 54220 22 405.0000 113.50

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RCRGOUUOOBZS

1600 S.W. 13th UQURTO PQNIPAN° BEAQ'|. FLBH|DA wu
PHQNE m 781-23990 FAX &954| 842-lim
I.EMIT TG:
1660 BW 13th CT. PDIIANO IEAU'l. Fl. wl

AmlNTING AND RH.EA$E .WGWWE$
F'han¢: llB€-J 781-2399 OF.nl: 1954} 942-4¢41

 
 
 

       

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165°°° 1098194-01

BlLL mczszon mm nrc ++ sHlP wm usc
T°= 601 11 comess mrs srs 501 To: annum 2
amy sua FL 33445 -'B~ mr

NOR.'I'H BIDE STH FI¢DOR
BO'IHTOH BEPI.CH FL

 

 
  

  

 

 

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

 

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. MHW .NWM -_:
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1 1 * §g'_l"ss'r m 0.0001 o.oo
maxim san
sTH noon
12 12 * wava m= 0.1300 10.92
1 x 2 x 1 P'c sums mass
6 s * szT LF 0.1300 6.24
1 x 2 x s 1>1 sam ama
3 3 * mm LF 0.3500 a.4o
1 x 4 x a 21 sQuARE EDGE '
1 1 * user Lr o.sooo 4.00
1x6stTsQuus:nGE
22 22 * wzz'rp'r LF 0.3300 50.30
2 x 2 x 7 1='1'
41 41 * wzzsp'r mr o.aaoo 105.24
2 x 2 x s P'r _
1a 11 * wasn 1.11 0.5400 92.16
2' x 4 x s 21
3 3 * w241021 1.1' 0.6400 19.20
2 x 4 x 10 21
14 14 * w24ac r..r 0.5100 63.34
~ 2 x 4 x a couswnuc'r:coN .
ss ss * slsas-J.o 12 ass.oooo 283.10
1 sé§" s'mn 10'
25 usa
40 40 * 31531 LF 235.0000 114.00
1 sé,s"' mcrc
25 1JGI
G°FEMAHQN__'_J
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18|0 S.W. 1311 GOLIITG PBMPANO BE.RH'|. FLUR\DA m
FHDN.E lli¢»l 751-1359 9 FAX 1854 m
REM|T T°:
1080 SW 13&1 ¢'l', F°WANO BEIU'L FL 330”

ACCUUM'WG AND RREQSE M'GMHES
Fh¢ll'\o: |954+ 781-2399 0 le: (554] 842-4641

  

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BlLL mczszom nn¥m:. nrc ++ SH|P v:LLA LAGo
TO= 601 N conanss 112 s1: 501 TO= BUILDING 2
DELRAY sen FL 33445 "B" uu11

NDRTH SIDE GTH FLOOR
BOYNTON BEACH FL

 

  
  

  
 

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35 S 5 395. 0000 541 52
3 5 S" STUD 9'
25 UGE

21 21 * 835 T LF 385.0000 80.85
3 5 B” TRACK

20 20 * S€S-lD LF 544.0000 128.80

' 5* STUD 10'

25 GADGE

3 3 * BST LF 627.0000 18.81
5" TRACK
25 GAUGE

14 14 * S LF 405.0000 56.84
4" I 10' BACKING

 

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NLL PRECISION DRYWALL INC ++

TO:

501 N CONGRESS AVE STE 501
DELRAY BCH

FL 33445

1860 B.W. 1361 GOUHT¢ FGIIFANG IEA¢H. FLGR|DA 330“
PHO|'IE 1956 181-2300 FAX mm mm
|\EMFI' T0:
10005\~ 13th G'T. P°IIFANO BEA¢H, FL mi

ACCDUNT?NE ANQ RELEASE !NQWHES
Phon¢: l954} 781-2300 ¢F¢x: {954} 0424041

 

1058196- -01

SH|P vILLA LAGC

T°= 1501an 2
sum san
-c- 11st 512 noon
soch mca FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

07/05/05
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515 510 njnw Fum.s Mcam
l 1 an 0.0001 0.00
'c" gsst
613 51.002
2 umw
24 24 12711 1.1 0.1300 21.53
1x2x71=1st232055
22 22 1201 1.1' 0.1300 22.30
1 x 2 x 5 51 sam 2052
2 2 1411 LF 0.3500 5.50
1 x 1 x a 1=1 sam mass
2 2 1521 1.1 0.5000 5.00
1 x s x a 91 sonam sues
30 so 1122va 1.1 0.3300 104.'1'4
2 x 2 x 7 51
92 92 122521 m 0.3500 242.58
2 x 2 x a 01
22 22 w24a5»1 ny 0.5400 112.54
2 x 4 x a 1=1
6 s 1241051 1.2 0.6400 35.40
2 x 4 x 10 21
32 32 mac LF 0.5700 145.52
2 x 4 x s consmucnon
210 210 sues 5-10 Lr 290.0000 625.00
zsséA"E sm 10'
36 36 515 1 mr 205.0000 102.50
1 5 a" max
25 ames
l:DbEEXFLANA‘\'|°N_---+

 

 

RCR000000325

1II\‘| B.\!I. 13\|\ CUU'HTIFD?¢PA||° BEADH. FL°R|DA m
FHD||E 1954} 781-2350 FAX lim mm
BBI`I'TQ:

'lll\'.| BW 13th CT. POM,ANQ mm FL am

AOCDUNUNGAND BELEASE MDWHB
F‘Mnlt 1954’ 781-2399 9 le: lSEH §42-4841

  
  
 

     

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lsaooo 1098196- -01
IHL Pn:c:s:oN DnYmeL mmc ++ SHW MILLA 1100
TO= sol N cqmuss sz s'rz 501 TO: BU:LD:NG 2
nznnnx aca FL 33445 souTH s:oa

”C” UNITS S'I.'H FLOOR
BOYNTON BEACH FL

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

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396.0000 1069.26
34 34 * 835 T LF 385.0000 130.90
3 5 B" TRACK
25 UGE
30 BD * 555-10 LF 644.0000 515.2|]
6" STUD J.D'
25 GAUGE
8 s * sGT ‘Lr sz?.oooo 50.16
6" TRACK
25 GAUGE
23 28 * 54320 LF 406.0000 113.GB
- 4' I lD' BACKING
031 in-';“'”-1©
____13
cuD!EIPLANATluu-._+ in mrs rs form INVQICE *** __IUITOTAL_ 3¢35_°-43
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RCR000000324

‘|lIU S.W. 1311 CNRT° PC|MPANC BEM:H. FLDI|D.I\ mo
FHQNE mm 7I1-\239!° FAX [854| “243*”
IEMIT TO:
'NIQ BW 13\|1 ¢T, FQMFANO BEAI!H. H. ms

Accou~mve mm mass mumEs
Fh¢in¢: law 721-2109 o F¢x: low 042-4041

   

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158000 1098200- 01

BlLL Pnsc:s:on DRYWALL nrc ++ sHlF vILLA LAGo
T°= 601 11 coNGREss mm sm 501 TO= aurr.n:m; 2
DELRAY scc-z n 33445 sotm-r srn_s

"B" UNIT STH l'LCOR
BDYNTDN BER.CH FL

 

 

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sm'rma 0021 12005 mms wm
BB$:Lo P/INV F‘um. smec-maez
1 1 * 110-ms 31 0.0001 0.00
s'rH FLOGR
_ "B" UNIT
12 12 * w272'r LF 0.1300 10.92
1 x 2 x 7 P'r scm mr
6 s * wzp'r LF 0.1300 6.24
1 x 2 x a P'r sam sues
3 3 * mP'r LF 0.3500 a.40
1 x 4 x a 51 sums ms
1 1 * wsm LF 0-5000 4.00
1 x s x a PT sums sues
22 22 * wz:m'r LF 0.3300 so.so
2 x 2 x 7 PT
41 41 * wazaP-r LF 0.3300 105.24
2 x 2 x a P'r
9 9 * W:a.eP'r mr 0.6400 46.06
2 x 4 z s 2‘1'
3 3 * w24102'r LF 0.6400 19.20
2 x 4 x 10 22
14 14_ * w24ac LF 0.5100 53.54
2 x 4 x s coss'rm:rc:':on
95 ss * 315510 LF 298.0000 203.10
an s'run 10l
40 40 v 515 '.l' LF 235.0000 114.00
1 5 s" men
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BnL Pnzc:s:on nnYwALL INc ++

TO:

 

601 N CDNGRBSS AWE STB 501

DELRAY BCH FL 33445

 

1"0 S.W. 13th SOUIT¢ F°HPAN° IEAGH, H.ORIDI mi
H'|°NE ISE'W 7|'1-2389° FAX {954\\ law
IEHIT 'l'O:
1800 SW 13th C'T. PDH,ANO IEA¢H, FL lion

ACCQUNUNG AND RE{.£ASEMMES
th¢". B54) 731-13l9¢F¢x: lli¢] 042-4841

 

1098200-01

VILLA LAGO
BUILDING 2

SOUTH SIDE

*B' UNIT STH FLODR
BOYNTON BELCH FL

 

 

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21 21 z Lr 135.0000 so.as
3 s a' TnAcx
20 20 0 11 541.0000 lzs.an
6" swan 10'
3 3 Lr 521.0000 1a.s1
14 14 LF 106.0000 56.31
emwm¢~-_§ *** 1115 15 1001 mvg:cz *#* ’"'T°T.‘.!- _1 1'§*.1;.‘.‘
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nom mm 111-mohr mw 941-cm

   

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2 Ulll'.'.l.'B
140 140 * D 212 SF 360.0000 241$.20
1 2' gm mm 12‘
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26 26 * D 2352 HF 460-0000 514.08
BZZ" IIJIS'HJ'RE RESIST.MH.' 12'
m 1 I 12
1 1 * mm a 0.0001 0.00
'C' 'l'.lIlITS `
1 UI`|IT
70 70 * 012112 El' 360.0000 1205.60
1 " m film 12'
4 X 12
15 15 * D 2”12 BF 460.0000 331.2°
1 2" IDIBTUBB RBBISM 12'
4 1 12
1 1 * B n 0.0001 0.00
IBI
2 U'IIITS
140 140 * b 2212 BF 360.0000 2419.20
1 2° mm DRT|BLL 12'
4 l 12
26 25 * D m 1 BF 450.0000 S'H.DB
1 2" II}IS'I.'URB mm 12'
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enunmLmun¢-..-_J in ms 13 m males ."* wilman 7,52?.3§
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BlLL sur
T°= mclaren mm nrc ++ 'ro: vn.m mo

sol n comss zwz m 501 annum 1

many aca n 33445 151 noon

BC‘I!|'I'DN BBACH FL

 

    

 

 

 

 

 

 

 

 

 

 

 

 

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1 1 * $1§;'35 m o¢°°ol o.°o
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1 2" m mm 12'
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2 m'.l's .
110 110 ' 1312112 BP 360.0000 1900.80
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Dz:mll 4 1 12
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10 70 * n 12 Bl' 3€0.0000 1209.50
1 2' m omni 12'
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mmxr|q||~_" iii mrs 15 m mla *q* lillme 7,35?.72
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BlLL gm .
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Bl $10 F/IHV I'UBL mm

1 * ms ill 0.0001 0.00
€TE' \\‘INR.
'B" m
1 UNIT
70 *' D}:Rl: El' 360.0°00 1209.€D
12" m mrs 12'
13 * D SF IGO.UD°U 287.04
1 2" mmIS'-PUII RIBISTW 12'
4 x 11
1 * mm `El\ 0.0001 0.00
ial
2 WITE
110 *D2212Sl' 350.0000 1900.80
12'12mm mm 12'
16 * D 1112 BF 460-0900 353.28
1 2" mISTUl.l usfm 12"
m 4 l 12 '
1 * m m 0.0001 0.00
STH I'I¢DOI.
"'D" WITS
2 m'l.'$
170 '*' n 112 BF SGD.DUUD 2337.6°
1 2" m m 12'
4 l 12
30 " 2lll2 SF 450.0°00 652.-\0
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